Case 6:24-cv-00437-JDK       Document 50   Filed 01/16/25   Page 1 of 122 PageID #: 221




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION
 _______________________________________
 STATE OF TEXAS,
 By Attorney General Ken Paxton,

 STATE OF ALABAMA,
 By Attorney General Steve Marshall,

 STATE OF ARKANSAS,
 By Attorney General Tim Griffin,

 STATE OF INDIANA,
 By Attorney General Todd Rokita,

 STATE OF IOWA,
 By Attorney General Brenna Bird,

 STATE OF KANSAS,
 By Attorney General Kris W. Kobach,

 STATE OF MISSOURI,
 By Attorney General Andrew Bailey,            Civil Action No. 6:24-cv-00437-JDK

 STATE OF MONTANA,
 By Attorney General Austin Knudsen,          JURY TRIAL DEMANDED

 STATE OF NEBRASKA,
 By Attorney General Michael T. Hilgers,

 STATE OF LOUISIANA,
 By Attorney General Liz Murrill,

 STATE OF OKLAHOMA,
 By Attorney General Gentner Drummond,

 STATE OF WEST VIRGINIA,
 By Attorney General Patrick Morrisey,

 and

 STATE OF WYOMING,
 By Attorney General Bridget Hill,

                      Plaintiffs,
Case 6:24-cv-00437-JDK   Document 50   Filed 01/16/25   Page 2 of 122 PageID #: 222




       v.

 BLACKROCK, INC.,
 50 Hudson Yards,
 New York, NY 10001,

 STATE STREET CORPORATION,
 One Congress Street,
 Boston, MA 02114,

 and

 THE VANGUARD GROUP, INC.,
 100 Vanguard Blvd.,
 Malvern, PA 19355,

                   Defendants.




                             AMENDED COMPLAINT
Case 6:24-cv-00437-JDK                       Document 50                 Filed 01/16/25                Page 3 of 122 PageID #: 223




                                                       TABLE OF CONTENTS
                                                                                                                                               Page
 INTRODUCTION ...........................................................................................................................1
 PARTIES ..........................................................................................................................................5
            Plaintiff ................................................................................................................................5
            Defendants ...........................................................................................................................5
 JURISDICTION, VENUE, AND COMMERCE.............................................................................5
 DEFENDANTS HAVE EACH ACQUIRED SUBSTANTIAL PERCENTAGES
 OF THE OUSTANDING SHARES OF U.S. COAL COMPANIES ...............................................6
            Defendants own 30.43% of Peabody Energy ......................................................................8
            Defendants own 34.19% of Arch Resources........................................................................8
            Defendants own 10.85% of NACCO Industries ..................................................................9
            Defendants own 28.97% of CONSOL Energy ..................................................................10
            Defendants own 29.7% of Alpha Metallurgical Resources ............................................... 11
            Defendants own 24.94% of Vistra Energy ......................................................................... 11
            Defendants own 8.3% of Hallador Energy ........................................................................12
            Defendants own 31.62% of Warrior Met Coal ..................................................................13
            Defendants own 32.87% of Black Hills Corporation ........................................................13
 THE RELEVANT MARKETS ......................................................................................................14
            The Specific Characteristics of Coal Determine Its Uses ..................................................16
            The Relevant Product Markets...........................................................................................18
                 There is a Relevant Product Market for South Powder River Basin Coal...................18
                 There is a Relevant Product Market for Thermal Coal ...............................................24
            The Relevant Geographic Markets ....................................................................................26
 DEFENDANTS’ ACQUISITIONS OF STOCK POSE A SUBSTANTIAL
 THREAT TO COMPETITION IN THE RELEVANT MARKETS ..............................................27
 DEFENDANTS AGREED TO A COMMON STRATEGY TO REDUCE OUTPUT ..................39
            Climate Action 100+ Presents Compelling Evidence of Defendants’ Agreement
            to Seek Coordinated Reductions in Coal Production .........................................................41
            Defendants’ Participation in the Net Zero Asset Managers Initiative is
            Compelling Evidence of Defendants’ Agreement to Seek Coordinated
            Reductions in Coal Production .........................................................................................45
 DEFENDANTS HAVE USED THE STOCK THEY ACQUIRED TO SUBSTANTIALLY
 REDUCE COMPETITION IN THE RELEVANT COAL MARKETS ........................................52
            Vanguard’s Public Statements ............................................................................................53
            BlackRock’s Public Statements .........................................................................................56
            State Street’s Public Statements .........................................................................................57
            BlackRock’s Actions to Enforce Output Restrictions ........................................................59

                                                                           i
Case 6:24-cv-00437-JDK                  Document 50              Filed 01/16/25             Page 4 of 122 PageID #: 224




           State Street’s Actions to Enforce Output Restrictions .......................................................62
           Vanguard’s Actions to Enforce Output Restrictions ..........................................................63
 DEFENDANTS’ PRESSURE ON THE COAL COMPANIES’ MANAGEMENT
 RESULTED IN OUTPUT REDUCTIONS AND CLIMATE DISCLOSURES ...........................64
 DEFENDANT BLACKROCK DECEIVED ITS CUSTOMERS IN
 PURSUIT OF DEFENDANTS’ OUTPUT REDUCTION SCHEME ..........................................66
 DEFENDANTS’ ACQUISITION OF STOCK HAS SUBSTANTIALLY
 LESSENED COMPETITION .......................................................................................................82
 DEFENDANTS’ ACQUISITIONS AND USE OF SHARES HAVE RESULTED
 IN COAL PRODUCTION BEING REDUCED IN RESPONSE TO RISING PRICES,
 RESULTING IN CARTEL-LEVEL REVENUES AND PROFITS. .............................................85
 NEBRASKA SPECIFIC HARMS ................................................................................................89
 LACK OF COUNTERVAILING FACTORS ................................................................................90
 CAUSES OF ACTION ..................................................................................................................91
 PRAYER FOR RELIEF ..............................................................................................................107




                                                                  ii
Case 6:24-cv-00437-JDK          Document 50            Filed 01/16/25   Page 5 of 122 PageID #: 225




                                          INTRODUCTION

         1.      For the past four years, America’s coal producers have been responding not to the

 price signals of the free market, but to the commands of Larry Fink, BlackRock’s Chairman and

 CEO, and his fellow asset managers. As demand for the electricity Americans need to heat their

 homes and power their businesses has gone up, the supply of the coal used to generate that

 electricity has been artificially depressed—and the price has skyrocketed. Defendants have reaped

 the rewards of higher returns, higher fees, and higher profits, while American consumers have paid

 the price in higher utility bills and higher costs.

         2.      Over a century ago, Congress enacted Section 7 of the Clayton Act to prohibit any

 acquisition of stock where “the effect of such acquisition may be substantially to lessen

 competition.” 15 U.S.C. § 18. Congress recognized that when an investor brings “under one

 control the competing companies whose stock it has thus acquired,” it achieves what is in substance

 a mere “incorporated form of the old-fashioned trust.” H.Rep. No. 627, 63rd Cong., Second Sess.,

 at 17 (May 6, 1914). Such anticompetitive ownership blocks are “an abomination,” and the federal

 antitrust laws absolutely prohibit them. Id.

         3.      Defendants are three of the largest institutional investors in the world. Each

 Defendant has individually acquired substantial stockholdings in every significant publicly held

 coal producer in the United States. Each has thereby acquired the power to influence the policies

 of these competing companies and bring about a substantial lessening of competition in the

 markets for coal. And each has used its power to affect a substantial reduction in competition in

 coal markets. Considered alone and in isolation, each Defendant’s acquisition and use of

 shareholdings in the domestic coal producers has violated Section 7 of the Clayton Act.




                                                       1
Case 6:24-cv-00437-JDK        Document 50        Filed 01/16/25      Page 6 of 122 PageID #: 226




        4.      But Defendants have not just acted alone and in isolation. In 2021, they went

 further. In that year, Defendants each publicly announced their commitment to use their shares to

 pressure the management of all the portfolio companies in which they held assets to align with net-

 zero goals. Those goals included reducing carbon emissions from coal by over 50%. Rather than

 individually wield their shareholdings to reduce coal output, therefore, Defendants effectively

 formed a syndicate and agreed to use their collective holdings of publicly traded coal companies

 to induce industry-wide output reductions. To be sure, earlier this year BlackRock and State Street

 publicly proclaimed that they withdrew from one of the organizations that they previously used to

 coordinate their anticompetitive conduct, Climate Action 100+. But formal withdrawal from that

 one organization does not change the reality that Defendants’ holdings threaten to substantially

 reduce competition in violation of Section 7 of the Clayton Act. Nor does it negate the ongoing

 and future threat of Defendants’ coordinated anticompetitive conduct or absolve Defendants of

 their legal liability for past violations. Below is a table showing Defendants’ collective ownership

 stake in the publicly traded domestic coal producers (hereinafter, the “Coal Companies”), of which

 Arch Resources and Peabody Energy are by far the largest—responsible for, respectively, 17.2%

 and 13.2% of all coal produced in the United States:

                        Peabody Energy                          30.43%

                        Arch Resources                          34.19%

                        NACCO Industries                        10.85%

                        CONSOL Energy                           28.97%

                        Alpha Metallurgical Resources            29.7%

                        Vistra Energy                           24.94%

                        Hallador Energy                           8.3%



                                                  2
Case 6:24-cv-00437-JDK         Document 50        Filed 01/16/25      Page 7 of 122 PageID #: 227




                        Warrior Met Coal                         31.62%

                        Black Hills Corporation                  32.87%

        5.      Defendants have immense influence over these companies on their own, but

 collectively Defendants possess a power to coerce management that is all but irresistible.

 Defendants have used that collective power—by proxy voting and otherwise—to pressure the

 major coal producers to reduce production of coal, and in particular production of the thermal coal

 used to generate the electricity that powers American homes and businesses. The publicly traded

 coal producers have responded to Defendants’ influence by reducing their output, even as coal

 prices have risen significantly. At the same time, privately held coal producers in which

 Defendants have no ownership stake have been unable to increase their production sufficiently to

 meet demand and capture greater market share. Some of these producers are smaller firms that

 lack the proven reserves, the financial wherewithal, and production capacity that they would need

 to raise production; still others are unable to obtain financing from banks and financial institutions

 that have been pressured to cut off the funding that the coal industry would need to expand capacity

 and raise output. Defendants are directly restraining competition between the companies whose

 shares they have acquired, but their war on competition has consequences for the entire industry.

        6.      Defendants have leveraged their holdings and voting of shares to facilitate an output

 reduction scheme, which has artificially constrained the supply of coal, significantly diminished

 competition in the markets for coal, increased energy prices for American consumers, and

 produced cartel-level profits for Defendants.         Defendants’ acquisition and use of their

 shareholdings thus violated both Section 7 of the Clayton Act and State antitrust laws, while

 Defendants’ formation of an output-reduction syndicate that yielded supra-competitive profits for

 themselves and their portfolios violated Section 1 of the Sherman Act and State antitrust laws.



                                                   3
Case 6:24-cv-00437-JDK        Document 50        Filed 01/16/25      Page 8 of 122 PageID #: 228




        7.      Defendants have publicly defended their anticompetitive scheme with appeals to

 environmental stewardship. But acquiring shares of common stock, “the effect of which ‘may be

 substantially to lessen competition’ is not saved because, on some ultimate reckoning of social or

 economic debits and credits, it may be deemed beneficial.” United States v. Phila. Nat’l Bank, 374

 U.S. 321, 371 (1963). The nation’s antitrust laws “reflect[] a legislative judgment that ultimately

 competition will produce not only lower prices, but also better goods and services.” Nat’l Soc’y of

 Pro. Eng’rs v. United States, 435 U.S. 679, 695 (1978). Defendants’ belief that concern for the

 climate confers a license to suppress competition is “mistaken. The antitrust laws don’t permit

 [the enforcers of America’s antitrust laws] to turn a blind eye to an illegal deal just because the

 parties commit to some unrelated social benefit.”1 Under the antitrust laws, full and open

 competition must dictate domestic coal production.

        8.      In addition to joining with the other two major institutional asset managers to bring

 about a reduction in the output of coal, Defendant BlackRock went further—actively deceiving

 investors about the nature of its funds. Rather than inform investors that it would use their

 shareholdings to advance climate goals, BlackRock consistently and uniformly represented its

 non-ESG funds would be dedicated solely to enhancing shareholder value. But as detailed below,

 BlackRock routinely violated its pledge to investors, using all its holdings to advance its climate

 goals and—as most relevant here—promote the objectives of its output-reduction syndicate.

        9.      The American consumer is entitled to enjoy the fruits of free markets, vigorous

 competition, and (in the case of BlackRock) honest investment managers. Competitive markets—

 not the dictates of far-flung asset managers—should determine the price Americans pay for



        1
          Lina Khan, ESG Won’t Stop the FTC: Our job is to prevent illegal mergers, not to make
 the world a better place, WALL ST. J. (Dec. 21, 2022), https://on.wsj.com/3MLPk5W.

                                                  4
Case 6:24-cv-00437-JDK          Document 50       Filed 01/16/25      Page 9 of 122 PageID #: 229




 electricity. The Plaintiff States accordingly seek injunctive relief to put an end to Defendants’

 illegal practices and restore free and open competition to the coal markets, as well as damages,

 restitution, and civil penalties.

                                              PARTIES

                                              Plaintiffs
         10.     Plaintiff States of Texas, Alabama, Arkansas, Indiana, Iowa, Kansas, Missouri,

 Montana, Nebraska, West Virginia, and Wyoming (collectively, “Plaintiff States”), by and through

 their respective Attorneys General, bring this action in their respective sovereign capacities and as

 parens patriae on behalf of the citizens, general welfare, and economy of their respective states

 under their statutory, equitable, or common law powers, and pursuant to Sections 4C and 16 of the

 Clayton Act, 15 U.S.C. §§ 15C & 26.

                                             Defendants
          11.    Defendant BlackRock, Inc. (“BlackRock”) is a Delaware Corporation, with its

  principal place of business located at 50 Hudson Yards, New York, New York 10001.

          12.    Defendant State Street Corporation (“State Street”) is a Massachusetts Corporation

  with its principal place of business at One Congress Street, Boston, Massachusetts 02114.

          13.    The Vanguard Group, Inc. (“Vanguard”) is a Pennsylvania Corporation, with its

  principal place of business at 100 Vanguard Blvd., Malvern, Pennsylvania 19355.


                          JURISDICTION, VENUE, AND COMMERCE

         14.     Plaintiff States bring this action under Section 1 of the Sherman Act, 15 U.S.C. § 1,

 and Sections 7 and 16 of the Clayton Act, 15 U.S.C. §§ 18 and 26.

         15.     This Court possesses jurisdiction over the subject matter of this action under 15

 U.S.C. § 4, 28 U.S.C. §1331, and 28 U.S.C. § 1337. This Court has jurisdiction over Plaintiff


                                                   5
Case 6:24-cv-00437-JDK            Document 50      Filed 01/16/25       Page 10 of 122 PageID #:
                                                 230



States’ non-federal claims under 28 U.S.C. § 1367(a), as well as under principles of supplemental

jurisdiction.

        16.      This Court has personal jurisdiction over Defendants, each of which has minimum

contacts with the United States, pursuant to 15 U.S.C. § 22; venue is proper in this District pursuant

to 28 U.S.C. §§ 1391(b) & (c), because Defendants are subject to personal jurisdiction in, and thus

reside in, this District, and 15 U.S.C. § 22, because Defendants transact business and are found

within this District.

        17.      Defendants sell the financial products that they have used to accomplish their

scheme throughout the United States and across state lines. Defendants are engaged in, and their

activities substantially affect, interstate trade and commerce throughout the United States.

Defendants’ acquisitions and use of stock have significantly lessened competition in the markets

for coal throughout the United States, including sales of coal made to direct purchasers in this

District. Defendants provide a range of products and services that are marketed, distributed, and

offered to consumers throughout the United States, in the each of the Plaintiff States, and across

state lines.

       DEFENDANTS HAVE EACH ACQUIRED SUBSTANTIAL PERCENTAGES
           OF THE OUSTANDING SHARES OF U.S. COAL COMPANIES

        18.      Among coal producers responsible for more than 5 million tons of coal in 2022,

eight are publicly held: Peabody Energy; Arch Resources; NACCO Natural Resources; CONSOL

Energy; Alpha Metallurgical Resources; Vistra; Hallador Energy Company; and Warrior Met

Coal.2 These eight firms are responsible for approximately 46% of total domestic coal production




        2
            Annual Coal Report 2022 at tbl. 10, U.S., EIA (Oct. 2023), https://bit.ly/3MMAjkl.

                                                  6
Case 6:24-cv-00437-JDK          Document 50      Filed 01/16/25       Page 11 of 122 PageID #:
                                               231



and significant shares of the domestic production of thermal coal and, along with the Black Hills

Corporation, of South Powder River Basin (“SPRB”) coal.

       19.      As explained below, Defendants are three of the largest investors in global coal

production. As of February 15, 2022, BlackRock’s total investment in coal was $108.787 billion;

Vanguard’s, $101.119 billion; and State Street’s, $35.736 billion.3

       20.      Defendants, and their subsidiaries and affiliates, acting by and through the funds,

trusts, and other investment vehicles that they manage and control, have acquired substantial

shareholdings in, and have become the three largest shareholders of America’s publicly-held coal

companies. See below Table 1. BlackRock is the largest shareholder of six of the nine publicly-

traded coal companies (hereinafter, “the Coal Companies”), and the second largest of the

remaining three.4 Vanguard is the largest shareholder of Vistra Energy, the second largest

shareholder of six Coal Companies, and the third and fifth holder of, respectively, NACCO

Industries and Hallador. State Street is smaller, but only in comparison to BlackRock and

Vanguard; it is among the top five shareholders of all but two of the Coal Companies.

  Table 1: Defendants’ Ownership Interests in the Coal Companies (as of June 30, 2024)
                        Percentage Ownership (Shareholder Rank)
                                BlackRock      Vanguard     State Street       Total
 Peabody Energy                  13.62% (1)     11.18% (2)     5.63% (4)        30.43%
 Arch Resources                  15.01% (1)     12.81% (2)     6.37% (3)        34.19%
 NACCO Industries                 5.88% (2)      3.63% (3)     1.34% (8)        10.85%
 CONSOL Energy                   14.15% (1)      8.94% (2)     5.88% (5)        28.97%
 Alpha Metallurgical Resources   14.58% (1)      9.58% (2)     5.54% (3)        29.70%
 Vistra Energy                    7.91% (2)     12.57% (1)     4.46% (4)        24.94%
 Hallador Energy                  4.09% (2)      3.01% (5)     1.2% (11)         8.30%
 Warrior Met Coal                14.04% (1)     11.38% (2)      6.2% (3)        31.62%
 Black Hills Corp.               15.56% (1)     12.04% (2)     5.27% (3)        32.87%


       3
           Investors in Coal Top 24, URGEWALD (Feb. 15, 2022), https://bit.ly/3MLSiHC.
       4
           Unless otherwise noted, current 13F data was obtained from Search 13F Filings,
https://bit.ly/4daI3HI (last visited Sept. 16, 2024).

                                                 7
Case 6:24-cv-00437-JDK       Document 50      Filed 01/16/25     Page 12 of 122 PageID #:
                                            232



                        Defendants own 30.43% of Peabody Energy
        21.   As of June 30, 2024 Defendants owned 38,314,525 shares of Peabody Energy

common stock, representing 30.43% of the company’s outstanding shares.

        22.   Defendant Vanguard owned 14,073,850 shares of Peabody Energy’s common stock

as of June 30, 2024, representing 11.18% of the company’s outstanding shares. As of December

31, 2020, Vanguard had reported owning only 3,221,900 shares of Peabody Energy. Vanguard

thus acquired 10,851,950 shares of Peabody Energy between December 2020 and June 2024.

        23.   Defendant BlackRock owned 17,149,187 shares of Peabody Energy’s common

stock as of June 30, 2024, representing 13.62% of the company’s outstanding shares. As of

December 31, 2020, BlackRock had reported owning 4,901,754 shares of Peabody Energy.

BlackRock thus acquired 12,247,433 shares of Peabody Energy between December 2020 and June

2024.

        24.   Defendant State Street owned 7,091,488 shares of Peabody Energy’s common stock

on June 30, 2024, representing 5.63% of the company’s outstanding shares. As of December 31,

2020, State Street had held 1,730,727 shares of Peabody Energy. State Street thus reported

acquiring 5,360,761 shares of Peabody Energy’s common stock between December 2020 and June

2024.

                        Defendants own 34.19% of Arch Resources
        25.   As of June 30, 2024, Defendants owned 6,183,333 shares of Arch Resources’ Class

A common stock,5 representing 34.19% of the company’s outstanding shares.




        5
         “Arch Resources has two classes of stock, Class A Common Stock and Class B Common
Stock. The two classes of common stock have identical terms, except that Class B Stock is not
listed on any national securities exchange.” Investor FAQ, ARCH, https://bit.ly/47qhEEt (last
visited Sept. 16, 2024).

                                             8
Case 6:24-cv-00437-JDK          Document 50      Filed 01/16/25      Page 13 of 122 PageID #:
                                               233



       26.      Defendant Vanguard owned 2,316,930 shares of Arch Resources’ Class A common

stock on June 30, 2024, representing 12.81% of the company’s outstanding shares. On December

31, 2020, Vanguard reported owning 1,407,442 shares of Arch Resources. Vanguard thus acquired

909,488 shares between December 2020 and June 2024.

       27.      Defendant BlackRock owned 2,713,914 shares of Arch Resources’ Class A

common stock as of June 30, 2024, representing 15.01% of the company’s outstanding shares. As

of December 31, 2020, BlackRock reported owning 1,111,103 shares of Arch Resources.

BlackRock thus acquired 1,602,811 shares between December 2020 and June 2024.

       28.      Defendant State Street held 1,152,489 shares of Arch Resources’ Class A common

stock on June 30, 2024, representing 6.37% of the company’s outstanding shares. As of December

31, 2020, State Street reported owning 1,203,281 shares of Arch Resources. State Street thus sold

50,792 shares of Arch Resources Class A common stock between December 2020 and June 2024.

                         Defendants own 10.85% of NACCO Industries
       29.      As of June 30, 2024, Defendants held 627,992 shares of NACCO’s Class A

common stock, representing 10.85% of the company’s publicly-held outstanding shares.

NACCO’s Class B common stock is not publicly traded. Each share of Class B Common Stock is

entitled to ten votes; otherwise, Class A and Class B common stock are equal in respect of rights

to dividends and any other distributions in cash, stock, or property of the Company.6

       30.      Defendant Vanguard owned 209,995 shares of NACCO’s common stock as of June

30, 2024, representing 3.63% of the company’s outstanding shares. Vanguard reported owning

231,908 shares of NACCO’s common stock as of December 31, 2020.




       6
           Common Stock FAQs, NACCO, https://bit.ly/4dcPhL8 (last visited Sept. 16, 2024).

                                                9
Case 6:24-cv-00437-JDK        Document 50     Filed 01/16/25      Page 14 of 122 PageID #:
                                            234



        31.   Defendant BlackRock held 340,484 shares of NACCO’s common stock as of June

30, 2024, representing 5.88% of the company’s outstanding shares. On December 31, 2020,

BlackRock had owned 268,719 shares of NACCO’s common stock. BlackRock thus acquired

71,765 shares of NACCO’s common stock between December 2020 and June 2024.

        32.   Defendant State Street held 77,513 shares of NACCO’s common stock as of June

30, 2024, representing 1.34% of the company’s outstanding shares. State Street reported owning

80,522 shares of NACCO’s common stock as of December 30, 2020.

                       Defendants own 28.97% of CONSOL Energy
        33.   As of June 30, 2024, Defendants held 8,517,992 shares of CONSOL Energy’s

common stock, representing 28.97% of the company’s outstanding shares.

        34.   Defendant Vanguard held 2,628,383 shares of CONSOL Energy’s common stock

as of June 30, 2024, representing 8.94% of the company’s outstanding shares. As of December

31, 2020, Vanguard reported owning 1,444,540 shares of CONSOL Energy’s common stock.

Vanguard thus acquired 1,183,843 shares of CONSOL Energy between December 2020 and June

2024.

        35.   Defendant BlackRock held 4,159,982 shares of CONSOL Energy’s common stock

as of June 30, 2024, representing 14.15% of the company’s outstanding shares. On December 31,

2020, BlackRock had reported owning 4,491,811 shares of CONSOL Energy’s common stock.

        36.   Defendant State Street held 1,729,627 shares of CONSOL Energy’s common stock

as of June 30, 2024, representing 5.88% of the company’s outstanding shares. As of December

31, 2020, State Street reported owning 780,949 shares of CONSOL Energy. State Street thus

acquired 948,678 shares of CONSOL Energy’s common stock between December 2020 and June

2024.



                                             10
Case 6:24-cv-00437-JDK         Document 50      Filed 01/16/25      Page 15 of 122 PageID #:
                                              235



                  Defendants own 29.7% of Alpha Metallurgical Resources
       37.    As of June 30, 2024, Defendants held 3,866,622 shares of Alpha Metallurgical

Resources’ common stock, representing 29.7% of the company’s outstanding shares.

       38.    Defendant Vanguard held 1,247,439 shares of Alpha Metallurgical Resources’

common stock as of June 30, 2024, representing 9.58% of the company’s outstanding shares. As

of December 31, 2020, Vanguard reported owning 843,983 shares of Contura Energy Inc.’s

common stock.7 Vanguard thus acquired 403,456 shares of Alpha Metallurgical Resources

between December 2020 and June 2024.

       39.    Defendant BlackRock held 1,897,483 shares of Alpha Metallurgical Resources’

common stock as of June 30, 2024, representing 14.58% of the company’s outstanding shares.

BlackRock reported owning 1,465,696 shares of Contura Energy, Inc., on December 31, 2020.

BlackRock thus acquired 431,787 shares of Alpha Metallurgical Resources’ common stock

between December 2020 and June 2024.

       40.    Defendant State Street held 721,700 shares of Alpha Metallurgical Resources’

common stock as of June 30, 2024, representing 5.54% of the company’s outstanding shares. State

Street did not report owning any shares of Contura Energy Inc. on December 31, 2020. State Street

thus acquired 721,700 shares of Alpha Metallurgical Resources’ common stock between December

2020 and June 2024.

                          Defendants own 24.94% of Vistra Energy
       41.    As of June 30, 2024, Defendants held 85,652,222 shares of Vistra’s common stock,

representing 24.94% of the company’s outstanding shares.




       7
        On February 1, 2021, Contura Energy changed its corporate name to Alpha Metallurgical
Resources, and its ticker symbol changed from “CTRA” to “AMR” effective on February 4, 2021.

                                               11
Case 6:24-cv-00437-JDK        Document 50      Filed 01/16/25     Page 16 of 122 PageID #:
                                             236



       42.    Defendant Vanguard held 43,173,721 shares of Vistra’s common stock as of June

30, 2024, representing 12.57% of the company’s outstanding shares. On December 31, 2020,

Vanguard reported owning 46,057,648 shares of Vistra’s common stock.

       43.    Defendant BlackRock held 27,160,648 shares of Vistra’s common stock as of June

30, 2024, representing 7.91% of the company’s outstanding shares. On December 30, 2020,

BlackRock reported owning 28,579,182 shares of Vistra’s common stock.

       44.    Defendant State Street held 15,317,853 shares of Vistra’s common stock as of June

30, 2024, representing 4.46% of the company’s outstanding shares. On December 31, 2020, State

Street reported owning 9,290,171 shares of Vistra’s common stock. State Street thus acquired

6,027,682 shares of Vistra’s common stock between December 2020 and June 2024.

                         Defendants own 8.3% of Hallador Energy

       45.    As of June 30, 2024, Defendants held 3,540,921 shares of Hallador Energy’s

common stock, representing 8.3% of the company’s outstanding shares.

       46.    Defendant Vanguard held 1,281,063 shares of Hallador Energy’s common stock as

of June 30, 2024, representing 3.01% of the company’s outstanding shares. On December 31,

2020, Vanguard reported owning 704,524 shares of Hallador Energy’s common stock. Vanguard

thus acquired 576,539 shares of Hallador Energy’s common stock between December 2020 and

June 2024.

       47.    Defendant BlackRock held 1,742,499 shares of Hallador Energy’s common stock

as of June 30, 2024, representing 4.09% of the company’s outstanding shares. On December 31,

2020, BlackRock reported owning 101,138 shares of Hallador Energy’s common stock.

BlackRock thus acquired 1,641,361 shares of Hallador Energy’s common stock between

December 2020 and June 2024.



                                             12
Case 6:24-cv-00437-JDK        Document 50      Filed 01/16/25      Page 17 of 122 PageID #:
                                             237



       48.    Defendant State Street held 517,359 shares of Hallador Energy’s common stock as

of June 30, 2024, representing 1.2% of the company’s outstanding shares. State Street reported

not owning any shares of Hallador Energy as of December 31, 2020. State Street thus acquired

517,359 shares of Halldor Energy’s common stock between December 2020 and June 2024.

                        Defendants own 31.62% of Warrior Met Coal

       49.    As of June 30, 2024, Defendants held 16,543,426 shares of Warrior Met Coal’s

common stock, representing 31.62% of the company’s outstanding shares.

       50.    Defendant Vanguard held 5,952,261 shares of Warrior Met Coal’s common stock

as of June 30, 2024, representing 11.38% of the company’s outstanding shares. As of December

31, 2020, Vanguard reported owning 5,224,538 shares of Warrior Met Coal common stock.

Vanguard thus acquired 727,723 shares of Warrior Met Coal’s common stock between December

2020 and June 2024.

       51.    Defendant BlackRock held 7,345,650 shares of Warrior Met Coal’s common stock

as of June 30, 2024, representing 14.04% of the company’s outstanding shares. BlackRock

reported holdings of 7,184,086 shares of Warrior Met Coal’s common stock as of December 31,

2020. BlackRock thus acquired 161,564 shares of Warrior Met Coal’s common stock between

December 2020 and June 2024.

       52.    Defendant State Street held 3,245,515 shares of Warrior Met Coal’s common stock

as of June 30, 2024, representing 6.2% of the company’s outstanding shares. On December 31,

2020, State Street reported owning 3,725,752 shares of Warrior Met Coal.

                      Defendants own 32.87% of Black Hills Corporation

       53.    As of June 30, 2024, Defendants held 22,925,181 shares of Black Hills Corporation

common stock, representing 32.87% of the company’s outstanding shares.



                                              13
Case 6:24-cv-00437-JDK         Document 50       Filed 01/16/25       Page 18 of 122 PageID #:
                                               238



       54.     Defendant Vanguard held 8,394,948 shares of Black Hills Corporation common

stock as of June 30, 2024, representing 12.04% of the company’s outstanding shares. On

December 31, 2020, Vanguard reported owning 6,576,633 shares of Black Hills Corporation’s

common stock. Vanguard thus acquired 1,818,315 shares of Black Hills Corporation’s common

stock between December 2020 and June 2024.

       55.     Defendant BlackRock held 10,851,268 shares of Black Hills Corporation common

stock as of June 30, 2024, representing 15.56% of the company’s outstanding shares. As of

December 31, 2020, BlackRock reported owning 8,581,943 shares of Black Hills Corporation’s

common stock. BlackRock thus acquired 2,269,325 shares of Black Hill Corporation common

stock between December 2020 and June 2024.

       56.     Defendant State Street held 3,678,965 shares of Black Hills Corporation common

stock as of June 30, 2024, representing 5.27% of the company’s outstanding shares. As of

December 31, 2020, State Street reported owning 5,538,442 shares of Black Hill Corporation’s

common stock.

       57.     Defendants’ acquisitions have made each of them a substantial shareholder in each

of the nation’s major coal miners. This concentrated ownership of horizontal competitors poses a

significant threat to competition in the markets for coal. It is precisely these types of threat to

competition that Section 7 was enacted to thwart “in their incipiency.” United States v. DuPont,

353 U.S. 586, 597 (1957).

                                THE RELEVANT MARKETS

       58.     There are clear and readily defined coal markets—the markets in which

Defendants’ acquisitions of shares have threatened to impair and have in fact impaired competition.




                                                14
Case 6:24-cv-00437-JDK         Document 50       Filed 01/16/25       Page 19 of 122 PageID #:
                                               239



       59.     As detailed further below, there are two relevant product markets for coal. They

are:

               a.     The market for South Powder River Basin Coal, which is the preferred

coal for power plants as its inherent properties ease regulatory compliance and enhance operational

efficiency. Defendants own 30.43%, 34.19%, and 32.87% of the three publicly traded companies

that produce South Powder River Basin Coal. Those companies control 63.5% of the market in

South Powder River Basin Coal.

               b.     The market for Thermal Coal, which is burned to generate steam to

produce electricity or for process heating purposes. Defendants own between 8.3% and 34.19%

of the eight publicly traded companies listed above that produce Thermal Coal. These companies

control 46% of the market in Thermal Coal.

        60.    As detailed further below, there are multiple potentially relevant geographic

markets for coal. They are:

               a.     The South Powder River Basin—the sole source for South Powder River

Basin coal and thus the only place purchasers can obtain such coal.

               b.     The United States—the domestic coal market cannot source coal from

abroad without incurring significant transportation costs.

               c.     The locations where South Power River Basin coal is consumed—nearly all

such coal is burned at the 150 power plants located throughout the United States.




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Case 6:24-cv-00437-JDK          Document 50       Filed 01/16/25        Page 20 of 122 PageID #:
                                                240



       61.      Six of those plants are located in the State of Texas: the Welsh Power Plant, located

in Cason, TX8; the Fayette Power Project, located in La Grange, TX9; Harrington Generating

Station, located near Amarillo, TX10; Tolk Station, located in Muleshoe, TX11; W.A. Parish

Generating Station, located near Thompsons, TX12; and the Limestone Power Plant, located in

Jewett, TX.13

                    The Specific Characteristics of Coal Determine Its Uses

       62.      Consumers of coal are constrained in the types of coal they can consume given the

nature of their industrial processes, the design specification of their facilities and equipment, and

the characteristics of the coal suited to those processes. Both the classification of, and the

definitions of the relevant markets for coal depend on its characteristics and its point of origin.

       63.      Heat value, sulfur content, ash, moisture content, and volatility are important

variables in the marketing and use of coal. Heat value refers to the coal’s energy content and

depends on the carbon content of the coal; it is measured in British Thermal Units. Sulfur content

determines the amount of sulfur dioxide that will be produced in combustion and affects the ability

of coal-fueled power plants to comply with applicable federal and state emissions standards. Ash



       8
         Welsh Power Plant Environmental Retrofit Project, S.W. ELECTRIC POWER CO. (Oct. 24,
2018), https://bit.ly/3Zx5SpN.
       9
         Power plant profile: Fayette Power Project, US, POWER TECH. (last updated July 21,
2024), https://bit.ly/3ziQanJ.
       10
        Dr. Robert Peltier, PE, Xcel Energy’s Harrington Generating Station Earns Powder River
Basin Coal Users’ Group Award, POWER (July 1, 2015), https://bit.ly/4db5D6Y.
       11
             Power plant profile: Tolk Power Station, US, POWER TECH. (July 21, 2024),
https://bit.ly/4eoDISa.
       12
           About: WA Parish Generating Station, DBPEDIA, https://bit.ly/3XKLSyL (last visited
Sept. 17, 2024).
       13
              Limestone Power Plant, Texas, CTR. FOR LAND USE INTERPRETATION,
https://bit.ly/3zuRAvd (last visited Sept. 17, 2024).

                                                 16
Case 6:24-cv-00437-JDK             Document 50       Filed 01/16/25       Page 21 of 122 PageID #:
                                                   241



content is an important characteristic because it impacts boiler performance, and because of the

added costs to the electric generating plants that must handle and dispose of ash following

combustion. A high moisture content will decrease heat value and increase the weight of the coal,

making it a less efficient source of energy and more expensive to transport. Volatility and other

characteristics, including fluidity and swelling capacity, are particularly important for users of the

metallurgical coal that is used to produce coke.

       64.        Coal is generally classified into four categories: lignite, subbituminous, bituminous,

and anthracite. These classifications reflect the amount of carbon the coal contains and the amount

of heat energy it can produce.

                  a.     Anthracitic coal contains >86% carbon and has a high heat value. It is

mined in northeastern Pennsylvania, and accounted for less than 1% of the coal mined in the United

States in 2022. It is primarily used in the metallurgy and steel-making industries.14

                  b.     Bituminous coal contains 45%-86% carbon and is the most abundant class

of coal found in the United States, accounting for about 46% of total U.S. production in 2022. It

is used to generate electricity and is an important raw material for making coke for the iron and

steel industry. The top five bituminous producing states and their percentage share of total U.S.

bituminous production in 2022 were: West Virginia, 31%; Illinois, 14%; Pennsylvania, 14%;

Kentucky, 11%; and Indiana, 9%.15

                  c.     Subbituminous coal contains 35%–45% carbon and has a lower heat value

than bituminous coal. In 2022, subbituminous coal accounted for approximately 46% of total U.S.

coal production. The five subbituminous producing states and their percentage share of total U.S.



       14
            Coal Explained, EIA (last updated Oct. 24, 2023), https://bit.ly/3TAcosi.
       15
            Id.

                                                   17
Case 6:24-cv-00437-JDK            Document 50      Filed 01/16/25       Page 22 of 122 PageID #:
                                                 242



subbituminous production in 2022 were: Wyoming, 89%; Montana, 8%; New Mexico, 2%;

Colorado, 2%; and Alaska, <1%.16 South Powder River Basin coal is subbituminous coal.17 Its

friable nature makes it well suited for modern pulverized coal power plants.

                  d.     Lignite contains 25%–35% carbon and has the lowest energy content of all

coal ranks. Lignite is crumbly and has high moisture content, which contributes to its low heating

value. In 2022, five states produced lignite, which accounted for 8% of total U.S. coal production:

they were: North Dakota, 56%; Texas, 36%; Mississippi, 7%; Louisiana, 1%; and Montana, <1%.18

Most lignite is used as thermal coal. Due to its high moisture content and low BTU value, shipping

lignite long distances is not feasible. Consequently, it is burned near where it is mined.19

                                   The Relevant Product Markets

       65.        Defendants have sought and continue to seek to reduce the production of coal across

the board. Because of the market-wide impact of their holdings, Defendants’ acquisitions of stock

and their use of those shares has significantly lessened competition across all coal markets.

Plaintiff States have nevertheless identified the following relevant antitrust product and geographic

markets in which Defendants’ acquisitions may have the effect of significantly lessening

competition and indeed have substantially lessened competition.

              There is a Relevant Product Market for South Powder River Basin Coal
       66.        The Powder River Basin (“PRB”) is in northeast Wyoming and southeast Montana.

The PRB is the largest coal producing basin in the United States, responsible for approximately



       16
            Id.
       17
            Id.
       18
            Id.
       19
          AP-42: Compilation of Air Pollutant Emissions Factors from Stationary Sources, EPA
(last updated Aug. 15, 2024), https://bit.ly/47wKhzP.

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Case 6:24-cv-00437-JDK            Document 50     Filed 01/16/25      Page 23 of 122 PageID #:
                                                243



260 million tons of production in 2022, representing 43.5% of the total national coal production in

2022. The PRB is divided into a northern region, the North Powder River Basin (“NPRB”), and a

southern region, the South Powder River Basin (“SPRB”). SPRB coal is a relevant market for

assessing the effect of Defendants’ anticompetitive acquisitions because, among other things,

SPRB coal has a lower sulfur and sodium content than other forms of coal, which both aids with

regulatory compliance and confers other operational benefits on power generation plants that make

it preferable to potential substitutes.

        67.     Fifteen mines operate in the Powder River Basin, with most of the active mining

taking place at the 12 mines located in the SPRB in the drainages of the Cheyenne River. Almost

all the coal deposits in the Powder River Basin are owned by the federal government. New entry

would thus require not only large capital investments in mine equipment, but also obtaining

numerous federal and state regulatory approvals.

        68.     The coal in the NPRB has different characteristics from the coal in the SPRB, which

places them into different product markets. Specifically, coal from the SPRB has lower sodium

and sulfur content than NPRB coal. The lower emissions that result from its lower sulfur content

mean that SPRB coal, compared to NPRB coal, more readily complies with environmental

regulations and confers other operational benefits. Power generators also consider the lower

sodium content in the ash produced by the combustion of SPRB coal, compared to NPRB coal, to

be a desirable property.

        69.     SPRB coal is likewise distinguishable from coal mined elsewhere in the United

States (e.g., the Illinois Basin, the Uinta Basin located in Utah and Colorado, and coal mined in

the Appalachian region) based on several factors that are important to electric power producers,

including, but not limited to:



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Case 6:24-cv-00437-JDK          Document 50       Filed 01/16/25       Page 24 of 122 PageID #:
                                                244



              a.       Low cost of production: SPRB coal is relatively close to the earth’s surface

and thus is extracted from surface mines, which generally face lower costs than underground

mines. SPRB coal beds are relatively thick, which also reduces the cost of extraction compared to

thinner beds. The difference in cost is reflected in the sales price of the coal. Measured in dollars

per million British Thermal Units ($/mmBTU) at the mine mouth, SPRB coal is the lowest priced

coal in the United States. For example, the United States Energy Information Administration

(“EIA”) releases weekly information regarding the spot price of different coals, broken down by

coal region. According to the EIA, for the week ending January 12, 2024, on a $/mmBTU basis,

the spot price of Central Appalachian coal ($3.24) was more than four times the price of SPRB

coal ($.79), and such price differences have been persistent over time.

               b.      Heat content: SPRB mines yield sub-bituminous coal with a heat content

that typically ranges from 7,710 to 9,410 BTU per pound. Electric power generators typically seek

to purchase coal with BTU values that fall within a specific range for which their units are designed

to operate most cost-effectively, and many electric power generators are designed to operate within

this range.

               c.      Low sulfur content: SPRB coal typically has relatively low sulfur content,

and thus when burned produces less sulfur dioxide than higher-sulfur coals.

               d.      Low sodium content: SPRB coal is also relatively low in sodium compared

to other coals mined in the United States.

       70.     Due to this unique combination of SPRB coal characteristics, coal mined in other

basins and in other countries does not meaningfully constrain the price of SPRB coal in the large

portions of the United States where SPRB coal can be shipped economically. Power plant

generation units that burn SPRB coal rarely switch to coal from a different basin, since doing so



                                                 20
Case 6:24-cv-00437-JDK          Document 50       Filed 01/16/25        Page 25 of 122 PageID #:
                                                245



would have negative implications for coal purchasing costs, environmental compliance, and the

efficiency of power generation. Not only is SPRB coal the lowest-cost coal produced in the United

States, but environmental restrictions may prevent SPRB-burning power plants from burning coal

with higher proportions of certain pollutants (such as sulfur). In some cases, plant owners may be

entirely foreclosed from burning another type of coal because the plant only has regulatory

approval to burn SPRB coal. Moreover, many power plants that burn SPRB coal can face

substantial switching costs if they attempt to switch to other coals, which could include installation

of additional pollution-control equipment.

         71.   Industry and public recognition confirm that SPRB coal differs from non-SPRB

coals.    Public sources of information, including analysis of commodity prices, routinely

differentiate between SPRB coal and other types of coal. Likewise, market participants and

industry analysts regularly discuss supply and demand conditions for SPRB coal separately from

supply and demand for other types of coal.

         72.   SPRB coal prices are typically determined through direct interactions between

SPRB coal producers and customers, involving a request-for-proposal (“RFP”) process in which

customers solicit bids from multiple suppliers of SPRB coal. Customers typically issue an RFP

specifying the quantity of coal that they desire to contract for and the time period in which the coal

will be delivered (often one year or two years). Based on responses to the RFP, a customer will

negotiate a supply contract with one or more suppliers. While customers can also purchase SPRB

coal by placing a bid on the Over-The-Counter (“OTC”) spot market, due to their reliance on

regular supplies of large amounts of coal for their coal-fired power plants, most customers prefer

to contract with suppliers for most of their SPRB coal purchases rather than rely exclusively or




                                                 21
Case 6:24-cv-00437-JDK          Document 50       Filed 01/16/25        Page 26 of 122 PageID #:
                                                246



primarily on OTC purchases. SPRB coal customers value the security of supply provided by a

contract, and OTC prices are typically higher than individually-negotiated contract prices.

       73.     Due to the widespread use of RFPs, SPRB coal producers typically know the

identity of customers seeking to purchase SPRB coal and can customize their bids based on a

customer’s circumstances. For example, SPRB coal producers can take into account the location

of the customer’s power plants, which affects both the plants’ regulatory requirements and the

shipping costs the customer will incur. SPRB coal purchasers generally negotiate shipping costs

directly with railroads, without the involvement of SPRB coal producers, and greater distances

typically result in greater shipping costs. Shipping costs are significant compared to the price of

SPRB coal at the mine mouth; in many cases, shipping costs account for 50% or more of a

customer’s delivered cost.

       74.     Power generation units designed to burn SPRB coal cannot readily replace SPRB

coal with natural gas, wind, sun, or nuclear fuels. Owners of such units cannot practicably

construct new facilities that use alternative fuels in response to a small-but-significant increase in

the price of SPRB coal because it is expensive and time-consuming to construct new facilities

powered by natural gas, renewables, or nuclear fuels.

       75.     Some power plants that rely on SPRB coal are owned by utilities that can also

supply electricity to end customers by (i) generating it from power plants designed to use fuels

other than SPRB coal, and (ii) purchasing power “wholesale” from other power generators. Yet,

if SPRB coal prices were to increase by a small-but-significant amount, such utilities are unlikely

to reduce their purchases of SPRB coal by enough to render the price increase unprofitable for a

hypothetical monopolist, for several reasons, including:




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Case 6:24-cv-00437-JDK           Document 50       Filed 01/16/25       Page 27 of 122 PageID #:
                                                 247



               a.      Coal-fired power plants are expensive to construct (modern plants can cost

more than $1 billion), and once a power plant operator has made such a significant investment, it

has strong incentives to operate its plant, even if the price of coal increases by a small-but-

significant amount;

               b.      Electricity producers often rely on coal-fired power units to run

continuously to reliably supply power despite variable conditions (such as weather, natural gas

pipeline constraints, and electricity grid congestion) that can render alternative power sources

unreliable or unavailable;

               c.      Coal-fired power units are usually run continuously to optimize emission

controls and minimize pollution in compliance with applicable regulations and permits. Boiler

flame stability plays a critical role during coal combustion in reducing nitrogen dioxide, a “criteria”

pollutant under the Clean Air Act, 42 U.S.C. § 7408; 40 CFR § 50.11; and,

               a.      A small-but-significant increase in SPRB coal producers’ prices would have

only a minor impact on a power generator’s cost of producing electricity, due to the high

transportation costs of SPRB coal and other factors. Indeed, as the district court found in Federal

Trade Commission v. Peabody Energy Corporation, “SPRB coal customers are … different from

customers in many other industries” to the extent that they “are legally obligated to provide

electricity to their customers” and “cannot simply choose to not reach a deal but rather must

generate electricity—including from SPRB coal, if their EGUs are designed to burn it—in order

to meet those obligations.” 492 F.Supp.3d 865, 892 (E.D. Mo. 2020) (cleaned up).

       76.     The foregoing paragraphs establish that a hypothetical monopolist of the SPRB coal

product market would profit from a small but significant and non-transitory increase in price, and

that there is thus a distinct product market for SPRB coal.



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Case 6:24-cv-00437-JDK          Document 50       Filed 01/16/25       Page 28 of 122 PageID #:
                                                248



       77.     Moreover, although the price of natural gas has some impact on the price of coal,

the existence of competition with natural gas producers does not undercut the existence of an SPRB

coal market. SPRB coal has distinct customers with distinct needs because these customers have

“SPRB-fueled power plants, which are long-lived, expensive, and configured for SPRB coal’s

distinct characteristics.” FTC v. Peabody Energy, 492 F. Supp. 3d at 898. As the Court determined

in FTC v. Peabody Energy, in upholding the FTC’s SPRB product market definition, there is “little

doubt that SPRB coal providers compete … among themselves in a market for SPRB coal.” Id. at

896. The same holds true for the Thermal Coal product market.

       78.     Although the price of renewable energy may have some impact on the price of

SPRB or Thermal Coal, the existence of such price competition does not suggest that renewable

energy sources are in the same product market. Renewable energy sources are intermittent and

non-dispatchable, “meaning they only generate energy when wind is blowing or the sun is shining,

which is out of a utility’s control.” Id. at 879. As the Court found in FTC v. Peabody Energy, “this

constraint makes renewable fuels imperfect replacements for fossil fuels like coal.” Id.

                     There is a Relevant Product Market for Thermal Coal
       79.     Of the 594.2 million tons of coal produced during 2022, 532.3 million tons were

sold in the market for thermal coal. Of those 532.3 million tons of coal marketed as thermal coal,

39.5 million tons were exported, representing 45.9% of total U.S. coal exports, while 492.8 tons

were sold to domestic U.S. customers.

       80.     Thermal coal is burned to generate steam for the production of electricity or for

process heating purposes or is used as a direct source of process heat for various industrial uses.

       81.     Thermal coal is used in the industry to refer to all coal that is not classified as

metallurgical coal. Metallurgical coal must have a sufficiently high heat, low ash, and low sulfur

content to form a coke that can be used in a blast furnace. Metallurgical coal is significantly purer

                                                 24
Case 6:24-cv-00437-JDK          Document 50       Filed 01/16/25        Page 29 of 122 PageID #:
                                                249



and has a significantly higher energy density and carbon content than thermal coal. Thermal coal,

which lacks the energy density, high carbon content, and high purity that is needed for the

production of coke, is not a substitute for metallurgical coal. The cost of metallurgical coal is thus

significantly higher than the cost of thermal coal and the price of thermal coal is not significantly

constrained by the price for metallurgical coal.

       82.     Unlike the Coal Companies, which have multi-billion-dollar market capitalizations

and substantial proven reserves, privately-held thermal coal producers are often smaller, family-

owned mines. These smaller market participants would, in response to a sudden price increase,

lack the capacity and the capital that they would need to increase production significantly. And

even those privately-held firms that possess the proven reserves and have been granted the

regulatory approvals that would permit them to increase capacity would find it difficult to obtain

the financing they would need to increase their output, for banks have been under increasing

pressure, including from Defendants, to deny funding to coal miners and other fossil fuel

companies.20




       20
            See, e.g., Jordan Stutts, Banks face pressure to stop financing use of coal in steel
production, AM. BANKER (Dec. 8. 2023), https://bit.ly/4gFWF4I; Environmental and Social Policy
Framework at 16, CITI (July 2024), http://citi.us/4gEBlN2 (announcing that “Citi will not provide
project-related financing for new thermal coal mines or significant expansion of existing mines,
and has set targets to phase out our financing of mining companies deriving ≥25% of their revenue
from thermal coal mining …. Approval for any transaction for a coal mining company requires
escalation for review of the company’s transition away from coal.”); Press Release,
JPMorganChase, JPMorgan Chase Expands Commitment to Low-Carbon Economy and Clean
Energy Transition to Advance Sustainable Development Goals (Feb. 25, 2020),
https://bit.ly/3XJGQkM (announcing commitment to “[n]ot providing lending, capital markets or
advisory services to companies deriving the majority of their revenues from the extraction of coal,
and by 2024, phasing out remaining credit exposure to such companies.”).

                                                   25
Case 6:24-cv-00437-JDK          Document 50       Filed 01/16/25        Page 30 of 122 PageID #:
                                                250



        83.    A small but significant and non-transitory increase in price would not cause the

operators of power plants designed to burn thermal coal to switch away to alternative sources of

fuel.

               a.      Both the substantial costs that would have to be incurred to design and

construct a new power plant, and the substantial time that would be required to bring that plant

into operation, mean that an operator of a coal-fired power plant has strong incentives to continue

to operate its plant even if the price of coal increases by a small-but-significant amount;

               b.      The substantial costs that would be incurred to redesign a coal-fired power

plant to use an alternative fuel source mean that an operator of a coal-fired power plant has strong

incentives to continue to operate its plant even if the price of coal increases by a small-but-

significant amount;

               c.      Finally, electric power generators are legally obligated to provide electricity

to their customers, and therefore, if they cannot reach a deal with their suppliers of coal, they must

still obtain the coal they need to generate that electricity. Peabody Energy Corp., 492 F.Supp.3d

865, 892 (E.D. Mo. 2020).

        84.    The foregoing paragraphs establish that a hypothetical monopolist of the Thermal

Coal product market would profit from a small but significant and non-transitory increase in price,

and that there is thus a distinct product market for Thermal Coal.

                               The Relevant Geographic Markets

        85.    The SPRB constitutes not only a relevant product market, but a relevant geographic

production market. The suppliers of SPRB coal are located exclusively within the Southern

Powder River Basin, and this is the region in which purchasers of SPRB coal can seek alternative

suppliers of SPRB coal.



                                                 26
Case 6:24-cv-00437-JDK           Document 50       Filed 01/16/25        Page 31 of 122 PageID #:
                                                 251



        86.      The United States also constitutes a relevant geographic market in which to analyze

the competitive effects of Defendants’ acquisitions on SPRB coal. SPRB coal is not sold in any

significant quantities outside the United States, and even if it were, due to high transportation costs,

SPRB coal customers could not defeat a price increase by purchasing SPRB coal outside of the

United States and reimporting it.

        87.      The United States also constitutes a relevant geographic market in which to analyze

the competitive effects of Defendants’ acquisitions of thermal coal. While thermal coal is sold in

significant quantities outside of the United States, due to the high transportation costs, consumers

of thermal coal could not defeat a price increase by purchasing coal abroad and importing it to the

United States.

        88.      Alternatively, relevant geographic markets could be defined based on the locations

at which SPRB coal is consumed. All or nearly all SPRB coal consumed is burned at fewer than

150 power plants; the majority is consumed by power plants located in the central United States

and upper Midwest, within the states of Arkansas, Illinois, Indiana, Iowa, Kansas, Louisiana,

Michigan, Minnesota, Mississippi, Missouri, Nebraska, Oklahoma, South Dakota, Texas,

Wisconsin, and Wyoming. Defendants’ conduct substantially lessens competition for the sale of

SPRB coal within a relevant geographic market consisting of one or more of the locations at which

SPRB coal is consumed.

                       DEFENDANTS’ ACQUISITIONS OF STOCK
                    POSE A SUBSTANTIAL THREAT TO COMPETITION
                             IN THE RELEVANT MARKETS

        89.      Defendants’ acquisitions of stock have given each of them the power to influence

the management of their portfolio Coal Companies.




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Case 6:24-cv-00437-JDK          Document 50      Filed 01/16/25       Page 32 of 122 PageID #:
                                               252



       90.      When a shareholder who holds 15%, 12%, 8%, or even 3% of a company’s

outstanding shares speaks, management listens. The SEC has drawn a bright line at 5%, requiring

investors to file a Schedule 13D declaring whether they intend to actively exercise influence over

a company’s management no later than 10 days after their ownership interest exceeds that level.21

The financial news is replete, however, with stories of activist investors who hold as little as 1%

or 2% of a company’s shares successfully seeking seats on the company’s board of directors, or

demanding that management cut costs or chart a new course for the business. For example:

                a.     In 2023, activist investor Carl Icahn succeeded in getting a nominee elected

to the board of directors of gene-sequencing giant Illumina and knocking the company’s chairman

off the board; Icahn owned 1.4% of the company’s shares.22

                b.     In 2021, Engine No. 1 waged a six-month campaign to change Exxon

Mobil’s “role in a zero-carbon world,” ending in a proxy fight that resulted in its obtaining three

seats on the company’s board of directors; Engine No.1 owned a mere 0.02% of Exxon’s

outstanding shares, but its campaign succeeded largely through votes from BlackRock, State

Street, and Vanguard.23




       21
            See 17 CFR § 240.13d-1(e)(2).
       22
          Josh Nathan-Kazis, Icahn vs. Illumina Is a Split Decision: CEO Survives, Chairman Is
Out, WALL ST. J. (last updated May 25, 2023), https://bit.ly/3zpMnF9; Bhanvi Satija & Svea
Herbst-Bayliss, Icahn launches proxy fight at Illumina, seeks board seats, REUTERS (March 13,
2023), https://reut.rs/4d8uI2z.
       23
          Pippa Stevens, Activist firm Engine No. 1 claims third Exxon board seat, CNBC (June 2,
2021), https://cnb.cx/4eoQRKR; see also Matt Phillips, Exxon’s Board Defeat Signals the Rise of
Social-Good Activists, N.Y. TIMES (June 9, 2021), https://bit.ly/4fUwcPM.

                                                28
Case 6:24-cv-00437-JDK          Document 50      Filed 01/16/25       Page 33 of 122 PageID #:
                                               253



               c.      In 2017, Nelson Peltz’s Trian Fund won a seat on the board of directors of

Proctor & Gamble after a hotly contested proxy fight; Trian owned roughly 1.5% of the company’s

shares.24

               d.      In 2017, Third Point successfully lobbied the board of directors of Nestle to

increase the company’s dividends and buybacks, and to sell off its skin health unit and its U.S. ice

cream business. Third Point had acquired 40 million shares of the company, representing 1.3% of

the company’s outstanding 3.09 billion shares.25

               e.      In 2014, Starboard Value launched a proxy fight that resulted in the

replacement of the entire board of directors of Darden Restaurants; Starboard held an 8.8% stake

in the company.26

       91.     Even an “unsuccessful” proxy campaign can ultimately influence the board of

directors to adopt the policy or pursue the course of action for which a significant shareholder was

advocating. For example, in 2015, Nelson Peltz, whose Trian Fund controlled 2.7% of DuPont’s

stock, waged an unsuccessful proxy campaign for four seats on the board of directors in an effort

to influence the company to split itself up into separate businesses.27 But within a year, DuPont




       24
           The Ultimate Guide to Shareholder Activism and Proxy Contests, IRWIN (last visited
Sept. 17, 2024).
       25
           Swati Goyal, Long-Term Returns of Dan Loeb’s Activist Targets, YAHOO FIN. (Aug. 22,
2023), https://yhoo.it/4gwcyuG; Nestle SA Shares Outstanding 2010-2023, MACROTRENDS,
https://bit.ly/3N9rilL (last visited Sept. 17, 2024).
       26
         Julie Jargon, Starboard Succeeds in Replacing Entire Darden Board, WALL. ST. J. (last
updated Oct. 10, 2024), https://on.wsj.com/3TxhQvL.
       27
         Tom Hals, DuPont wins board proxy fights against activist investor Peltz, REUTERS (May
13, 2015), https://reut.rs/3ZpswAn.

                                                29
Case 6:24-cv-00437-JDK          Document 50       Filed 01/16/25       Page 34 of 122 PageID #:
                                                254



had replaced its CEO and agreed to merge with Dow Chemical to create a conglomerate that would

be broken up into three companies.28

       92.     The power to influence a single company’s output or pricing decisions would

ordinarily pose only an insignificant risk to competition. In a properly functioning market, when

one company cuts output, its competitors will increase production in order to capture that new

market share. Every competitor will, in other words, vigorously compete to maximize its profits,

thereby making the output reduction of a single competitor unprofitable.

       93.     The dynamic changes when a single owner obtains a significant ownership

percentage of multiple competitors across a single market with only a handful of competitors.

When a shareholder is among the largest shareholders not only of nearly every major company in

an industry but also of the banks and investment firms that finance that industry, that shareholder

has the power to influence the entire industry. Quite simply, “[w]hen BlackRock Chairman Larry

Fink speaks, the investment world tends to listen.”29 Congress enacted Section 7 of the Clayton

Act to address the threat to competition that attends when such a single shareholder acquires

directly or indirectly the stock of multiple horizontal competitors.

       94.     Each Defendant’s ownership of the Coal Companies creates the sort of

anticompetitive arrangement that Section 7 forbids. Each Defendant’s substantial shareholdings

enable it to, among other things, (a) access sensitive business information, (b) coerce management

to adopt specific coal production targets, (c) force management to adopt disclosure policies that

would permit Defendants to monitor their compliance with those targets, (d) seek the appointment



       28
          Jeff Mordock, A wildly different DuPont a year after Peltz defeat, DEL. ONLINE (April
29, 2016), https://bit.ly/4e4xOWJ.
       29
         Anderson Lee & Hayden Higgins, 3 Ways BlackRock Can Do Better on Sustainable
Finance, WORLD RES. INST. (Mar. 3, 2022), https://bit.ly/3ZvcPHY.

                                                 30
Case 6:24-cv-00437-JDK          Document 50       Filed 01/16/25       Page 35 of 122 PageID #:
                                                255



or removal of members of the boards of directors of these companies to further Defendants’

production and disclosure goals, (e) present and obtain approval of shareholder proposals to reduce

coal production, and (f) otherwise influence corporate policies adopted by the firms in which

Defendants have acquired substantial common ownership stakes. Such practices limit competition

between the competing firms.

       95.     This power to influence management means that Defendants’ partial acquisitions

of the shares of these horizontal competitors in the coal industry pose a similar risk to competition

as an outright merger of those competing coal producers. When competing firms are effectively

brought under common control, those firms—though competitors in name—experience

significantly reduced incentives to compete against one another, especially when their common

shareholders are active in corporate governance and actively voting for changes in management.

       96.     The Justice Department and Federal Trade Commission’s 2010 and 2023 Merger

Guidelines, the federal courts, and leading antitrust scholars all agree that partial acquisitions of

stock across competing firms must satisfy the same legal standards as mergers and acquisitions of

those firms. See, e.g., DuPont, 353 U.S. at 586 (DuPont’s partial acquisition of a 23% interest in

General Motors in 1917-1919 violated Section 7 because of the incentive it created in 1949 for

General Motors to purchase finishes and fabrics from DuPont).30 Indeed, the 2023 Merger

Guidelines advise using the Herfindahl-Hirschman Index (“HHI”) to measure the effect of such

acquisitions on market concentration. See Merger Guidelines: U.S. Department of Justice and the

Federal Trade Commission at Guidelines 1 & 11 (Dec. 18, 2023), https://bit.ly/3BgNlE4 (“2023


       30
         See also Dan River, Inc. v. Unitex, Ltd., 624 F.2d 1216, 1225 (4th Cir. 1980) (20% block
“frequently is regarded as control”); Gulf & W. Indus., Inc. v. Great Atl. & Pac. Tea Co., 476 F.2d
687, 695–97 (2d Cir. 1973) (19% stock ownership sufficient to influence acquired firm’s policy);
Am. Crystal Sugar Co. v. Cuban-Am. Sugar Co., 259 F.2d 524, 526–28 (2d Cir. 1958)
(condemning 23% acquisition).

                                                 31
Case 6:24-cv-00437-JDK          Document 50       Filed 01/16/25        Page 36 of 122 PageID #:
                                                256



Merger Guidelines”). “To be sure, control or steps toward control or toward total ownership are

tested in the usual manner to see whether there is a reasonable probability of a substantial lessening

of competition,” while “[t]esting for the prohibited effect is much more subtle … when control is

neither attained nor contemplated.” DONALD F. TURNER & PHILLIP AREEDA, ANTITRUST LAW: AN

ANALYSIS OF ANTITRUST PRINCIPLES AND THEIR APPLICATION ¶1203a (1978). As set forth below,

Defendants have attained and exercised a degree of control over the Coal Companies that has been

more than sufficient for Defendants to set and enforce common policies that substantially reduce

competition across the entire coal industry.

       97.     Market concentration is ordinarily measured using the Herfindahl-Hirschman

Index. The HHI for a relevant market is calculated by squaring the percentage market shares of

each producer that sells the relevant product within the relevant geographic market and totaling

those figures. The post-acquisition HHI and the change in HHI—post-acquisition compared to

pre-acquisition—are used to determine whether an acquisition of shares is likely to significantly

restrain competition and therefore raises competitive concerns. An acquisition is presumed likely

to create or enhance market power—and is thus presumptively illegal—when the post-transaction

market’s HHI exceeds 1,800 and the transaction increased the HHI by more than 100 points. The

same structural presumption applies when a merger transaction or joint venture creates a firm with

a market share greater than 30% and a change in the HHI greater than 100 points.

       98.     HHI is typically applied to acquisitions that result in complete control, to what has

been described as “a special case of a ‘partial’ investment of 100 percent that gives the acquiring

firm complete control.”31 While the antitrust enforcers have made clear that partial acquisitions



       31
          Daniel P. O’Brien & Steven C. Salop, Competitive Effects of Partial Ownership:
Financial Interest and Corporate Control, 67 ANTITRUST L.J. 559, 563 (2000).

                                                 32
Case 6:24-cv-00437-JDK          Document 50      Filed 01/16/25       Page 37 of 122 PageID #:
                                               257



are subject to the same legal standard as any other acquisition,32 Defendants’ partial acquisitions

do not confer “complete control,” and will therefore require a more nuanced assessment of the

degree of control or influence that these partial owners exercise over management and how this

influence translates into competitive effects. Thus, unlike most merger analysis, a central part of

the analysis of partial ownership is an assessment of which owners have what type of control over

the corporation and how this control translates into management decisions. HHI thus offers a

rough approximation of the effect that substantial partial acquisitions have on markets.

       99.     SPRB Market Concentration. There are 12 mines currently operating in the SPRB.

In 2022, they produced a total of approximately 240 million tons of coal, representing 40.4% of

total U.S. coal production, 45.1% of U.S. thermal coal production, and 100% of U.S. SPRB coal

production.33 As measured by the HHI, and without accounting for the effects of Defendants’ stock

acquisitions, the SPRB market would have had a concentration of 2,360.6.

       100.    Defendants have acquired shares that represent between 30.43% and 34.19% of the

stock of the three companies that control six of these 12 mines. See below Table 2. These six

mines were responsible for approximately 63% of the SPRB coal produced in 2022.




       32
          2023 Merger Guidelines at 28; See also DuPont, 353 U.S. at 592 (“[A]ny acquisition by
one corporation of all or any part of the stock of another corporation, competitor or not, is within
the reach of [Section 7 of the Clayton Act] whenever the reasonable likelihood appears that the
acquisition will result in a restraint of commerce or in the creation of a monopoly of any line of
commerce.”).
       33
          The three mines operating in the NPRB were responsible for approximately 20 million
short tons of production. They are: 1) the Spring Creek mine, which is owned by Navajo
Transitional Energy Company, and produced 11.56 million short tons; 2) the Robsebud Mine,
which is owned by the Westmoreland Coal Company, and produced 6.97 million short tons; and
the Absaloka Mine, which is also owned by the Westmoreland Coal Company, and produced 1.8
million short tons. Both of these companies are privately held.

                                                33
Case 6:24-cv-00437-JDK            Document 50      Filed 01/16/25       Page 38 of 122 PageID #:
                                                 258



 Table 2: SPRB Coal Market Shares and HHI Calculations
 Mine/Parent Company           Defendants’ 2022 Output Percentage of HHI
                               Ownership   (million tons) SPRB Market Calculation
 Black Thunder Mine                 34.19%           62.2       27.8%           773
 Arch Coal
 Coal Creek Mine                    34.19%          3.834
 Arch Coal
 North Antelope Rochelle Mine       30.43%           60.4       34.8%          1212
 Peabody Energy
 Rawhide Mine                       30.43%           10.3
 Peabody Energy
 Caballo Mine                       30.43%           12.1
 Peabody Energy
 Wyodak Mine                        31.62%          3.535         1.5%             2
 Black Hills Mining
 Belle Ayr Mine                 Privately            14.3       12.4%           154
 Eagle Specialty Materials         Held
 Eagle Butte Mine               Privately            15.1
 Eagle Specialty Materials         Held
 Antelope Mine                  Privately            21.7       14.4%           207
 Navajo Transitional Energy        Held
 Company
 Cordero Rojo Mine              Privately            12.5
 Navajo Transitional Energy        Held
 Company
 Buckskin Mine                  Privately            18.2         7.6%            59
 Kiewit Corporation                Held
 Dry Fork Mine                  Privately           3.736         1.5%             2
 Western Fuels Association         Held
                      Total                        237.8         100%          2409

       101.       Were these three coal-producing firms formally to merge, create a joint venture, or

otherwise come under common control, it would result in a market concentration of approximately

4,524—an increase in the HHI of 2,115. Such a transaction would be presumptively unlawful. The




       34
            Arch Resources, Inc.: 2023 Annual Report at 15, ARCH (2023), https://bit.ly/4dbI5yQ.
       35
          Most recent data is for 2021. See Concise Guide to Wyoming Coal, WYO. MINING ASS’N
(2022), https://bit.ly/3BbWE8A.
       36
            Id.

                                                  34
Case 6:24-cv-00437-JDK          Document 50       Filed 01/16/25        Page 39 of 122 PageID #:
                                                259



market share of that firm or joint venture would also be 64%—far higher than the 30% required to

apply the structural presumption under the Merger Guidelines.

       102.    The effect on competition is no different when Defendants use their substantial

stock acquisitions to coordinate a reduction in the production of SPRB coal by these three firms.

And as demonstrated below, this is exactly what Defendants have used their shares to accomplish,

with precisely the effects on competition that the economic models undergirding the HHI would

predict.

       103.    Defendants’ reduction of competition is particularly acute because one of the

privately held coal producers in which Defendants have no ownership stake does not supply its

coal to the open market. The Dry Fork Mine is operated by a cooperative organization of power

plant owners known as the Western Fuels Association and is a vertically-integrated company that

has fully committed its SPRB production to supplying its own captive power plant.

       104.    The other three producers are Navajo Transitional Energy Company, LLC, Eagle

Specialty Materials, and Kiewit Corporation. These companies lack the financial resources and

the capacity to increase their output at sufficient scale to offset the decreased output by the coal

producers in which Defendants have an ownership stake.

       105.    The National Market for Thermal Coal. The Coal Companies are collectively

responsible for 240.8 million tons of the nation’s total output of 523.3 million tons of thermal coal,

or 46% of the national output. The HHI generated by these eight companies standing alone would

be 521.96.




                                                 35
Case 6:24-cv-00437-JDK          Document 50      Filed 01/16/25       Page 40 of 122 PageID #:
                                               260



 TABLE 3: Thermal Coal Market Shares
 2022 Mining Company              Defendants’ 2022 Output Percentage of HHI
 Rank                              Ownership (million tons) National
                                   Percentage                Market
 1    Peabody Energy                   30.43%          99.5      19.0% 295.84
 2    Arch Resources                   34.19%          70.6      13.5% 174.24
 7    NACCO Industries                 10.85%          28.9       5.5% 24.01
 8    CONSOL Energy                    28.97%          22.4       4.3% 16.81
 11   Alpha Metallurgical              29.70%           3.6              7.29
      Resources                                                   0.7%
 13   Vistra Energy                    24.93%           9.3       1.8%   2.56
 18   Hallador Energy                   8.30%           6.5       1.2%   1.21
                       37
 20   Warrior Met Coal                 31.62%             0         0%      0
                    Total                            240.8     46.00% 521.96


       106.      Were the Coal Companies to merge or form a joint venture, the combined firm

would yield an HHI for the thermal coal market of 2,116.0—an increase of 1,594. Such a

transaction would be presumptively unlawful. The market share of that firm or joint venture would

also be 46%—again far higher than the 30% required to apply the structural presumption.

       107.      The effect on competition is no different when Defendants use their substantial

stock acquisitions to control these eight firms and induce them to implement a common policy

concerning price or output. And as demonstrated below, that is exactly what Defendants have

used their shares to accomplish, with precisely the effects on competition that the economic models

undergirding the HHI would predict.

       108.      Defendants’ acquisition of substantial shares in the Coal Companies also

significantly increases the risk of coordination between the Coal Companies in each of the relevant

markets. As major shareholders in the dominant competitors in the relevant markets, Defendants

have direct access to the management of each of those competing firms and thus the ability to

transmit information across competitors. And Defendants in fact used that privileged access to


       37
            Warrior Met Coal produces only metallurgical coal.

                                                36
Case 6:24-cv-00437-JDK           Document 50      Filed 01/16/25       Page 41 of 122 PageID #:
                                                261



communicate their output reduction scheme to each of the Coal Companies and then to monitor

and police compliance with the scheme. By acquiring substantial partial interests in these

competitors in the coal industry, Defendants made collusion possible—a possibility that has in fact

been realized.

        109.     Defendants’ acquisitions of the stock of the Coal Companies also significantly

increases the risk of substantially lessening competition by diminishing the incentive for

management of those firms to compete to win market share from each other. It creates a contrary

incentive for management to maximize the aggregate profits of the entire industry—not of their

individual firms—and thus the overall profits of their common owners. As the academic literature

explains, when a shareholder owns stock in a single firm, maximizing the profits of that firm

maximizes the profits of that shareholder; but when that shareholder owns stock in all the firms

that compete in an industry, maximizing the profits of the entire industry maximizes the profits of

the shareholder.38 Thus, when management knows their firm is owned by so-called “horizontal

shareholders”—i.e., by shareholders who own shares in the competing firms across an industry—

management has an incentive to maximize the profits of the industry. In other words, the incentive

is to operate as a cartel.

        110.     For the same reasons, Defendants’ acquisitions and holding of the stock of the Coal

Companies significantly increases the risk that competition will be substantially lessened by

removing the incentives these firms would otherwise have to disrupt efforts by their competitors

to coordinate.




        38
          See, e.g., Einer Elhauge, Horizontal Shareholding, 129 HARV. L. REV. 1267, 1269
(2016); Fiona Scott Morton & Herbert Hovenkamp, Horizontal Shareholding and Antitrust Policy,
127 YALE L.J. 2026, 2031 (2018).

                                                 37
Case 6:24-cv-00437-JDK        Document 50      Filed 01/16/25      Page 42 of 122 PageID #:
                                             262



       111.   In addition, Defendants’ acquisitions and holding of the stock of the Coal

Companies significantly increase the risk that competition will be substantially lessened by

decreasing the incentive for management of those firms to compete with alternative fuel sources.

Defendants own substantial interests not only in domestic thermal coal producers but in

competitors to thermal coal like natural gas and alternative energy. Indeed, BlackRock alone has

invested $170 billion in U.S. energy companies—including oil and gas producers, alternative

energy producers, and pipeline operators.39 Vanguard, BlackRock, and State Street are the three

largest shareholders of Exxon Mobil, owning 988 million shares or 22% of the outstanding

shares40; of Chevron, 413 million shares, or 22.4%41; of Devon Energy, 170 million shares, or

27%;42 of First Solar, 29 million shares, or 27%43; and NextEra Energy, 454 million shares, or

22%.44 For each of these companies, Vanguard is the largest shareholder, followed closely by

BlackRock, with State Street coming in third.      These companies—and by extension their

shareholders, including Defendants—would all benefit from eliminating lower-cost alternative

energy sources. On that dimension, too, Defendants’ common ownership thus creates an incentive




       39
          Energy investing: Setting the record straight, BLACKROCK, https://bit.ly/4eu7Onw (last
visited Sept. 17, 2024).
       40
            Exxon Mobil Corporation Common Stock (XOM) Institutional Holdings, NASDAQ,
https://bit.ly/47CZVtG (last visited Sept. 17, 2024).
       41
             Chevron Corporation Common Stock (CVX) Institutional Holdings, NASDAQ,
https://bit.ly/3XKPAZf (last visited Sept. 17, 2024).
       42
            Devon Energy Corporation Common Stock (DVN) Institutional Holdings, NASDAQ,
https://bit.ly/4e68rUf (last visited Sept. 17, 2024).
       43
             First Solar, Inc. Common Stock (FSLR) Institutional Holdings, NASDAQ,
https://bit.ly/4gHO41F (last visited Sept. 17, 2024).
       44
             NextEra Energy, Inc. Common Stock (NEE) Institutional Holdings, NASDAQ,
https://bit.ly/4gqzFXp (last visited Sept. 17, 2024).

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Case 6:24-cv-00437-JDK           Document 50       Filed 01/16/25       Page 43 of 122 PageID #:
                                                 263



for the Coal Companies not to compete aggressively against more expensive alternative forms of

energy.

          112.   For all these reasons, it is likely that Defendants’ acquisitions of the stock of the

Coal Companies, standing alone, poses a risk to competition in the domestic coal markets sufficient

to warrant their prohibition under Section 7 of the Clayton Act. But as set forth below, this threat

to competition is not just hypothetical or merely probable—it has actually come to pass.

Defendants have, in fact, already used their shares, by proxy voting and otherwise, to bring about

the substantial lessening in competition in the domestic coal markets that Section 7 forbids. The

most compelling proof that Defendants’ acquisitions may substantially lessen competition, in other

words, is that Defendants’ acquisitions have already done so.

     DEFENDANTS AGREED TO A COMMON STRATEGY TO REDUCE OUTPUT

          113.   While common ownership of horizontal competitors poses an inherent threat to

competition, the Congress that enacted Section 7 of the Clayton Act recognized that, so long as

even a large shareholder remains passive and does not seek to use its shares to influence

management, then the threat that shareholder poses to competition remains hypothetical.

          114.   Section 7 accordingly does “not apply to persons purchasing such stock solely for

investment and not using the same by voting or otherwise to bring about, or in attempting to bring

about, the substantial lessening of competition.” 15 U.S.C. § 18. Should a shareholder abandon a

passive investment strategy, however, and seek to bring about a substantial lessening of

competition, then that shareholder no longer enjoys this safe harbor.

          115.   In 2021, Defendants each publicly announced their commitment to “[i]mplement a

stewardship and engagement strategy, with a clear escalation and voting policy, that is consistent

with our ambition for all assets under management to achieve net zero emissions by 2050 or


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Case 6:24-cv-00437-JDK          Document 50      Filed 01/16/25       Page 44 of 122 PageID #:
                                               264



sooner.”45 The organization that Defendants joined made clear that for assets to be in line with net

zero, they must align with the International Energy Agency Roadmap to Net Zero,46 which required

the CO2 emissions from coal to drop over 58% between 2020 and 2030.47 Given that there is no

realistic path for a coal company to cut coal emissions other than by cutting production, Defendants

announced their intent to adopt a strategy consistent with net zero and “with a clear escalation and

voting policy” to push the coal companies in their portfolio to cut output by more than half by

2030. BlackRock and State Street also joined Climate Action 100+, which expressly stated its view

that “the IEA’s NZE requir[es] a reduction of 50% in thermal coal production by 2030 versus

2021.”48 There are few, if any, acts likelier to substantially lessen competition than an industry-

wide output reduction scheme organized and policed by shareholders with the ability to monitor

compliance and the power to discipline the management of any individual company that deviates

from the restrictions Defendants set.

       116.    Defendants BlackRock, State Street, and Vanguard announced their common

commitment to this scheme by joining the Net Zero Asset Managers Initiative; Defendants

BlackRock and State Street further committed themselves to achieving these aims by becoming

signatories to Climate Action 100+. Defendants’ open participation in these initiatives provides

substantial evidence of a horizontal agreement among Defendants to use their common ownership



       45
         The Net Zero Asset Managers Commitment, NET ZERO ASSET MANAGERS INITIATIVE (last
visited Nov. 20, 2024), https://bit.ly/40QKYTn.
       46
          Net Zero Asset Managers initiative: Network Partner’s expectation of signatories with
regard to fossil fuel investment policy, NET ZERO ASSET MANAGERS INITIATIVE (last visited Nov.
20, 2024), https://bit.ly/4gqJOmN.
       47
        Net Zero by 2050: A Roadmap for the Global Energy Sector at 199 tbl. A.4, INT’L
ENERGY AGENCY (2021), https://bit.ly/3UZLCtU.
       48
          Investor Expectations for Diversified Mining at 37, CLIMATE ACTION 100+ (last visited
Nov. 20, 2024), https://bit.ly/3zqi1SR.

                                                40
Case 6:24-cv-00437-JDK              Document 50      Filed 01/16/25      Page 45 of 122 PageID #:
                                                   265



of the Coal Companies to set and enforce output restrictions on coal that have impacted the entire

industry.

                   Climate Action 100+ Presents Compelling Evidence of
         Defendants’ Agreement to Seek Coordinated Reductions in Coal Production

         117.       Climate Action 100+ (“CA 100+”) is “an unprecedented global investor

engagement initiative” that targets companies in the energy industry and other sectors to ensure

they “take necessary action on climate change.”49 Signatories to CA 100+ commit to influencing

corporate policies and ensuring that firms: (1) “[t]ake action to reduce greenhouse gas emissions

across the value chain in line with the overarching goals of the Paris Agreement”; (2) “[i]mplement

a strong governance framework which clearly articulates the board’s accountability and oversight

of climate change risks and opportunities”; and, (3) monitor compliance with carbon output

reduction targets by “[p]rovid[ing] enhanced corporate disclosure in line with the

recommendations of the Task Force on Climate-related Financial Disclosures (TCFD).”50

         118.       CA 100+ has not been vague or evasive about its intentions for the coal industry.

As explained in CA 100+’s “Investor Expectations for Diversified Mining,” “[a]s the most

emission-intensive fossil fuel, [coal’s] reduction is prioritised in climate modelling with the IEA’s

NZE requiring a reduction of 50% in thermal coal production by 2030 versus 2021, and 91% by

2050.”51 These benchmark reductions are aligned with limiting global temperature increases to

1.5⁰C.




         49
         Black Rock Joins Clime Action 100+ to Ensure Largest Corporate Emitters Act on
Climate Crisis, CLIMATE ACTION 100+ (Jan. 9, 2020), https://bit.ly/4gEGPaG.
         50
              Id.
         51
              Investor Expectations for Diversified Mining, supra, n.48 at 37.

                                                   41
Case 6:24-cv-00437-JDK           Document 50       Filed 01/16/25      Page 46 of 122 PageID #:
                                                 266



       119.      CA 100+ and its members openly committed to working together to induce these

dramatic reductions in the production of coal. CA 100+ established “alignment metrics” that set

specific target reductions for coal production. These metrics require medium term reductions in

thermal coal production of 50% between 2021 and 2030, Alignment Metric 5.v.e, and 91%

between 2021 and 2050, Alignment metric 5.v.d.52

       120.      CA 100+ candidly admitted that its members were not going to reach their

“decarbonization” goal without reducing coal production—especially the production of thermal

coal—by the mining industry: “[T]he mining sector and its value chains will also need to

decarbonise. For some commodities, this means reducing production. In net zero scenarios, coal

production declines towards zero, with thermal coal declining faster than metallurgical coal.”53

Anne Simpson, CA 100+’s investor representative for North America explained in 2021, “[w]e’re

not going to get to net zero by just bringing down the supply of oil, gas and coal.”54 Bringing down

the supply is the sine qua non of the CA 100+ agenda.

       121.      CA100+ members agreed to work with the coal companies in which they had

invested to obtain commitments to disclose their “planned thermal coal production factored into

its short, medium, and long-term targets (expressed in unit Mt or TJ) and either a % or absolute

change from a stated base year value.”55




       52
           Investor Expectations for Diversified Mining at 38, CLIMATE ACTION 100+ (Oct. 2023),
https://bit.ly/4eqKE1b.
       53
           Investor Expectations for Diversified Mining at 2, CLIMATE ACTION 100+ (Sept. 2023),
https://bit.ly/3zqi1SR.
       54
          To Drive Meaningful Corporate Decarbonisation, CLIMATE ACTION 100+ (Oct. 27,
2021), https://bit.ly/47xgPdd (emphasis added).
       55
            Investor Expectations for Diversified Mining, supra, n.48 at 38.

                                                 42
Case 6:24-cv-00437-JDK           Document 50     Filed 01/16/25       Page 47 of 122 PageID #:
                                               267



       122.      CA 100+ members agreed to work to obtain commitments from the companies in

which they have acquired shares to disclose their Scope 3, category 11 emissions.56 In the case of

thermal coal, disclosures of Scope 3, category 11 emissions would reflect the total lifetime carbon

emissions that would be generated by the consumption of that coal.57 When a company knows the

total lifetime carbon emissions that the thermal coal a company plans to produce will cause, it

knows the total amount of thermal coal that competitor is planning to produce. These disclosures

would thus alert a company’s competitors to the company’s future production targets and enable

Defendants and the companies’ competitors to police the disclosing company’s ongoing

compliance with those targets.

       123.      CA 100+ members agreed to use their shareholdings to pressure companies to meet

these “decarbonization” goals. Mindy Lubber, CA 100+’s investor network representative for

North America detailed how CA 100+ members will identify leading competitors in an industry,

with the expectation that other competing firms will follow suit and follow the same practices:

“Fundamentally companies compete, and when one company in a sector takes action, the others

usually follow.”58

       124.      Resistance by management was futile because, as Ms. Lubbers continued, “[i]f

companies aren’t willing or able to respond to the challenge of moving towards a net zero

transition, we will look for new leadership. … There may be board directors who don’t feel

compelled or have the expertise to get this transition done – but they must then make way for those




       56
            Id. at 37.
       57
          As applied to thermal coal, Scope 3, Category 11 emissions reflect the emissions that
result when that fuel is consumed in a power plant. See Category 11: Use of Sold Products, GHG
PROTOCOL, https://bit.ly/3XybmOu.
       58
            To Drive Meaningful Corporate Decarbonisation, supra, n.54.

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Case 6:24-cv-00437-JDK           Document 50      Filed 01/16/25      Page 48 of 122 PageID #:
                                                268



that do. This is concentering [sic] minds in boardrooms and across the investor community and is

a new, welcome dynamic to engagement and stewardship.”59

       125.       CA 100+ provided its signatories with a roadmap for using their shareholdings in

coal producers to influence corporate governance at each of these firms to ensure that each of these

companies would simultaneously be reducing their output of coal to achieve the same level of

output reduction and would report on their ongoing compliance with these targets to their common

shareholders. CA 100+ signatories were agreeing, in effect, to organize and police an output

reduction cartel, to play the role of the hub in a hub-and-spoke reduction arrangement.

       126.       In 2020, Defendant BlackRock and Defendant State Street became signatories to

Climate Action 100+ (“CA 100+”).

       127.       Defendant BlackRock became a signatory of CA 100+ on January 9, 2020.60

       128.       Defendant State Street announced that it had joined CA 100+ on November 30,

2020, formally committing itself to the initiative’s central goals of “improving governance of

climate change, reducing emissions, and strengthening climate-related disclosure.”61 State Street

simultaneously announced that it would continue to advocate for those goals “through company

engagement[], [State Street’s] thought leadership, and proxy voting.”62




       59
            Id.
       60
            Id.
       61
          Insights: Why We’re Joining Climate Action 100+, STATE ST. GLOB. ADVISORS (Nov. 30,
2020), https://bit.ly/3MUJuz9.
       62
            Id.

                                                 44
Case 6:24-cv-00437-JDK             Document 50      Filed 01/16/25      Page 49 of 122 PageID #:
                                                  269



    Defendants’ Participation in the Net Zero Asset Managers Initiative is Compelling
 Evidence of Defendants’ Agreement to Seek Coordinated Reductions in Coal Production
        129.       In 2021, BlackRock, Vanguard, and State Street also became signatories to the Net

Zero Asset Managers Initiative.

        130.       Signatories to the Net Zero Asset Managers Initiative committed to achieving the

same goals that the signatories to CA 100+ agreed to pursue—namely net zero greenhouse gas

emissions by 2050 and achieving “decarbonisation goals” consistent with reaching net zero

emissions by 2050 (or sooner) across all assets under management.63

        131.       As with CA 100+, signatories to the Net Zero Asset Managers Initiative commit to

setting interim reduction targets to be achieved by 2030. These targets are to be consistent with

limiting global warming to 1.5⁰C by 2050 and embrace the same International Energy Agency

Roadmap to Net Zero that is the basis for the 2030 and 2050 reduction targets discussed above.64

The signatories to the Net Zero Asset Managers Initiative specifically commit to phasing out coal

investments: “Notably, this includes immediately ceasing all financial or other support to coal

companies* [sic] that are building new coal infrastructure or investing in new or additional thermal

coal expansion, mining, production, utilization (i.e., combustion), retrofitting, or acquiring of coal

assets.”65




        63
          The Net Zero Asset Managers Commitment, THE NET ZERO ASSET MANAGERS
INITIATIVE, https://bit.ly/47vQcFi (last visited Sept. 17, 2024).
        64
            Net Zero Asset Managers initiative: Network Partner’s expectation of signatories with
regard to fossil fuel investment policy, THE NET ZERO ASSET MANAGERS INITIATIVE,
https://bit.ly/4gqJOmN (last visited Sept. 17, 2024)
        65
             Id.

                                                  45
Case 6:24-cv-00437-JDK           Document 50      Filed 01/16/25      Page 50 of 122 PageID #:
                                                270



                                             BlackRock

       132.       On March 29, 2021, Defendant BlackRock became a signatory to the Net Zero

Asset Managers Initiative (“NZAM”).66

       133.       As part of its commitment to NZAM, BlackRock published its initial target

disclosure on May 1, 2022.67 That disclosure revealed that BlackRock had committed to manage

77% of its $7.3 trillion of assets under management in compliance with its commitment to NZAM,

and anticipated that “at least 75% of BlackRock corporate and sovereign assets managed on behalf

of clients [would] be invested in issuers with science-based targets or equivalent.”68

       134.       BlackRock further explained that it “expect[ed] to remain long-term investors in

carbon-intensive sectors like traditional energy,” and had adopted a strategy of “engag[ing] with

companies.” 69 In 2020, it first focused on 440 public companies that contributed 60% of Scope 1

and Scope 2 greenhouse gas emissions,70 and then, in 2021, it expanded that universe to 1,000

carbon-intensive public companies responsible for 90% of those emissions.

       135.       After joining NZAM, Defendant BlackRock, acting through the subsidiaries,

affiliates, and investment trusts it manages and over which it exercises control, acquired even more

shares in, and greater influence over, the Coal Companies.


       66
          BlackRock, THE NET ZERO ASSET MANAGERS INITIATIVE, https://bit.ly/3ZtnBOU (last
visited Sept. 17, 2024)
       67
            Id.
       68
            Id.
       69
            Id.
       70
          Scope 1 emissions are direct greenhouse emissions that occur from sources that are
controlled or owned by an organization (e.g., emissions associated with fuel combustion in boilers,
furnaces, vehicles). Scope 2 emissions are indirect greenhouse gas emissions associated with the
purchase of electricity, steam, heat, or cooling. Although Scope 2 emissions physically occur at
the generation facility where the power is generated, they are accounted for in the greenhouse gas
emissions inventory of the organization that ultimately uses that power.

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Case 6:24-cv-00437-JDK           Document 50      Filed 01/16/25       Page 51 of 122 PageID #:
                                                271



       136.       Defendant BlackRock was not reluctant to use that growing influence. It further

announced that it would discipline management that failed to satisfy its demands, both when voting

on shareholder proposals and by voting to remove management: “[w]here we do not see enough

progress for these issuers, and in particular where we see a lack of alignment combined with a lack

of engagement, we may not support management in our voting for the holdings our clients have in

index portfolios, and we will also flag these holdings for targeted review and engagement in our

discretionary active portfolios where we believe they may present a risk to performance.”71

BlackRock also helped lead a “workstream on Managed Phaseout of High-emitting Assets” that

called for the “early retirement of high-emitting assets” such as coal mines.72

                                             Vanguard

       137.       Defendant Vanguard became a signatory to the Net Zero Asset Managers Initiative

on March 29, 2021.73

       138.       In December 2021, Vanguard published a report outlining its “expectations for

companies with significant coal exposure.”74 The report stated that “shareholder proponents have

used the proxy voting system to,” among other things, “ask companies to shutter or divest their

coal assets, or persuade financial institutions to stop providing financial services to the thermal

coal industry and the entities that extract thermal coal from the ground.” 75




       71
            BlackRock, supra, n. 66.
       72
        The Managed Phaseout of High-Emitting Assets at 2, 10, GLASGOW FIN. ALL. FOR NET
ZERO (2022), https://bit.ly/3AReMEI.
       73
             Vanguard, THE NET ZERO ASSET MANAGERS INITIATIVE (Dec. 4, 2022),
https://bit.ly/3ZvO3ro.
       74
          Vanguard Investment Stewardship Insights: Vanguard’s expectations for companies with
significant coal exposure at 1, VANGUARD (Dec. 2021), https://bit.ly/3TzJ9Wr.
       75
            Id.

                                                 47
Case 6:24-cv-00437-JDK           Document 50      Filed 01/16/25      Page 52 of 122 PageID #:
                                                272



       139.       “Vanguard’s Investment Stewardship team,” the report continued, “has engaged

with companies in carbon-intensive industries, and their boards, over the last several years and has

discussed,” among other things, “shifts in supply and demand…,”76 and seeking to “understand

how companies set targets in alignment with these goals” of the Paris Agreement and the Glasgow

Climate Pact.77 Specifically, Vanguard sought “clear disclosures” from management of firms in

the coal industry, including an “[e]xplanation of how thermal coal remains relevant for a

company’s customer base and the market it serves over 10, 20, and 30, years.”78

       140.       Defendant Vanguard also announced that it would require “[e]ffective

disclosure[s]” by those firms operating in the thermal coal industry of their compliance with these

targets “to allow the market to accurately price securities.”79

       141.       Defendant Vanguard also announced that it would discipline management that

failed to meet its demands, both when voting on shareholder proposals and by voting “against

directors who, in our assessment, have failed to effectively identify, monitor, and manage material

risks and business practices that fall under their purview based on committee responsibilities.”80

       142.       As part of its commitment to the Net Zero Asset Managers Initiative, Defendant

Vanguard published its initial target disclosure on May 1, 2022.81 The disclosure revealed that

Vanguard had committed to managing $290 billion of its assets in line with net zero targets and

had established a target of having each of its investment strategies have at least 50% of its market



       76
            Id. at 2.
       77
            Id.
       78
            Id. at 2–3.
       79
            Id. at 3.
       80
            Id. at 4.
       81
            Vanguard, supra, n.73.

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Case 6:24-cv-00437-JDK            Document 50     Filed 01/16/25      Page 53 of 122 PageID #:
                                                273



value invested in companies with targets that are consistent with a net zero glidepath by 2030.

Defendant Vanguard stated that it had committed to “meaningful engagement with portfolio

companies on climate risk across both [its] actively managed and index-based products …” and

that its “investment stewardship team will continue to engage with companies about their

commitments” to meet emission reduction goals.82

                                            State Street

       143.       Defendant State Street became a signatory to the Net Zero Asset Managers

Initiative on April 20, 2021.83

       144.       As part of its commitment to the Net Zero Asset Managers Initiative, Defendant

State Street published its commitment statement and initial target disclosure on May 1, 2022.84

The Commitment Statement pledged State Street to obtaining a 50% reduction in financed Scope

1 and 2 carbon emissions (i.e., emissions for which a firm is directly and indirectly responsible)

intensity by 2030 from the companies in which it invests, relative to their 2019 baseline, and “90%

of financed emissions in carbon-intensive industries in the client portfolios in our Net Zero Target

Assets… to be coming from companies [that are] achieving net zero, []aligned to net zero or [are]

subject to engagement and stewardship actions.”85




       82
            Id.
       83
              State Street Global Advisors, NET ZERO ASSET MANAGERS INITIATIVE,
https://bit.ly/3Zu3bFz (last visited Sept. 18, 2024).
       84
            Id.
       85
            Id.

                                                49
Case 6:24-cv-00437-JDK           Document 50      Filed 01/16/25      Page 54 of 122 PageID #:
                                                274



       145.      State Street announced, as its specific “[p]olicy on coal and other fossil fuel

investments,” that it “believe[s] engagement and stewardship efforts to be the most effective tool

to achieve long-term progress on energy transition.”86

       146.      On April 11, 2022, State Street’s EMEA Head of Investment Strategy & Research,

and Carlo Maximilian Funk, EMEA Head of ESG Investment Strategy, published on the State

Street website a statement on “Index and Active for Climate Investing,” describing the strategies

used by State Street’s active and index managers to achieve reductions in hydrocarbon output.

       147.      State Street’s index fund managers, on the one hand, leverage their long-term

relationships to engage with management to achieve emissions reductions by those firms whose

shares are held by those index funds: “Index managers, by their nature, are providers of long-term

capital and have been shareholders in some companies for decades. Given their size and long

investment horizon, index managers are uniquely positioned to engage with companies on their

transition to Net Zero.”87

       148.      State Street’s active managers, on the other hand, eschew divestment, on the

grounds that this strategy would “shelter companies from being positively influenced by

shareholders in the context of climate change.”:

                 Fundamentally, we believe divestment is not sufficient to create
                 genuine climate impact by itself. With divestment, investors lose
                 their impact to bring about positive and lasting change via voting
                 and engagement. Instead, companies can be bought by investors
                 who lack a clear climate strategy, or they can go into the hands of
                 private owners with no market scrutiny. Fear of large-scale
                 divestment from institutional investors and other public market
                 participants could lead companies to spin off their high-emitting


       86
            State Street Global Advisors, NET ZERO ASSET MANAGERS INITIATIVE, (Jan. 26, 2024),
https://bit.ly/3XFbTOP.
       87
            Index and Active for Climate Investing, SSGA (Apr. 11, 2022), https://bit.ly/3MQzwig.

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Case 6:24-cv-00437-JDK             Document 50       Filed 01/16/25       Page 55 of 122 PageID #:
                                                   275



                   divisions or go private (a practice we refer to as ‘brown spinning’).
                   This concerns us because the ultimate effect in some cases could be
                   to shelter companies from being positively influenced by
                   shareholders in the context of climate change. Divestment is also a
                   point-in-time approach that usually does not account for the
                   direction of development.88
        149.       Instead, State Street’s active fund managers elected to pursue a strategy of engaging

with management to achieve reduction targets, as “[n]umerous academic studies find that

engagement is a more effective strategy than divestment. For investors who are interested in

realizing climate-related outcomes through stewardship activity, both index and active managers’

asset stewardship programs can provide an avenue for influence with companies across countries

and sectors.”89 For example, State Street used engagement to urge HSBC to “align its financing

activities with the Paris agreement,” and HSBC agreed to “phase out financing of coal-fired power

and thermal coal mining”90 in order to avoid a “shareholder revolt.”91

        150.       By the end of 2021, therefore, Defendants had committed to a common strategy of

“engaging” with management of competing firms in the coal industry to obtain their commitment

to reduce carbon emissions substantially and requiring those firms to disclose their compliance

with those commitments.          Because achievement of these emissions targets could only be

accomplished through reductions in coal production, Defendants were effectively demanding

reductions in output, as confirmed by Vanguard’s strategy of “ask[ing] companies to shutter or

divest their coal assets.” 92


        88
             Id.
        89
             Id.
        90
             Stewardship Activity Report, 7, STATE ST. (2021), https://bit.ly/3ADSV3K.
        91
          Dan Ennis, State Street Doubles Down on ESG Pledge, While HSBC’s Comes under
Scrutiny, BANKINGDIVE (last updated Mar. 11, 2021), https://bit.ly/3V4jnui.
        92
             Vanguard Investment Stewardship Insights, supra, n.74 at 1.

                                                    51
Case 6:24-cv-00437-JDK          Document 50      Filed 01/16/25       Page 56 of 122 PageID #:
                                               276



       151.    On December 7, 2022, Vanguard announced that it had “decided to withdraw from

NZAM so that we can provide the clarity our investors desire about the role of index funds and

about how we think about material risks, including climate-related risks—and to make clear that

Vanguard speaks independently on matters of importance to our investors.”93               Vanguard

nevertheless committed to “continu[ing] to interact with companies held by Vanguard funds to

understand how they address material risks, including climate risk, in the interests of long-term

investors” and to “publicly report[ing] on our efforts with respect to climate risk, grounded in our

deep commitment to our investors and their financial well-being.” Id.

              DEFENDANTS HAVE USED THE STOCK THEY ACQUIRED
                  TO SUBSTANTIALLY REDUCE COMPETITION
                      IN THE RELEVANT COAL MARKETS

       152.    As their commitments to Climate Action 100+ and the Net Zero Asset Managers

Initiative make clear, Defendants did not acquire and have not used these shares solely for passive

investment purposes. Defendants openly committed to wielding the substantial power of the

shares they control to recalibrate carbon production and competition to reduce overall coal

production and thereby increase market-wide profits above competitive levels. Defendants have

used their shares—by engagement, by proxy voting, and otherwise—to bring about a lessening in

carbon emissions by reducing the output of SPRB, thermal, and metallurgical coal. These efforts

have imposed a significant restraint on competition in domestic coal markets.




       93
        An update on Vanguard’s engagement with the Net Zero Asset Managers initiative
(NZAM), VANGUARD (Dec. 7, 2022), https://bit.ly/3XMIOlJ.

                                                52
Case 6:24-cv-00437-JDK               Document 50     Filed 01/16/25   Page 57 of 122 PageID #:
                                                   277



       153.      Although Defendants are not majority shareholders in these firms, such “large

minority shareholders … have more influence than their formal, minority, equity share.”94 These

“passive investors are not passive owners but they engage in active discussions with companies’

board and management, with a view to influence the companies’ long-term strategy.”95 They can

achieve this because “large shareholders have a privileged access to the companies’ management

and can, therefore, share their views and have the opportunity to shape the companies’

management’s incentives accordingly.”96

       154.      As the public statements by each of Defendants demonstrate, Defendants have

leveraged the stock they acquired in the Coal Companies to engage with management behind

closed doors and bring about a policy of reducing coal production, the effect of which may be—

indeed, has been—substantially to lessen competition in domestic coal markets. Below are some

examples for each Defendant—first of public statements, then of concrete actions to enforce

Defendants’ output-reduction agreement.

                                     Vanguard’s Public Statements

       155.      In a letter sent to board members of Vanguard funds’ largest portfolio holdings,

Vanguard’s then-chairman and chief executive, F. William McNabb III, stated that Vanguard seeks

active interactions with firms in which Vanguard acquires shares: “In the past, some have




       94
          Annex 5 to the Commission Decision, Assessment of the Effects of Common
Shareholding on Market Shares and Concentration Measures at 7, § 3 in MERGER PROCEDURE
REGULATION (EC) 139/2004, EUROPEAN COMM’N (Mar. 27, 2017).
       95
            Id. at 7, § 3, ¶ 19.
       96
            Id. at 7, § 3.1, ¶ 21.

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Case 6:24-cv-00437-JDK          Document 50       Filed 01/16/25        Page 58 of 122 PageID #:
                                                278



mistakenly assumed that our predominantly passive management style suggests a passive attitude

with respect to corporate governance. Nothing could be further from the truth.”97

       156.     Glenn H. Booraem, controller of the Vanguard Group’s funds and a Vanguard

principal, explained that “[w]e believe that engagement is where the action is. We have found

through hundreds of direct discussions every year that we are frequently able to accomplish as

much—or more—through dialogue as we are through voting. Importantly, through engagement,

we are able to put issues on the table for discussion that aren’t on the proxy ballot. We believe that

our active engagement on all manner of issues demonstrates that passive investors don’t need to

be passive owners. [...] The bottom line is that we believe that the vast majority of boards and

management teams are appropriately focused on the same long-term value objectives as we are.”98

       157.     Vanguard has disclosed that, in 2021, it engaged with management at Arch

Resources and Vistra Corp.99 Vanguard also disclosed, as an example of its engagements with

management of coal producing companies, the specific details of its engagement with the Indian

conglomerate Adani Group concerning its development of the Carmichael Coal Mine in

Queensland, Australia. Vanguard reported that it had obtained assurances from “company leaders”

that they “expected to reduce the company’s exposure to thermal coal,” and Vanguard also

informed management that it “plan[ned] to monitor developments at the company as it begins




       97
           Letter from F. William McNabb III, Vanguard’s Chairman and CEO, to the independent
leaders of the boards of directors of the Vanguard funds’ largest portfolio holdings (Feb. 27, 2015),
https://bit.ly/4gxYeBB.
       98
              Passive investors,    not    passive    owners,    VANGUARD       (June   20,    2013),
https://bit.ly/3TAdSCC.
       99
            Investment Stewardship: 2021 Annual Report, VANGUARD (2021), https://bit.ly/4gorIlz.

                                                 54
Case 6:24-cv-00437-JDK           Document 50     Filed 01/16/25      Page 59 of 122 PageID #:
                                               279



exporting coal from the Carmichael mine” and “to engage with company leaders to gauge the

progress it makes on its energy transition plans ….”100

       158.      Defendant Vanguard has disclosed that, in 2022, it engaged with management at

CONSOL Energy.101 In the same year, Vanguard also disclosed, as an example of its engagements

with management of coal producing companies, the specific details of its engagements with two

South African coal mining companies, Exxaro Resources and Thungela Resources. Although

“both companies expressed confidence in the strong fundamentals of coal demand over the next

10 to 15 years as well as a determination to generate value from the favorable commodity price

cycle to create value for shareholders,” Vanguard nevertheless sought to “understand the actions

that boards take to identify, understand, and mitigate material risks related to the expected

transition away from thermal coal in order to support the long term value of Vanguard-advised

funds’ investments in these companies.”102 Vanguard further “encouraged closer alignment of

climate related disclosures with the TCFD recommendations to enhance consistency and

comparability of both companies’ reporting. Exxaro stated it would review its climate reporting

during 2023. Thungela had previously committed to issuing a fully compliant TCFD report in

2023.”103

       159.      The TCFD identifies “core elements of recommended climate-related financial

disclosures” across the four categories or pillars of governance, strategy, risk management, and




       100
             Id. at 36.
       101
             Investment Stewardship: 2022 Annual Report, VANGUARD (2022), https://bit.ly/4gorIlz.
       102
             Id. at 31.
       103
             Id. at 31.

                                                55
Case 6:24-cv-00437-JDK          Document 50      Filed 01/16/25       Page 60 of 122 PageID #:
                                               280



metrics and targets, with the most central being metrics and targets.104 The TCFD’s

recommendations for disclosure include “the targets used by the [reporting entity] to manage

climate-related risks and opportunities and performance against targets.”105

       160.     Vanguard has disclosed that, in 2023, it engaged with management at Alpha

Metallurgical Resources.106

                                BlackRock’s Public Statements

       161.     BlackRock’s chairman and chief executive Larry Fink confirmed that “[w]e are an

active voice, we work with companies, but we need to work for the long-term interest[.]”107

BlackRock’s head of Asia Pacific corporate governance and responsible investment, Pru Bennett,

likewise acknowledged that “[w]e actively engage, we vote all our proxies. We’re not just voting

but have a lot of engagement with companies[.]”108

       162.     BlackRock engages in the same sort of behind-the-scenes effort as does Vanguard

to force companies to “adjust their approach” to fit with the goal of reducing coal production.

Indeed, Blackrock “typically only vote[s] against management when direct engagement has

failed.”109 This “engagement encompasses a range of activities from brief conversations to a series


       104
           Final Report: Recommendations of the Task Force on Climate-related Financial
Disclosures at v, TCFD (2017), https://bit.ly/3Zh6HCS (cleaned up).
       105
          Implementing the Recommendations of the Task Force on Climate-Related Financial
Disclosures at 15, TCFD (2021), https://bit.ly/4eNpCK4 (emphasis added).
       106
             Quarterly Engagement Report, VANGUARD (2023), https://bit.ly/3B6ISUx.
       107
            David Benoit, BlackRock’s Larry Fink: typical activists are too short-term, WALL. ST.
J. (Jan. 16, 2014), https://bit.ly/3ZspRGc.
       108
         Vanessa Desloires, BlackRock, Vanguard, State Street are not passive on corporate
governance, SYDNEY MORNING HERALD (Nov. 1, 2016), https://bit.ly/3Xzl1Eu.
       109
         Fiona M. Scott Morton, Horizontal Shareholding: A Summary of the Argument,
COMPETITION POL’Y INT’L ANTITRUST CHRON. (Jan. 2018) (alteration in original),


                                                56
Case 6:24-cv-00437-JDK            Document 50      Filed 01/16/25      Page 61 of 122 PageID #:
                                                 281



of one-on-one meetings with companies.”110 “When [BlackRock] engage[s] successfully and

companies adjust their approach, most observers are never aware of that engagement.”111

                                   State Street’s Public Statements

       163.        State Street also uses the substantial shares it has acquired to gain access to

management and uses the threat of voting against management to gain “sufficient leverage” to

ensure that its views “are given due consideration.”112 As State Street Global Advisors’ head of

corporate governance, Rakhi Kumar, has stated, “Our size, experience and long-term outlook

provide us with corporate access and allow us to establish and maintain an open and constructive

dialogue with company management and boards. The option of exercising our substantial voting

rights in opposition to management provides us with sufficient leverage and ensures our views and

client interests are given due consideration.”113

       164.        State Street Global Advisors’ president and CEO, Ronald P. O’Hanley, agreed with

the conclusions of a 2016 study that “investors’ interests are unquestionably being represented

aggressively by passive fund[s] [… and that] long-term ownership requirement actually enhances

influence and perspective.”114 He further explained the means through which such influence is

achieved: “The most effective way to create meaningful change is to build a thoughtful



https://bit.ly/44ZkVsR (quoting text from the Blackrock website in 2013); see also Jose Azar et
al., Anti-Competitive Effects of Common Ownership, 72 J. FIN. 1, 36 (2018) (noting that unless
direct engagement fails, Blackrock generally does not vote against management).
       110
             Id.
       111
             Id.
       112
             Mike Scott, Passive investment, active ownership, FIN. TIMES (Apr. 6, 2014),
https://on.ft.com/4esBpxp.
       113
             Id.
       114
         Ronald P. O’Hanley, Passive managers take to shareholder activism, PENSIONS &
INVESTMENTS (Mar. 7, 2016), https://bit.ly/4gtt1j6.

                                                    57
Case 6:24-cv-00437-JDK             Document 50      Filed 01/16/25       Page 62 of 122 PageID #:
                                                  282



engagement program with a focus on sector, thematic or market-specific issues that can scale

across multiple companies… [h]owever, they must also be prepared to use their voting power to

reinforce value priorities with clearly articulated rationales if engagement falls short.”115

        165.        State Street has also used its voting powers in line with its former CA 100+

commitment and current NZAM commitment. In 2023, State Street voted for a proposal pushing

commodity and mining company Glencore to clarify how its coal holdings align with the Paris

Agreement.116 It also has tried to force net-zero in underwriting and financing, which would

prevent the Coal Companies from expanding their output, such as by voting for a 2023 proposal

asking Berkshire Hathaway to disclose a plan to reduce its GHG emissions of “its underwriting,

insuring, and investment activities” to align with net zero.117

        166.        Like BlackRock, State Street’s CEO has threatened other CEOs with voting action

if their companies fail to align with ESG, stating that “a company’s ESG score will soon effectively

be as important as its credit rating” and that State Street will “take appropriate voting action against

board members” that are ESG “laggards based on their R-Factor scores and that cannot articulate

how they plan to improve their score.”118 The “R-factor” is a “unique ESG score[]” generated by

State Street.119 Coal companies are obvious candidates to be classified as “ESG Laggards” or

“Underperformers” given the general incompatibility of coal with net-zero objectives.




        115
              Id.
        116
             See Notice of the 2023 Annual General Meeting at 15, GLENCORE (May 3, 2023),
https://bit.ly/3Oh2fgP.
        117
          Proxy Statement to Section 14(a) of the Securities Exchange Act of 1934 at 15–16, SEC
(May 6, 2023), https://bit.ly/40UEhj6.
        118
             CEO’s Letter on our 2020 Proxy Agenda, STATE ST. GLOB. ADVISORS (Jan. 28, 2020),
https://bit.ly/40XxDbY (emphasis omitted).
        119
              Id.

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Case 6:24-cv-00437-JDK          Document 50       Filed 01/16/25     Page 63 of 122 PageID #:
                                                283



               BlackRock’s Actions to Enforce the Carbon Output Restrictions

       167.    BlackRock has used the power conferred by its substantial shareholdings to

influence and to coerce management at each of the Coal Companies to reduce their output of

carbon and, by extension, of coal. BlackRock’s substantial shareholdings give it access to

corporate boards and an ability to “engage” with management that ordinary shareholders simply

do not possess. And should the velvet glove of engagement fail, the iron fist emerges. BlackRock

can, and has, voted against management that has failed to yield to its demand. And, as BlackRock

made clear in 2021, the threat that it might divest its holdings and drive down the price of a

company’s shares remains always in the background.120 Another threat is voting out

directors/forcing changes in senior management. To date, engagement and the use of its shares by

proxy voting—with some high-profile votes to make examples of companies or officers—has

proven adequate to the task of bringing about a coordinated reduction in the output of coal. Below

are examples of how Defendants’ have used active engagement and proxy voting to achieve the

output reduction goals they had set for the coal industry.

       168.    At the beginning of 2022, BlackRock CEO Larry Fink specifically said that

BlackRock is “asking companies to set short-, medium-, and long-term targets for greenhouse gas

reductions.”121 BlackRock’s votes were in accord. In 2022, Defendant BlackRock voted against

Directors John P. Jumper, John S. Dalrymple, III, Richard de J. Osborne, and Dennis W. LaBarre,

of NACCO, “as the Company does not meet our aspirations of having adequate climate risk

disclosures against all 4 pillars of TCFD” and “does not meet our aspirations of having adequate



       120
           BlackRock’s 2020 Letter to Clients: Sustainability as BlackRock’s New Standard for
Investing, BLACKROCK (2020), https://bit.ly/3Bb9SlV.
       121
             Larry Fink’s 2022 Letter to CEOs: The Power of Capitalism, BLACKROCK (2022),
https://bit.ly/40WwRfb.

                                                 59
Case 6:24-cv-00437-JDK         Document 50       Filed 01/16/25       Page 64 of 122 PageID #:
                                               284



climate-related metrics and targets.” In 2023, it again voted against Directors Jumper and LaBarre

for the same reasons.

       169.    Also in 2022, Defendant BlackRock voted against Director James N. Chapman, of

Arch Resources, “as the Company does not meet our aspirations of having adequate climate risk

disclosures against all 4 pillars of TCFD.” In 2023, it voted against Holly Keller Koeppel, “the

Chair of the ESG and Nominating Committee as [Arch Resources] does not meet our aspirations

of having adequate climate-related metrics and targets.”

       170.    In 2021, Defendant BlackRock voted against Directors Andrea E. Bertone, William

H. Champion, and Joe W. Laymon, at Peabody Energy, “as the Company does not meet our

expectations of having adequate climate risk disclosures against all 4 pillars of TCFD.” It voted

against Director Bertone in 2022, “as the Company does not meet our aspirations of having

adequate climate risk disclosures against all 4 pillars of TCFD.” And did so again, and for

essentially the same reasons, in 2023.

       171.    In 2021, Defendant BlackRock voted against Director Sophie Bergeron of

CONSOL Energy’s Health, Safety, and Environmental Committee “as the company does not meet

our expectations of having adequate climate-related metrics and targets and TCFD aligned

reporting.” The following year, BlackRock withheld its votes122 from Directors William P. Powell,

Joseph P. Platt, and Edwin S. Roberson three long-tenured members of CONSOL Energy’s Health,

Safety, and Environmental Committee, “as the Company does not meet our aspirations of having

adequate climate risk disclosures against all 4 pillars of TCFD.” Then, in 2023, it withheld votes

for William P. Powell, John T. Mills, and Joseph P. Platt for the same climate-related reasons.



       122
           When voting for the election of directors, Consol Energy shareholders have the choice
of voting only either “for” or “withhold.”

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Case 6:24-cv-00437-JDK          Document 50         Filed 01/16/25     Page 65 of 122 PageID #:
                                                  285



       172.    In 2021, Defendant BlackRock withheld its votes123 from Director Stephen

Williams of Warrior Met Coal “as shareholders would benefit from greater disclosure on how the

company is considering climate-related risk” and “from TCFD-aligned reporting.” Then, in 2022,

it again withheld votes from Director Williams because “[t]he Company does not meet our

aspirations of having adequate climate risk disclosures against all 4 pillars of TCFD. The company

does not meet our aspirations of having adequate climate-related metrics and targets.” It voted

against Director Williams in 2023, on the ground that “[g]reater climate-related disclosure,

including disclosure aligned with all four pillars of TCFD, would enable investors to better assess

climate related risks and opportunities.”

       173.    BlackRock has also admitted that “BlackRock Investment Stewardship (BIS) has

engaged with management representatives [of Warrior Met Coal] over the past several years to

discuss a range of environmental, social, and governance (ESG) issues that we believe have

material impacts on the company’s financial performance and can help drive long-term shareholder

value creation.”124

       174.    In 2021, Defendant BlackRock withheld its votes125 for Steven R. Mills, a long-

tenured board member of Black Hills Corporation, “as the Company does not meet our

expectations of having adequate climate risk disclosures against all 4 pillars of TCFD.”




       123
          Prior to 2023, when voting for the election of directors, Warrior Met Coal shareholders
had the choice of voting only either “for” or “withhold.”
       124
               Vote Bulletin:   Warrior     Met    Coal,   Inc.,   BLACKROCK   (May    2,   2022),
https://bit.ly/3zkSDht.
       125
           When voting for the election of directors, Black Hills Corporation shareholders have
the choice of voting only either “for” or “withhold.”

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Case 6:24-cv-00437-JDK           Document 50      Filed 01/16/25       Page 66 of 122 PageID #:
                                                286



                    State Street’s Actions to Enforce the Output Restrictions

       175.      In November 2020, Defendant State Street became the first to announce that it

would use its substantial shareholdings in the coal industry “through company engagement[],

[State Street’s] thought leadership, and proxy voting” to achieve its specific goals.126

       176.      In June 2023, Defendant State Street announced that, “[s]tarting in the 2022 proxy

season, we began taking voting action against companies in the S&P 500, S&P/TSX Composite,

FTSE 350, STOXX 600, and ASX 100 indices if companies fail to provide sufficient disclosure

regarding climate-related risks and opportunities related to that company, or board oversight of

climate-related risks and opportunities in accordance with the TCFD framework.”127

       177.      Specifically, Defendant State Street “began voting against directors at companies

in several major indices where companies failed to provide sufficient disclosures in line with the

TCFD framework.” State Street subsequently voted against Peabody Energy Director Stephen E.

Gorman in 2023.128 It withheld its vote for Warrior Met Coal Director Gareth N. Turner in 2021,

withheld its vote for Stephen D. Williams in 2021 and 2022, and voted against him in 2023. It

voted against the compensation package of the executive officers of CONSOL Energy in 2022. In

2021, State Street withheld votes for NACCO Directors John P. Jumper, Alred M. Rankin, Jr.,

Matthew M. Rankin, and Roger F. Rankin; for Directors John P. Jumper, Alred M. Rankin, Jr.,

Matthew M. Rankin, Roger F. Rankin, Dennis W. LeBarre, Richard Osborne, and Britton T.

Tapplin in 2022; and voted against Directors Jumper, LeBarre, and Alfred M. Rankin Junior in



       126
           State Street Global Advisors, Why We’re Joining Climate Action 100+, YAHOO FIN.
(Dec. 12, 2020), https://yhoo.it/4gwAttW.
       127
             TCFD Report at 26, STATE ST. GLOB. ADVISORS (2022), https://bit.ly/47EyD63.
       128
           Proxy Voting Records, STATE ST. GLOB. ADVISORS, https://bit.ly/4gJea4n (last visited
Sept. 18, 2024).

                                                 62
Case 6:24-cv-00437-JDK            Document 50        Filed 01/16/25     Page 67 of 122 PageID #:
                                                   287



2023.   Finally, in 2023, State Street withheld its vote for two directors of Alpha Metallurgical

Resources: Kenneth S. Courtis and Michael J. Quillen. “In 2022, [Defendant State Street] also

conducted thematic engagement campaigns on such topics as climate transition plans, the social

risks related to climate transition plans, managing methane emissions, and deforestation-related

risks.”129 Defendant State Street further announced that “[s]tarting in 2023, we have expanded this

voting action to the following additional markets: the ASX200, TOPIX 100, Hang Seng, and Straits

Times indices.”130

                       Vanguard’s Actions to Enforce the Output Restrictions

        178.      In December 2021, Defendant Vanguard, upon becoming a signatory of the Net

Zero Asset Managers Initiative, acknowledged that signatories to that initiative had “used the

proxy voting system to,” among other things, “ask companies to shutter or divest their coal assets,

or persuade financial institutions to stop providing financial services to the thermal coal industry

and the entities that extract thermal coal from the ground.”131

        179.      After joining the Net Zero Asset Managers Initiative, Vanguard adopted a revised

proxy voting policy for U.S. portfolio companies. This policy took effect on March 1, 2022.

        180.      In that proxy voting policy, Vanguard announced that its funds would likely support

those shareholder proposals that require disclosure pursuant to frameworks endorsed by

Vanguard’s Investment Stewardship program.132 Vanguard specifically announced it would likely



        129
               2022 TCFD        Report   at   8,   STATE ST. GLOB. ADVISORS (June             2023),
https://bit.ly/47EyD63.
        130
              Id. at 23.
        131
              Vanguard Investment Stewardship Insights, supra, n.74 at 1 (emphasis added).
        132
             Proxy voting policy for U.S. portfolio companies at 11, VANGUARD (Mar. 1, 2022),
https://bit.ly/3BkzooD.

                                                   63
Case 6:24-cv-00437-JDK             Document 50      Filed 01/16/25      Page 68 of 122 PageID #:
                                                  288



support proposals that request “disclosure related to companies’ Scope 1 and Scope 2 emissions

data, and Scope 3 where climate-related risks are material,” and “[g]oals for target-setting for

relevant greenhouse gas emissions.”133

       181.        Vanguard further announced that it would vote against the relevant committee chair

in cases where the company has not “disclosed business strategies including reasonable risk

mitigation plans in the context of the anticipated regulatory requirements and changes in market

activity in line with the Paris Agreement or subsequent agreements.”134

                                                 * * *

       182.        Defendants colluded to suppress competition in the coal markets identified and

achieve their desired output reduction goals. They did so by sharing information concerning their

output production targets for the jointly owned Coal Companies, by engaging in joint efforts to

obtain that adherence, and by sharing the degree of the success or failure of those efforts. This

collusion was unlawful and actionable.

      DEFENDANTS’ PRESSURE ON THE COAL COMPANIES’ MANAGEMENT
       RESULTED IN OUTPUT REDUCTIONS AND CLIMATE DISCLOSURES

       183.        Defendants’ pressure campaign also had its intended effect, as the Coal companies

repeatedly conceded that they were complying with Defendant’s wishes in investor calls and

elsewhere.

       184.        In the second quarter of 2021, Arch Coal President and CEO Paul Lang told

investors that Arch Coal generated a gross margin of nearly $40 million with “thermal coal assets,

while at the same time making significant progress shrinking [its] operating footprint.”


       133
             Id.
       134
             Id. at 5–6.


                                                   64
Case 6:24-cv-00437-JDK           Document 50       Filed 01/16/25       Page 69 of 122 PageID #:
                                                 289



       185.    In the fourth quarter of 2021, Black Hills President and CEO Linn Evans told

investors that “initiatives wrapped within the ESG blanket have always been a key focus for us,

and we’re continuing to critically evaluate our business through that lens. This, of course, includes

analyzing ESG risks and opportunities and then weaving them into our strategy and decision-

making.”

       186.    In its second quarter 2022 earnings call, Black Hills President and CEO Linn Evans

noted that Black Hills is “excited about the tangible progress we’ve already delivered in our

emissions reduction and other ESG goals . . .”

       187.    In its 2022 Arch Sustainability Report, Arch Coal stated that, since 2020, “Arch

subsidiaries have reduced their annual thermal coal production by nearly 60% . . .” The report also

states that “Arch has taken a strategic, ESG-driven pivot . . . away from domestic power and

thermal markets . . .”

       188.    In its 2022 Task Force on Climate-Related Financial Disclosure Report, Black Hills

stated that “Management of ESG includes our CEO, senior leadership team, an executive ESG

Steering Committee chaired by the director of corporate planning, sustainability & ESG, and a

cross-functional sustainability working group.”

       189.    In the second quarter of 2022, Peabody President and CEO James Grech told

investors that Peabody had taken steps to strengthen our commitments and to reposition ourselves

to better support the ESG targets of our stakeholders. This includes a commitment to setting targets

and developing programs to enhance our position as a champion of ESG practices.

       190.    In the first quarter of 2023, Peabody President and CEO James Grech told investors

that he observed demand growing in [] thermal…markets [even though] the constraints to supply

growth that have been there are still there . . . access to new capital permitting ESG pressures . . .”



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Case 6:24-cv-00437-JDK            Document 50      Filed 01/16/25     Page 70 of 122 PageID #:
                                                 290



Instead of increasing production to meet demand, Peabody was more concerned with “maintaining

financial strength . . . [and] champion[ing] ESG practices.”

         191.     In the third quarter of 2023, Arch Coal President and CEO Paul Lang acknowledged

that “global investment in new and existing mine capacity has been extremely muted in the last

several years due to . . . a host of [] ESG related concerns.”

                  DEFENDANT BLACKROCK DECEIVED ITS CUSTOMERS
               IN PURSUIT OF DEFENDANTS’ OUTPUT REDUCTION SCHEME

         192.     Like the other Defendants, Defendant BlackRock sells two types of investment

funds. First, those that are branded “ESG” or “sustainable” funds (“ESG Funds”). And, second,

investment funds that are marketed without such labeling but instead with materials that explicitly

state ESG criteria will not change that fund’s investment objective or constrain the range of

companies in which that fund may invest (“non-ESG funds”).

         193.     BlackRock’s non-ESG funds are marketed in a way that would lead a reasonable

consumer to conclude that these funds will not buy, sell, vote, or otherwise use shares in publicly-

traded equities to promote the ESG agenda. For example, BlackRock’s iShares Russell 2000 ETF—

which has over $70.8 billion in assets as of August 30, 2024, and holds 3,452,470 shares of Peabody

Energy, 470,631 shares of Arch Resources, 294,043 shares of Alpha Metallurgical, 101,518 shares

of NACCO, 785,183 shares of Consol Energy, 691,815 shares of Hallador, 1,385,312 shares of

Warrior Met Coal, and 1,879,182 shares of Black Hills Corp—is marketed exclusively as an ETF

that “seeks to track the investment results of an index composed of small-capitalization U.S.

equities.”135 BlackRock has marketed this ETF to consumers, and markets it to consumers today,




         135
               iShares Russell 2000 ETF, BLACKROCK, https://bit.ly/3B6PaUj (last visited Sept. 18,
2024).

                                                  66
Case 6:24-cv-00437-JDK              Document 50     Filed 01/16/25      Page 71 of 122 PageID #:
                                                  291



as a “fund [that] does not seek to follow a sustainable, impact or ESG investment

strategy.”136 While the investor fact sheet for the fund does provide ESG metrics about the fund

to consumers, those marketing materials assure consumers, and have assured customers since at

least March of 2021,137 that these “metrics do not change the fund’s investment objective or

constrain the fund’s investable universe, and there is no indication that a sustainable, impact or ESG

investment strategy will be adopted by the fund.”138 Nothing in the fund’s prospectus, moreover,

to which the Fact Sheet refers investors, suggests or has suggested in the relevant period that the

shareholdings will be used to advance an ESG agenda.139

         194.        BlackRock’s iShares Total U.S. Stock Market Index Fund—which has $3.6 billion

in assets as of August 30, 2024, including 8,602 shares of Peabody Energy, 1,196 shares of Arch

Resources, 532 shares of NACCO Industries, 1,855 shares of CONSOL Energy, 727 shares of Alpha

Metallurgical Resources, 1,749 shares of Hallador, 22,564 shares of VISTRA, 3,308 shares of

Warrior Met Coal, and 4,232 shares of Black Hills Corp—has likewise been marketed to consumers

since at least May of 2021,140 and is being marketed to consumers today, as a “fund [that] does

not seek to follow a sustainable, impact or ESG investment strategy.”141 Again, while the

investor fact sheet for the fund does provide ESG metrics about the fund to consumers, the

marketing materials expressly avow that these “metrics do not change the fund’s investment


         136
               Id.
         137
               iShares Russell 2000 ETF, ISHARES (Mar. 31, 2021), https://bit.ly/4e6Kzjf.
         138
               iShares Russell 3000 ETF, BLACKROCK, https://bit.ly/41mA6wX (last visited Nov. 25,
2024).
         139
               2024 Prospectus, BLACKROCK (Aug. 1, 2024), https://bit.ly/3XOdAL2.
         140
              iShares Total U.S. Stock Market Index Fund, BLACKROCK (May 7, 2021),
https://bit.ly/4etkvyy.
         141
              iShares Total U.S. Stock Market Index Fund, BLACKROCK (Sept. 17, 2024),
https://bit.ly/4gsGXtE.

                                                   67
Case 6:24-cv-00437-JDK             Document 50      Filed 01/16/25      Page 72 of 122 PageID #:
                                                  292



objective or constrain the fund’s investable universe, and there is no indication that a sustainable,

impact or ESG investment strategy will be adopted by the fund.”142 Nothing in the fund’s

prospectus, moreover, to which the Fact Sheet refers investors, suggests or has suggested in the

relevant period that the shareholdings will be used to advance an ESG agenda.143

        195.        The same representations have been made in the marketing materials for:

                    a.     BlackRock’s iShares Russell 3000 ETF, which has $13.7 billion in assets,

including 30,699 shares of Peabody Energy, 5,008 shares of Arch Resources, 3,038 shares of Alpha

Metallurgical Resources, 8,160 shares of CONSOL Energy, 10,167 shares of Hallador Energy,

14,628 shares of Warrior Met Coal, 92,474 shares of VISTRA, and 17,666 shares of Black Hills

Corp.144

                    b.     BlackRock’s iShares Core S&P Mid-Cap ETF, which holds over 2.1 million

shares of Black Hills Corporation.145

        196.        BlackRock’s representations in paragraphs 193 and 194 above are false or

misleading for several reasons. To begin, a reasonable consumer would understand that an

“investment strategy” includes things like engagements and proxy voting. Thus, when BlackRock

conducts ESG engagements leveraging the power of its shares, it is engaging in an ESG investment

strategy that includes the purportedly non-ESG funds that are described in paragraphs 193 through

195 above. To illustrate:

                    a.     Michelle Edkins, Managing Director in BlackRock’s Investment

Stewardship team, admitted in an article titled “The Significance of ESG Engagement” that ESG


        142
              Id.
        143
              Prospectus, BLACKROCK, https://bit.ly/3B6Qfvb (last visited Sept. 18, 2024).
        144
              iShares Russell 3000 ETF, supra, n.138.
        145
              iShares Core S&P Mid-Cap ETF, BLACKROCK (Sept. 17, 2024), https://bit.ly/4gouEP7.

                                                   68
Case 6:24-cv-00437-JDK          Document 50      Filed 01/16/25       Page 73 of 122 PageID #:
                                               293



“engagement” fits within “investment strategy”: “The key is to make conscious decisions about

whether, and where, engagement fits into the investment strategy.”146

               b.      The United Nations Principles of Responsible Investment (UNPRI)

similarly stated that, “In Europe alone, engagement (and exercising voting rights) is the third most

popular responsible investment strategy.”147 BlackRock is a signatory to UNPRI.

               c.      The Harvard Business School Online blog stated, in a page titled “7 ESG

Investment Strategies to Consider,” that the Number 5 Investment Strategy is “Shareholder action,

also referred to as engagement, [which] is when investors use their power to encourage the

companies they invest in to pursue material ESG opportunities.”148

       197.    Further, BlackRock’s representations in paragraphs 193 and 194 above are

contradicted by BlackRock’s climate commitments to groups like NZAM and CA100+, which

involve implementing a sustainable, impact, or ESG investment strategy across all BlackRock

assets—even those implicating BlackRock’s non-ESG funds. For example, as part of its ongoing

NZAM membership, BlackRock has committed to comprehensively “[i]mplement a stewardship

and engagement strategy, with a clear escalation and voting policy, that is consistent with [the]

ambition for all assets under management to achieve net zero emissions by 2050 or sooner.”149

These commitments are non-waivable, as “the [NZAM] commitment also ensures that several

important actions – such as stewardship and policy advocacy – are comprehensively


       146
           Michelle Edkins, The Significance of ESG Engagement at 4, ENGAGEMENT STRATEGIES
(2015), https://bit.ly/3Oic4ex.
       147
             How ESG Engagement Creates Value for Investors and Companies at 5, PRI (2018),
https://bit.ly/4fy6RLR.
       148
             7 ESG Investment Strategies to Consider, HARV. BUS. SCH. ONLINE (Sep. 15, 2022),
https://bit.ly/3Z1gs6R.
       149
              Commitment, NET ZERO ASSET MANAGERS (last visited Nov. 20, 2024),
https://bit.ly/3ZgqVMU (emphasis added).

                                                69
Case 6:24-cv-00437-JDK              Document 50     Filed 01/16/25     Page 74 of 122 PageID #:
                                                  294



implemented.”150 BlackRock’s NZAM commitment also includes a pledge to “[w]ork in

partnership with asset owner clients on decarbonisation goals, consistent with an ambition to reach

net zero emissions by 2050 or sooner across all assets under management,” and to “[r]eview [its]

interim target at least every five years, with a view to ratcheting up the proportion of AUM covered

until 100% of assets are included.”151

          198.      In line with its NZAM commitments, BlackRock’s 2021 TCFD report admits that

“[s]ustainability, including climate-related issues – from the integration of ESG factors into the

firm’s investment processes, to sustainable investment strategies and investment stewardship

priorities – is a critical component of the firm’s overall business strategy and the objectives of

senior management over which the Board has oversight.”152

          199.      BlackRock’s 2022 TCFD report likewise admits that “[s]ustainability, including

climate-related issues[,] is a critical component of the firm’s overall business strategy and the

objectives of senior management over which the Board has oversight.”153 That same report also

states that the “Investment Subcommittee” of the Global Executive Committee “[o]versees ESG

integration in BlackRock’s firmwide processes.”154

          200.      These admissions in BlackRock’s TCFD reports, together with BlackRock’s

NZAM commitment to “comprehensively” advance the net-zero agenda “across all assets under




          150
          FAQ, NET ZERO ASSET MANAGERS (last visited Nov. 20, 2024), https://bit.ly/3V0Tiw4
(emphasis added).
          151
                Commitment, supra, n.149 (emphasis added).
          152
                2021 TCFD Report at 11, BLACKROCK (2021), https://bit.ly/3V1XLyJ (emphasis
added).
          153
                2022 TCFD Report at 11, BLACKROCK (2022), https://bit.ly/4hWgNQO (emphasis
added).
          154
                Id. (emphasis added).

                                                  70
Case 6:24-cv-00437-JDK              Document 50     Filed 01/16/25    Page 75 of 122 PageID #:
                                                  295



management,” make BlackRock’s representations that its purportedly non-ESG funds do “not seek

to follow a sustainable, impact or ESG investment strategy” and that “there is no indication” that

such a strategy will be adopted by those funds false or misleading.

        201.      BlackRock’s representations regarding its non-ESG funds are false or misleading

for the additional reason of BlackRock’s commitments to CA100+. By joining CA100+,

BlackRock committed to “secure commitments from the boards and senior management [of the

companies in which BlackRock’s funds hold shares] to . . . . [t]ake action to reduce greenhouse

gas emissions across their value chain, consistent with the Paris Agreement’s goal of limiting

global average temperature increase to well below 2 degrees Celsius above pre-industrial

levels.”155 BlackRock further committed to use “a range of engagement approaches to ensure

fulfillment of [these] goals.”156

        202.      When BlackRock joined CA100+ in 2020, it announced that it would continue to

“independently” decide how to “prioritize engagements” and “vote proxies.”157 That

announcement was likewise false or misleading: shortly after BlackRock joined, the CA100+

Steering Committee’s own meeting minutes independently confirmed that “BlackRock

understands that by joining CA100+, it is expected to shift its voting to support climate

resolutions.”158 Further, emails from the climate-activist group Ceres indicate that BlackRock’s

“large asset owner[]” clients were pressuring BlackRock to “align [its] voting with CA100+” or



        155
             Climate Action 100+ Sign-on Statement at 1, BLACKROCK (Jan. 6, 2020),
https://bit.ly/4hU3MqN.
        156
              Id. (emphasis added).
        157
             Letter from BlackRock to Climate Action 100+ Steering Committee (Jan. 6, 2020),
https://bit.ly/4fxKkP2.
        158
           CA100+ Steering Committee Meeting Minutes at CERES0001262, p. 460 (March 26,
2020), https://bit.ly/4fWkPqr (emphasis added).

                                                  71
Case 6:24-cv-00437-JDK            Document 50      Filed 01/16/25       Page 76 of 122 PageID #:
                                                 296



else “risk losing clients and revenue.”159 In fact, a top official at Ceres clarified that this loss of

clients and revenue was “not just an idle possibility,” since “US-based asset owners with whom

Ceres is working ha[d] recently signaled this possibility to BlackRock.”160 These material facts,

which BlackRock failed to disclose to consumers, show that BlackRock’s public representations

that it would continue to conduct engagements and vote proxies “independently” after joining

CA100+ were false or misleading.

       203.        Second, BlackRock’s representations in paragraphs 193 and 194 above are false or

misleading because they are contradicted by BlackRock’s persistent use of proxy votes to reduce

greenhouse gas emissions in line with BlackRock’s sustainability and climate commitments.

       204.        Shortly after BlackRock joined CA100+, an email from a top official at Ceres

cautioned that BlackRock could suffer “billions of dollars in lost revenue” if it did not

“dramatically change” its proxy voting.161 In fact, after joining CA100+ and NZAM in 2020 and

2021, BlackRock did “dramatically change” its proxy voting by increasing its support for climate

proposals that are in line with the net zero agenda. For example, BlackRock voted for only about

6% of environmental proposals in the 2019-20 proxy season, but it voted for 64% of environmental

proposals in the 2020-21 proxy season.162 Similarly, BlackRock voted against 55 directors on

climate-related issues in the 2019-20 proxy season, but it voted against 255 directors on climate-




       159
             Id. at CERES0027685 p. 480 (Feb. 2, 2020); Id. at CERES0014474 p. 486.
       160
             Id. at CERES0014474 p. 486 (emphasis added).
       161
             Id.
       162
             Compare Investment Stewardship Annual Report at 17, BLACKROCK (2020),
https://bit.ly/4fYfz5A with Pursuing long-term value for our clients: BlackRock Investment
Stewardship at 15, BLACKROCK (2021), https://bit.ly/3ZdDbxJ.

                                                  72
Case 6:24-cv-00437-JDK          Document 50       Filed 01/16/25         Page 77 of 122 PageID #:
                                                297



related issues in the 2020-21 proxy season.163 This dramatic change in BlackRock’s voting patterns

contradicts BlackRock’s public representations that it would continue to make engagement and

voting decisions “independently” despite its climate commitments.

       205.      Further, BlackRock’s own publicly available voting records confirm that

BlackRock has repeatedly used proxy votes to advance its ESG commitments to reduce greenhouse

gas emissions in line with a net zero agenda. For example:

                 a.     Whitehaven Coal. At the October 2021 meeting for Whitehaven Coal,

BlackRock voted against all directors up for election because the company’s disclosures did not

“include GHG reductions targets or alignment with a global aspiration of net zero GHG emissions

by 2050.”164

                 b.     Exxon. BlackRock voted against Exxon’s directors based upon “Exxon’s

failure to have clear, long-term greenhouse gas reduction targets.”165

                 c.     NewMarket Corp. BlackRock voted for a 2023 shareholder proposal

asking NewMarket Corporation to “publish their GHG emissions, and set short-, medium- and

long-term emission reduction targets to align business activities with net zero emissions by 2050

in line with the Paris Climate Agreement.”166

                 d.     Travelers Companies. BlackRock voted for a proposal for The Travelers

Companies, Inc., to address “if and how it intends to measure, disclose, and reduce the GHG


       163
          Compare Investment Stewardship Annual Report, supra, n.162 at 13 with BlackRock
Investment Stewardship, supra, n.162 at 14.
       164
               Vote Bulletin:   Whitehaven      Coal   at   2,   BLACKROCK      (Oct.   27,   2021),
https://bit.ly/3ASAFni.
       165
             Our Approach to Sustainability at 11, BLACKROCK (2020), https://bit.ly/3Zgu7rS.
       166
             Form DEF 14A Proxy Statement at 48, SEC (Mar. 10, 2023), https://bit.ly/4fVFYBb
(proposal 6); Proxy Voting Search, BLACKROCK (last visited Nov. 20, 2024),
https://bit.ly/3V0UIXA (search NewMarket; click on April 27, 2023; proposal 6).

                                                 73
Case 6:24-cv-00437-JDK          Document 50       Filed 01/16/25        Page 78 of 122 PageID #:
                                                298



emissions associated with its underwriting, insuring, and investment activities, in alignment with

the Paris Agreement’s 1.5⁰C goal, requiring net zero emissions.”167

                 e.     Berkshire Hathaway. BlackRock supported a 2023 shareholder proposal

for Berkshire Hathaway to “issue a report . . . addressing if and how it intends to measure, disclose,

and reduce the GHG emissions associated with its underwriting, insuring, and investment activities

in alignment with the Paris Agreement’s 1.5°C goal, requiring net zero emissions.”168

       206.      Moreover, BlackRock continues to focus on using engagements to advance its

climate agenda. BlackRock reportedly conducted over 1,250 engagements with portfolio

companies regarding climate and natural capital in 2023-24,169 and over 1,600 such engagements

in 2022-23.170

       207.      As seen above, BlackRock has repeatedly used proxy votes and engagements to

promote a comprehensive ESG agenda that is focused on sustainability and emissions reductions

in conformity with BlackRock’s climate commitments. These practices contradict BlackRock’s

public representations that it would “independently” decide how to vote proxies and conduct

engagements, and that its non-ESG funds, including the funds described in paragraphs 193 through

195 above, do “not seek to follow a sustainable, impact or ESG investment strategy.”

       208.      BlackRock has also made several material false or misleading statements in the

publicly available prospectus documents for its non-ESG funds. For example, for each of the non-


       167
             Notice of 2022 Annual Meeting of Shareholders & Proxy Statement at 72 (Apr. 8, 2022),
https://bit.ly/4fybkOv (proposal 5); Proxy Voting Search, supra, n.166 (search Travelers; click on
May 25, 2022; proposal 5).
       168
          Proxy Statement Pursuant to Section 14(a) of the Securities Exchange Act of 1934 at
15, SEC (Mar. 17, 2023), https://bit.ly/4fyaL7t (proposal 6); Proxy Voting Search, supra, n.166
(search Berkshire Hathaway; click on May 6, 2023; proposal 6).
       169
             2024 Global Voting Spotlight at 17, BLACKROCK (2024), https://bit.ly/3Z1M0sW.
       170
             2023 Global Voting Spotlight at 3, 33, BLACKROCK (2023), https://bit.ly/3Z0rdWH.

                                                 74
Case 6:24-cv-00437-JDK         Document 50       Filed 01/16/25       Page 79 of 122 PageID #:
                                               299



ESG funds listed in paragraphs 193 through 195 of this Complaint, the prospectus-related

Statement of Additional Information sets out BlackRock’s approach to assessing climate-related

issues. BlackRock advises consumers in relevant part: “We seek to understand, from company

disclosures and engagement, the strategies companies have in place to manage material risks to,

and opportunities for, their long-term business model associated with a range of climate-related

scenarios, including a scenario in which global warming is limited to well below 2°C, considering

global ambitions to achieve a limit of 1.5°C. As one of many shareholders, and typically a minority

one, BlackRock does not tell companies what to do. It is the role of the board and management

to set and implement a company’s long-term strategy to deliver long-term financial returns.”171

       209.    The statements in the preceding paragraph are false or deceptive in three ways.

First, BlackRock’s interest is not limited to “material risks” because by joining CA100+ and

NZAM, BlackRock pledged to force companies to disclose targets for net zero emissions for

environmental and political reasons (limiting global warming to well below 2°C, with an ambition

to achieve 1.5°C), without regard to materiality to the particular company’s financial performance.

Second, BlackRock does not disclose to investors that the “scenario in which global warming is

limited to well below 2°C, considering global ambitions to achieve a limit of 1.5°C” is highly

unlikely based on present commitments of countries, and the requirement for companies to


       171
              Statement of Additional Information at A-10, ISHARES TRUST (Aug. 1, 2024),
https://bit.ly/3ATzljY (emphasis added). This statement of additional information applies to the
following purportedly non-ESG funds: iShares Russell 2000 ETF; iShares Russell 3000 ETF; and
iShares Core S&P Mid-Cap ETF. Similar language is found in the Statement of Additional
Information for the iShares Total U.S. Stock Market Index Fund. See Statement of Additional
Information at B10–B11, BLACKROCK (Nov. 28, 2023), https://bit.ly/4eHrTX4 (footnote omitted)
(“Specifically, we look for companies to disclose strategies they have in place that mitigate and
are resilient to any material risks to their long-term business model associated with a range of
climate-related scenarios, including a scenario in which global warming is limited to well below
2°C, considering global ambitions to achieve a limit of 1.5°C. It is, of course, up to each company
to define their own strategy: that is not the role of BlackRock or other investors.”).

                                                75
Case 6:24-cv-00437-JDK           Document 50          Filed 01/16/25    Page 80 of 122 PageID #:
                                                    300



disclose this scenario is thus intended to serve political rather than financial-reporting ends. Third,

BlackRock fails to disclose that it has joined organizations, such as CA100+ and NZAM, to

actively drive the global transition to net zero.

       210.      In addition to the deceptive representations in paragraph 208 above, the prospectus

documents for BlackRock’s non-ESG funds, including the ETFs listed in paragraphs 193 and 195,

previously represented that “[t]he global aspiration to achieve a net-zero global economy by 2050

is reflective of aggregated efforts; governments representing over 90% of GDP have

committed to move to net-zero over the coming decades. In determining how to vote on behalf

of clients who have authorized us to do so, we look to companies only to address issues within

their control and do not anticipate that they will address matters that are the domain of public

policy.”172 This representation, which BlackRock continues to make for the iShares Total U.S.

Stock Market Index Fund,173 is used to support BlackRock’s statement that it looks to companies

to disclose emissions plans for various scenarios “including a scenario in which global warming

is limited to well below 2°C, considering global ambitions to achieve a limit of 1.5°C.”174

       211.      BlackRock’s statement regarding “over 90% of GDP” is false or deceptive. On

information and belief, it is based on statistics such as those compiled by the Net Zero Tracker

showing a combined total GDP of “149 countries including the EU and Taiwan,” which have

“some variation of a net zero target.”175 Elsewhere, the Net Zero Tracker states that 151 countries

have a net zero target. However, BlackRock does not disclose in its prospectus that such a


       172
           See, e.g., Statement of Additional Information at A-10 n.7, ISHARES TRUST (last revised
Oct. 13, 2023), https://bit.ly/4fCY0Z4 (emphasis added).
       173
             Statement of Additional Information, supra, n.171 at B11 n.7.
       174
          Statement of Additional Information, supra, n.171 at A-10; Statement of Additional
Information, supra, n.171 at B11 n.7.
       175
             Net Zero Stocktake 2023 at 4, NET ZERO TRACKER (June 2023), https://bit.ly/4fXeTgR.

                                                    76
Case 6:24-cv-00437-JDK           Document 50       Filed 01/16/25      Page 81 of 122 PageID #:
                                                 301



“commitment” to a target includes non-binding pledges and policy documents,176 and that among

the countries with a net zero “commitment,” only 15% of those commitments are enshrined in

law.177 Nor does BlackRock disclose that most governments are not following through on their

commitments. For example, a United Nations website discloses the following regarding

government pledges: “[C]ommitments made by governments to date fall far short of what is

required. Current national climate plans – for 195 Parties to the Paris Agreement taken together –

would lead to a sizable increase of almost 9% in global greenhouse gas emissions by 2030,

compared to 2010 levels. . . .”178 And the Climate Action Tracker, which assesses each country’s

climate policies and targets, finds that not a single country in the world is aligned with the 1.5℃

goal as of November 2023.179

       212.      Furthermore, the second bolded statement in the prospectus document quoted in

paragraph 210 of this Complaint is also deceptive because it does not disclose BlackRock’s

involvement in limiting or otherwise changing companies’ political lobbying activities to conform

to the commitments that BlackRock made to groups like CA100+ and NZAM and that it seeks to

impose onto portfolio companies. For example, in 2020, BlackRock voted in favor of a shareholder

proposal for Chevron Corporation to report on climate lobbying.180 The proposal asked the board

to report on “if, and how, Chevron’s lobbying activities (direct and through trade associations)




       176
           See id.; see also Net Zero Tracker Codebook at 4–5, Net Zero Tracker (last visited Nov.
20, 2024), https://bit.ly/492dq6A.
       177
             Net Zero Stocktake 2023, supra, n.175 at 16.
       178
             Climate Action, UNITED NATIONS (last visited Nov. 20, 2024), https://bit.ly/4fyfl5x.
       179
            Countries, CLIMATE ACTION TRACKER (last visited Nov. 20, 2024),
https://bit.ly/3ZdGtkq.
       180
             Proxy Voting Search, supra, n.166 (search Chevron; click on May 27, 2020; proposal
6).

                                                  77
Case 6:24-cv-00437-JDK           Document 50      Filed 01/16/25      Page 82 of 122 PageID #:
                                                302



align with the goal of limiting average global warming to well below 2 degrees Celsius (the Paris

Climate Agreement’s goal). The report should also address the risks presented by any misaligned

lobbying and the company’s plans, if any, to mitigate these risks.”181 Chevron management

opposed this proposal, stating that, “Your Board is confident that the Company’s lobbying and

political activities – and association memberships – are aligned with Chevron’s goals and the long-

term interests of our stockholders.”182 At the time of the meeting, BlackRock funds owned 6.7%

of Chevron stock.183

       213.      Given BlackRock’s shareholder activism relating to changing companies’ lobbying

activities to align with the Paris Agreement—which is not even law in the United States—

BlackRock’s statement that it “do[es] not anticipate that [portfolio companies] will address matters

that are the domain of public policy” is false or deceptive.

       214.      In addition to the deceptive representations in its non-ESG-fund webpages and

related prospectus documents and Statements of Additional Information, BlackRock has also made

deceptive representations in its “2030 net zero statement,” which is also available on BlackRock’s

website.184 In the 2030 Net Zero Statement, BlackRock asserts that its “role in the transition is as

a fiduciary to our clients. . . . to help them navigate investment risks and opportunities, not to

engineer a specific decarbonization outcome in the real economy.”185




       181
          Chevron Proxy Statement pursuant to Section 14(a) of the Securities Exchange Act of
1934 at 78, SEC (Mar. 30, 2020), https://bit.ly/4eE4ZzN (proposal 6).
       182
             Id. at 79.
       183
             Id. at 71.
       184
             BlackRock’s 2030 Net Zero Statement, BLACKROCK (last visited Nov. 20, 2024),
https://bit.ly/40WjA6p.
       185
             Id. (emphasis added).

                                                 78
Case 6:24-cv-00437-JDK          Document 50       Filed 01/16/25       Page 83 of 122 PageID #:
                                                303



       215.     That bolded statement is false or deceptive because net zero by 2050 or sooner is a

decarbonization outcome. As a member of NZAM, BlackRock has committed to “an ambition to

reach net zero emissions by 2050 or sooner across all assets under management.”186 And when

BlackRock joined CA100+, it specifically committed to “support the Paris Agreement,” which

involves “limiting global average temperature increase to well below 2 degrees Celsius above pre-

industrial levels.”187 Yet BlackRock did not disclose these commitments when making contrary

representations to investors and consumers.

       216.     Again, as it relates to one of the highly publicized controversies in the investing

world, BlackRock says one thing and does another. It tells consumers that it is merely helping

companies “navigate investment risks and opportunities,” but it has also committed to achieve

specific emissions-reduction targets. Consumers and investors rely on published statements like

the 2030 Net Zero Statement to understand how BlackRock will manage their investments. But

BlackRock misleads its clients by pursuing ESG policy aims while telling consumers and investors

that it will not “engineer a specific decarbonization outcome.”

       217.     Finally, in addition to the deceptive statements that are discussed in paragraphs 193

through 216 above, BlackRock has made deceptive representations in its webpage entitled “Energy

investing: setting the record straight.”188 This public-facing webpage, which BlackRock posted in

December 2022 in response to growing scrutiny from states and consumers, provides information

to consumers and others about BlackRock’s products and services after “BlackRock [was] accused




       186
             Commitment, supra, n.149.
       187
             Climate Action 100+ Sign-on Statement, supra, n.155 at 1.
       188
             Energy Investing: Setting the Record Straight, BLACKROCK (last visited Nov. 25, 2024),
https://bit.ly/4i0Aff2.

                                                 79
Case 6:24-cv-00437-JDK            Document 50       Filed 01/16/25      Page 84 of 122 PageID #:
                                                  304



of ‘boycotting’ oil and gas companies.”189 The “setting the record straight” webpage also includes

a link to BlackRock’s “September 7th response to the letter from U.S. state Attorneys’ General.”190

       218.        In its response letter to the Attorneys General, BlackRock represents that its

“engagement and voting around climate risk does not require that companies meet specific

emissions standards.”191 The same letter also represents that BlackRock does not “dictate to

companies what specific emission targets they should meet or what type of political lobbying

they should pursue,” and that BlackRock’s “role is to help [clients] navigate investment risks

and opportunities, not to engineer a specific decarbonization outcome in the real

economy.”192

       219.        The representations quoted in paragraph 218 of this Complaint are false or

deceptive. BlackRock CEO Larry Fink specifically said at the beginning of 2022 (nine months

before sending the response letter to the Attorneys General) that BlackRock is “asking companies

to set short-, medium-, and long-term targets for greenhouse gas reductions.”193

       220.        BlackRock also states in the Climate Focus Universe document, which is dated

2023, that: “As outlined in BIS’ market-specific voting guidelines, when corporate disclosures do

not sufficiently enable investors to assess risk through the Task Force on Climate-related Financial

Disclosure (TCFD) framework — including in relation to governance, strategy, and risk

management — or companies have not provided scope 1 and 2 emissions disclosures and




       189
             Id.
       190
           Id.; Dalia Blass, BlackRock Senior Managing Director, letter to Attorneys General of
the States re Attorneys General Letter (Aug. 4, 2022), https://bit.ly/4eB2oq9.
       191
             Response to Attorneys General Letter, supra, n.190 at 9 (emphasis added).
       192
             Id. at 5, 7–8 (alteration in original) (emphasis added).
       193
             Larry Fink’s 2022 Letter to CEOs, supra, n.121.

                                                   80
Case 6:24-cv-00437-JDK           Document 50        Filed 01/16/25      Page 85 of 122 PageID #:
                                                  305



meaningful short-, medium-, and long-term targets, we are increasingly unlikely to support

director(s) we consider responsible for climate risk oversight.”194

        221.    Being “increasingly unlikely to support director(s)” for failing to provide

“meaningful short-, medium-, and long-term targets” is highly relevant to whether BlackRock is

imposing targets, since voting on directors is the primary mechanism BlackRock has, as an asset

manager with trillions under management, to force companies to act. Therefore, BlackRock’s

public statements, both from before and after the response letter to Attorneys General, show that

the representations in that letter are false or deceptive.

        222.    BlackRock’s recent votes on emissions targets and political lobbying, described in

paragraphs 205 and 216 above, also show that its statements quoted in paragraph 218 of this

Complaint are false or deceptive.

        223.    Furthermore, as alleged above 167-174, contrary to how it explains its products to

the public, Defendant BlackRock has consistently used the influence that comes from all of its

shareholdings in the Coal Companies to coerce those companies to achieve the output reduction

targets set by the Net Zero Asset Managers Initiative and by Climate Action 100+ and voted all of

the shares held by all of its funds to promote the aims of its climate-driven scheme to reduce output.

        224.    Defendant BlackRock has thus materially misrepresented the characteristics of the

exchange trade funds, mutual funds, and other financial products that it marketed to investors as

not being governed by ESG principles—misleading those consumers who invested their savings

into non-ESG funds because they do not wish to support ESG causes, do not believe that promoting

climate causes enhances shareholder value, or do not believe that investment decisions should be


        194
             BlackRock Investment Stewardship: Climate Focus Universe, BLACKROCK (2023),
https://bit.ly/3AQSQto (emphasis added) (Consumers could access this document by visiting
https://bit.ly/3Z29s9A and then clicking on the link “Our Climate Focus Universe.”).

                                                  81
Case 6:24-cv-00437-JDK          Document 50       Filed 01/16/25        Page 86 of 122 PageID #:
                                                306



driven by social policy or ideology. Blackrock’s deceptive statements about its supposedly “non-

ESG” funds thus induced investors to purchase investment funds they would not otherwise have

purchased.

                       DEFENDANTS’ ACQUISITION OF STOCK
                    HAS SUBSTANTIALLY LESSENED COMPETITION

       225.    Defendants’ sharing of information, their communications with management, and

their voting of their shares have had the intended effect of artificially reducing coal production and

constraining supply. Defendants’ acquisitions of shares enabled Defendants to substantially lessen

competition in domestic coal markets. The companies in which Defendants have ownership stakes

generally reduced production in the relevant coal markets—dramatically increasing the price of

coal—all as privately held coal companies in which Defendants have no ownership stake

scrambled to increase production and capture larger market shares (though their efforts could not

nearly match the magnitude of the publicly-trade companies’ reduction in production).

       226.    This dynamic is particularly clear in the SPRB market. See Table 4. Between 2019

and 2022, the total production of SPRB coal declined by 28.8 million tons. The three SPRB coal

producing companies in which Defendants acquired shares were responsible for nearly all of this

reduction, and then some: they reduced their production by a total of 33.8 million tons.

       227.    The four privately held SPRB coal producing companies, in contrast, increased

their output by 5 million tons. Their net production increased even though the Dry Fork Mine, a

non-profit operated by the Western Fuels Association to provide coal exclusively to local power

generation facilities operated by the Association, reduced its output by 2.3 million tons. The two

mines owned by privately-held Eagle Specialty Materials—which compete directly with the mines

owned by the publicly-held miners—increased their production from a combined 21.8 million tons

in 2019 to 29.4 million tons in 2022. That is a 34.9% increase.

                                                 82
Case 6:24-cv-00437-JDK         Document 50       Filed 01/16/25       Page 87 of 122 PageID #:
                                               307



       228.    The output decisions of the three publicly traded miners cannot be explained as a

rational response to free-market forces because the price signals were to increase production. From

2019 through 2022, the market price for SPRB coal increased by 21.2%. The privately-held

companies responded to that signal by increasing output.          It was only the publicly held

companies—the companies whose shares Defendants acquired—that cut production.

 Table 4: SPRB Output, by Mine, in Millions of Tons: 2019-2022
 Mine/Parent Company           Defendants’ 2019       2020    2021   2022    Change
                               Ownership                                     2019-2022
 Average Open Market Price                * $12.48 $12.94 $12.84 $15.13          +$2.65
 SPRB (Wyoming) Coal                                                            +21.2%
 Black Thunder Mine                 23.6%       72.0    50.2    59.4    62.2         -9.8
 Arch Coal
 Coal Creek Mine                    23.6%        2.5     2.1     2.0     3.8        +1.3
 Arch Coal
 North Antelope Rochelle Mine       19.7%       85.3    66.1    62.8    60.4       -24.9
 Peabody Energy
 Rawhide Mine                       19.7%       10.1     9.5    11.6    10.3          +.2
 Peabody Energy
 Caballo Mine                       19.7%       12.6    11.6    13.9    12.1          -.5
 Peabody Energy
 Wyodak Mine                        32.2%        3.7     3.7     3.7     3.5          -.2
 Black Hills Mining
 Belle Ayr Mine                 Privately       10.2    11.2    14.4    14.3        +4.1
 Eagle Specialty Materials        Held
 Eagle Butte Mine               Privately       11.6    12.3    13.5    15.1        +3.5
 Eagle Specialty Materials        Held
 Antelope Mine                  Privately       23.2    19.8    21.7    21.7         -1.5
 Navajo Transitional Energy Co    Held
 Cordero Rojo Mine              Privately       11.9     9.8    12.9    12.5          +.6
 Navajo Transitional Energy Co    Held
 Buckskin Mine                  Privately       17.6     9.7    10.6    18.2          +.6
 Kiewit Corporation               Held
 Dry Fork Mine                  Privately        6.1     3.9     3.7     3.7        -.2.4
 Western Fuels Association        Held
                     Total                     266.8   209.9 230.2     237.8       -29.0

       229.    Thermal Coal. With respect to thermal coal, the data establish that Defendants’

acquisitions and holdings of shares in the Coal Companies have significantly suppressed


                                                83
Case 6:24-cv-00437-JDK          Document 50      Filed 01/16/25       Page 88 of 122 PageID #:
                                               308



competition. From 2019 to 2022, the price per ton of thermal coal rose by $7.03 per ton—from

$27.54 per ton to $34.57 per ton. That is a 25.52% increase. In response to this rise in the price

for thermal coal, the Coal Companies that produce thermal coal cut production by 56.7 million

tons—from 295.2 million tons to 238.5 million tons. That is a 19.2% decrease.

  Table 5: Thermal Coal Output in Millions of Tons: 2019-2022
  Mining Company         Defendants’ 2019        2020       2021    2022       2019-2022
                         Ownership                                             Change
                         Percentage
  Average Net Selling                * $27.54       $24.93 $25.85      $34.57      +$7.03
  Price (Per Metric Ton)                                                         +34.57%
  Peabody Energy                  19.7    135.9      103.6    105.4      101.2        -34.7
                                                                                   -25.5%
  Arch Resources                  23.6     74.6       54.8     65.2       70.6         -4.0
                                                                                      -5.36
  NACCO Industries                 9.9     34.6       31.0     30.8       28.5         -6.1
                                                                                   -17.6%
  CONSOL Energy                   28.1     18.3       12.9     13.0       22.4         -4.6
                                                                                      -24.9
  Alpha Metallurgical             30.1      11.2        2.0       0          0        -11.2
  Resources                                                                         -100%
  Vistra Energy                   24.7     12.4       13.1     10.8        9.3         -3.1
                                                                                     -25%
  Hallador Energy                  9.6       8.2        5.6     5.7        6.5         -1.7
                                                                                   -20.7%
                                 Total    295.2        223    130.9      238.5     -19.2%


        230.   Metallurgical Coal. The effect that Defendants’ efforts have had on the market for

metallurgical coal confirms that the substantial lessening of competition in the markets for SPRB

and thermal coal can be traced to Defendants use of their shares to bring about a coordinate

reduction in the output of carbon emissions and the production of the coal that contributes to such

emissions. From 2019 to 2022, according to the Energy Information Agency, the average price

per ton of metallurgical coal rose by $122.9 per ton—from $139.78 per ton to $262.72 per ton. In

response to rising prices, the four publicly-traded coal companies for which metallurgical coal

production data are available increased output, but did so by only 600,000 tons—from 29.4 million

                                                84
Case 6:24-cv-00437-JDK         Document 50       Filed 01/16/25       Page 89 of 122 PageID #:
                                               309



tons to 30 million tons. That is a mere 2% increase in output in response to an 88% increase in

price. The production of metallurgical coal thus increased by far less than the massive increase in

price would elicit in a competitive market.

       231.    Available data establish that Defendants’ acquisitions and holdings of shares in the

Coal Companies have also suppressed competition in the market for metallurgical coal. As noted

above, see above at 119, however, as signatories to CA100+, Defendants committed to obtaining

a 30% reduction in metallurgical coal by 2030, but to a 50% reduction in the production of thermal

coal, including SPRB coal. That the economic distortions have been far more pronounced in the

markets for thermal and SPRB coal than for metallurgical coal is entirely consistent with

Defendants’ focus on reducing thermal coal production and doing so quickly.

      DEFENDANTS’ ACQUISITIONS AND USE OF SHARES HAVE RESULTED
   IN COAL PRODUCTION BEING REDUCED IN RESPONSE TO RISING PRICES,
          RESULTING IN CARTEL-LEVEL REVENUES AND PROFITS.

       232.    The result of Defendants’ efforts to bring about industry-wide output reductions

have been precisely what the antitrust laws exist to prevent—increased prices, lower production,

surging revenues for producers, and massive supra-competitive profits for producers.

       233.    From 2019 through 2022, Peabody Energy’s production fell by 34.7 million tons or

25.5%. During the same period, its revenues rose by $358.5 million and its profits soared by

$1.593 billion, or 853.9%.

       234.    Over the same period, Arch Resources’ production fell by 9.4 million tons, or

11.7%, while its revenues rose by $1.448 billion, and its profits soared by $1.097 billion, or

469.2%.

       235.    Over the same period, NACCO Natural Resources’ production fell by 6.1 million

tons, or 17.6%, while its profits increased $4.189 million, or 12%.


                                                85
Case 6:24-cv-00437-JDK          Document 50      Filed 01/16/25       Page 90 of 122 PageID #:
                                               310



        236.   Over the same period, CONSOL Energy’s production fell by 3.2 million tons, or

11.8%, while its revenues rose by $685.3 million, and its profits increased by $423.1 million, or

214.7%.

        237.   Over the same period, Alpha Metallurgical Resources’ production fell by 6.4

million tons, or 28.7%, while its revenues rose by $1.843 billion, and its profits increased by

$1.223.8 billion, or 342.7%.

        238.   Over the same period, Hallador Energy’s production fell by 1.7 million tons, or

20.7%. Its revenues also fell by 35.9 million, while its profits increased by $112.6 million, or

237%.

        239.   Over the same period, Warrior Met Coal’s production fell by 2.0 million tons, or

25.8%, while its revenues rose by $471.6 million, or 38%, and its profits increased by $418 million,

or 109%.

        240.   The Black Hills Corporation does not separately report the operating results for the

wholly-owned subsidiary that operates its coal mining operation.


 Table 6: Output, Revenues, and Profits by Firm, 2019-2022
       Firm                               2019      2020              2021      2022   2019-2022
                                                                                        Change
                       Output (millions         135.9         104      105.4     101.2      -34.7
                       of tons)
                                                                                             -25.5%
 Peabody Energy        Revenues               4,623.4     2,881.1    3,318.3   4,981.9       +358.5
                       (millions of
                       dollars)                                                             +7.75%
                       Profits                (211.3)   (1,728.3)      432.2   1,381.6     +1,592.9
                       (millions of
                       dollars)                                                              853.9%
                       Output (millions          80.2        54.8       65.2       70.8         -9.4
                       of tons)
                                                                                            -11.7%
                       Revenues               2,294.4     1,467.6    2,208.1   3,742.6     +1,448.2


                                                86
Case 6:24-cv-00437-JDK           Document 50     Filed 01/16/25       Page 91 of 122 PageID #:
                                               311



 Arch Resources          (millions of
                         dollars)
                         Profits                233.8     (344.6)      339.4    1,330.9    +1,097.1
                         (millions of
                         dollars)                                                          +469.2%
                         Output (millions        34.6        31.0       30.8       28.5        -6.1
                         of tons)
                                                                                             -17.6%
 NACCO Natural           Revenues                 n.a         n.a.       n.a.      n.a.          n.a.
 Resources195            (millions of
                         dollars)
                         Profits              34.120       25.436    45.784     38.309       +4.189
                         (millions of
                         dollars)                                                          +12.27%
                         Output (millions        27.3        18.8       24.0       24.1        -3.2
                         of tons)
                                                                                             -11.8%
 CONSOL                  Revenues             1,288.5       771.4    1,085.1    1,973.8      +685.3
 Energy196               (millions of
                         dollars)                                                           +53.2%
                         Profits                197.1        16.2       94.2     620.2       +423.1
                         (millions of
                         dollars)                                                          +214.7%
                         Output (millions        22.3        13.9       15.8       15.9        -6.4
                         of tons)
 Alpha                                                                                      -28.7%
 Metallurgical           Revenues             2,258.6     1,416.2    2,258.7    4,101.6    +1,843.0
 Resources197            (millions of
                         dollars)                                                           +81.6%
                         Income                 357.1     (170.7)      359.2    1,580.9    +1,223.8
                         (millions of
                         dollars)                                                          +342.7%


       195
            Results are for NACCO’s Coal Mining segment alone. NACCO provides output and
operating profit data for both its consolidated and unconsolidated mines; the firm does not,
however, provide revenue data for its unconsolidated mines. As those unconsolidated mines
accounted for the bulk of NACCO’s output (25.2 vs. 3.2 million tons in 2022; 27.8 vs. 3.0 million
tons in 2021; 28.5 vs. 2.5 million tons in 2020; and 32.0 vs. 2.6 million tons in 2019), the revenue
data for the consolidated mines ($95.2 million, $82.8 million in 2021; 72.088 million in 2020; and
68.701 million in 2019) do not include the bulk of the Company’s coal-related revenues.
       196
         Revenue and net income figures are for the Company’s Pennsylvania Mining Complex
Segment and exclude revenues from operation of its CONSOL Marine Terminal Segment.
       197
             Data reflect operating income.

                                                87
Case 6:24-cv-00437-JDK           Document 50       Filed 01/16/25       Page 92 of 122 PageID #:
                                                 312



                         Output (millions         12.4         13.1      10.8        9.3         -3.1
                         of tons)
                                                                                              -25%
 Vistra Energy           Vistra operates coal mines in Texas to provide fuel for its electricity
                         generation facilities. It does not break out revenue or income data related
                         specifically to that production in its financial reports.

                         Output (millions           8.2         5.6        5.7       6.5 -1.7
                         of tons)
                                                                                        -20.7%
                         Revenues                317.4        242.1     243.9     289.4 -35.9
                         (millions of
 Hallador Energy         dollars)                                                        -11%
 Company198              Profits                 (82.2)       (8.9)      (6.0)      30.4 +112.6
                         (millions of
                         dollars)                                                       +237.0%
                         Output (millions        7.683        7.132     5.084     5.699 -2.0
                         of tons)
                                                                                         -25.8%
                  Revenues                     1,236.0        761.8   1,028.3    1,707.6 +471.6
                  (millions of
 Warrior Met Coal dollars)                                                              +38%
 199
                  Income                         383.4       (27.1)     243.8     801.4 +418
                  (millions of
                  dollars)                                                                 +109%


       241.      Although both the economic contraction caused by the COVID-19 pandemic and

the disruptions to the global energy supply from the war in Ukraine produced rapid shifts in

demand in 2020 and 2021, the anticompetitive effects of Defendants’ conduct has nonetheless been

pronounced and unmistakable: Defendants have blocked their portfolio Coal Companies from

responding to market forces—a response that would have lowered energy prices for all Americans.

       242.      Defendants’ causal role is evident, for example, from the different responses to the

fluctuations in the price for SPRB coal exhibited by the publicly held companies—whose shares


       198
             Revenue data reflect Hallador’s coal sales; income (loss) is operating income (loss).
       199
           Revenue figures reflect Warrior Met Coal’s sales and exclude “other revenues”; income
is operating income.

                                                  88
Case 6:24-cv-00437-JDK          Document 50       Filed 01/16/25        Page 93 of 122 PageID #:
                                                313



Defendants acquired and who cut their output during a period of rising prices—and the privately

held companies, who raised their output during a period of rising prices. And the fact that the

distortions are more pronounced in the markets for thermal coal than in the market for

metallurgical coal reflects Defendants’ particular focus on reducing the production of thermal coal.

       243.    In sum, the data demonstrates that publicly held domestic coal producers were not

responding to the laws of supply and demand. They were instead answering to Defendants, who

acquired substantial shareholdings in each of these companies, possessed the power and the will

to reduce the companies’ production of coal, and made public commitments to vote management

out of office if they failed to reduce coal production and publicly disclose both reduction targets

and the data establishing compliance with those targets. What happened next was economically

predictable: Defendants’ acquisition of shares in the Coal Companies caused a substantial

reduction in competition between those firms.

                              NEBRASKA-SPECIFIC HARMS
                           (On Behalf of Plaintiff State of Nebraska)
       244.    Plaintiff State of Nebraska has sustained or will sustain injury because of

Defendants’ unlawful activities.

       245.    Coal is the biggest source of energy for Nebraska’s electrical grid. For example, in

2023, coal generated 45% of Nebraska’s in-state energy. Most of the coal consumed in Nebraska,

approximately 90%, is used for electricity generation.

       246.    Nebraska has unique energy needs. Despite being a smaller state, Nebraska is the

third largest state consumer of electricity, most of which goes to its industrial sector, particularly

agriculture. Likewise, due to its weather, industrial needs, and population size, Nebraska is one of

the top state consumers of energy per capita.



                                                 89
Case 6:24-cv-00437-JDK           Document 50        Filed 01/16/25        Page 94 of 122 PageID #:
                                                  314



        247.    Nebraska does not produce any coal, nor does it have significant coal reserves.

Nebraska thus relies on outside sources to power its electrical grid.

        248.    Conduct that seeks to restrict, reduce, or otherwise lessen the production of coal

will affect the cost and quality of energy generation in Nebraska, including electricity that is critical

for winter heat, summer cooling, and fueling Nebraska’s robust energy-intensive agricultural

industry.

                           LACK OF COUNTERVAILING FACTORS
        249.    Defendants cannot demonstrate any cognizable efficiencies to rebut the strong

presumption and actual evidence that their acquisition of substantial shares in competitors both

could substantially lessen competition and has actually lessened competition. While a merger

might have the potential to create substantial economies of scale or other efficiencies, Defendants’

acquisition of common shares does not create common management or any of the other bases for

obtaining the efficiencies that make some mergers socially valuable. Defendants’ ability to control

the production of competitors may be less direct than if Defendants had acquired these companies

outright. But the potential for countervailing economic efficiencies is zero.




                                                   90
Case 6:24-cv-00437-JDK           Document 50       Filed 01/16/25       Page 95 of 122 PageID #:
                                                 315



                                       CAUSES OF ACTION

                                             COUNT I
                               Acquisitions of Stock in Violation of
                            Section 7 of the Clayton Act, 15 U.S.C. § 18
                                 (On Behalf Of All Plaintiff States)


          250.   Plaintiff States repeat and reallege every preceding allegation as if fully set forth

herein.

          251.   The acquisition and holding of shares by Defendants—as well as Defendants’ use

of such stock by voting, by granting of proxies, and otherwise—may have had, have in fact had,

continue to have, and may in the future have, the effect of substantially lessening competition in

the relevant product and geographic markets, in violation of Section 7 of the Clayton Act, 15

U.S.C. § 18.

          252.   At all times material herein, Defendants’ activities have occurred in and affected

interstate commerce.

                                             COUNT II
                            Unlawful Agreement Between Defendants
                                  to Restrain Trade in Violation of
                            Section I of the Sherman Act, 15 U.S.C. § 1
                                 (On Behalf Of All Plaintiff States)

          253.   Plaintiff States repeat and reallege every preceding allegation as if fully set forth

herein.

          254.   The agreement and conduct alleged herein constitute a per se violation of Section

1 of the Sherman Antitrust Act of 1890, 15 U.S.C. § 1 (as amended), or, in the alternative, cause

significant anticompetitive effects that are not outweighed by any procompetitive benefits.

          255.   In 2021, Defendants, by and through their officers, directors, employees or other

representatives, entered into an unlawful agreement in restraint of trade and commerce in violation



                                                  91
Case 6:24-cv-00437-JDK           Document 50       Filed 01/16/25       Page 96 of 122 PageID #:
                                                 316



of Section 1 of the Sherman Act, 15 U.S.C. § 1, by agreeing to use the shares they have acquired

in the Coal Companies to coerce those companies to implement and adhere to a scheme of

coordinated output reductions of SPRB Coal and Thermal Coal.

          256.   Defendants subsequently used the shares they acquired in the coal companies to

coerce those companies to reduce their collective output of coal. They have done so by using those

shares to gain access to, obtain information from, and coerce the management of the Coal

Companies to agree to reduce their companies’ level of output. They have voted their shares both

to coerce compliance with their demands and to threaten removal of management that proved

reluctant to cooperate with this output reduction scheme.

          257.   Defendants’ combination and conspiracy unreasonably restrained trade. There is

no legitimate justification for, or procompetitive benefits caused by, Defendants’ unreasonable

restraint of trade. Any ostensible procompetitive benefit was pretextual or could have been

achieved by less restrictive means.

                                          COUNT III
                 Conspiracy to Exchange and Share Competitors’ Information
                  in Violation of Section 1 of the Sherman Act, 15 U.S.C. § 1
                              (On Behalf Of All Plaintiff States)

          258.   Plaintiff States repeat and reallege every preceding allegation as if fully set forth

herein.

          259.   In the Spring of 2021, Defendants joined a conspiracy to restrain trade by

depressing the output of Thermal Coal and SPRB Coal. As part of this conspiracy, Defendants

have engaged in a continuing agreement to share timely, competitive-sensitive information

concerning their respective efforts to coerce individual coal companies to agree to meet specific

output reduction targets, to identify those coal companies that had agreed to meet those specific




                                                  92
Case 6:24-cv-00437-JDK           Document 50       Filed 01/16/25       Page 97 of 122 PageID #:
                                                 317



targets, and to identify those coal companies that they were continuing to pressure to agree to meet

those targets.

        260.     The information shared by Defendants in their annual proxy voting reports and

elsewhere was not historical, but rather concerned current output and both intermediate and long-

term production targets.

        261.     The information shared by Defendants was neither aggregated nor anonymized, but

identified the specific commitments made by specific competitors, and the compliance of those

specific competitors with their output reduction targets.

        262.     Defendants’ exchange and sharing of information created both the opportunity and

the incentive for the Coal Companies to obtain supra-competitive profits by reducing their output

rather than seeking to expand their market share through vigorous competition.

        263.     Defendants’ agreement to exchange and share information has had the effect of (1)

reducing output and suppressing competition in the relevant markets for Thermal Coal and SPRB

Coal and (2) increasing the price for Thermal Coal and SPRB Coal substantially above competitive

market levels.

                                          COUNT IV
                               STATE LAW ANTITRUST CLAIMS
                              (On Behalf Of Plaintiff State Of Texas)

        264.     Plaintiff State of Texas repeats and realleges every preceding allegation as if fully

set forth herein.

        265.     The aforementioned practices by Defendants were and are in violation of TEX. BUS.

& COM. CODE § 15.01 et seq., id. §§15.05(a) & 15.05(d).




                                                  93
Case 6:24-cv-00437-JDK           Document 50       Filed 01/16/25       Page 98 of 122 PageID #:
                                                 318



                                          COUNT V
                             STATE LAW ANTITRUST CLAIMS
                           (On Behalf Of Plaintiff State Of Montana)

        266.    Plaintiff State of Montana repeats and realleges every preceding allegation as if

fully set forth herein.

        267.    The Attorney General of the State of Montana is authorized to bring this action on

behalf of the people of the State of Montana pursuant to MONT. CODE ANN. §§ 30-14-220 & 30-

14-222.

        268.    MONT. CODE ANN. § 30-14-205 states that “[i]t is unlawful for a person or group of

persons, directly or indirectly … to enter an agreement for the purpose of fixing the price or

regulating the production of an article of commerce” or “for the purpose of creating or carrying

out any restriction in trade, to … limit productions … ”.

        269.    Defendants have each entered into an agreement for the purpose of regulating the

production of thermal coal, metallurgical coal, and SPRB coal, and for the purpose of carrying out

restrictions in trade to limit the production of thermal coal, SPRB coal, and metallurgical coal, in

violation of MONT. CODE ANN. § 30-14-205.

                                          COUNT VI
                             STATE LAW ANTITRUST CLAIMS
                            (On Behalf Of Plaintiff State Of Indiana)

        270.    Plaintiff State of Indiana repeats and realleges every preceding allegation as if fully

set forth herein.

        271.    The aforementioned practices by Defendants were and are in violation of the

Indiana Antitrust Act, IND. CODE § 24-1-2-1.




                                                  94
Case 6:24-cv-00437-JDK          Document 50       Filed 01/16/25        Page 99 of 122 PageID #:
                                                319



                                         COUNT VII
                             STATE LAW ANTITRUST CLAIMS
                             (On Behalf Of Plaintiff State Of Iowa)

       272.    The acts alleged in the Complaint constitute schemes, contracts, or combinations in

restraint of trade or commerce or are otherwise illegal under IND. CODE § 24-1-2-1. Plaintiff State

of Iowa repeats and realleges every preceding allegation as if fully set forth herein.

       273.    Plaintiff State of Iowa also alleges the following Iowa-specific facts.200

       274.    Plaintiff State of Iowa has sustained or will sustain injury because of Defendants’

unlawful activities.

       275.    Despite being a smaller state, Iowa ranks seventh in “total energy consumption per

capita.” That is in part due to its large industrial sector, which includes agriculture.

       276.    Coal is the second largest source of energy supporting Iowa’s high energy

consumption per capita. Coal accounted for 23% of the state’s electricity generation in 2023, and

five of Iowa’s ten largest power plants (ranked by generating capacity) are coal-fired.

       277.    Iowa does not produce any coal, nor does it have any operating coal mines. Iowa

thus relies on outside sources for the coal that powers its electrical grid. Most of the coal consumed

in Iowa comes from Wyoming with a small amount sourced from Illinois, Kentucky, and Montana.

       278.    Conduct that seeks to restrict, reduce, or otherwise lessen the production of coal

will affect the cost and quality of energy generation in Iowa, including electricity that is critical

for winter heat, summer cooling, and fueling Iowa’s robust energy-intensive agricultural industry.

       279.    In addition to violating federal law, Defendants’ conduct as alleged herein violates

the Iowa Competition Law, IOWA CODE, Chapter 553, including § 553.4. This Section prohibits



       200
           All data set forth in this section can be accessed at the Iowa State Profile and Energy
Estimates: Profile Overview, U.S. ENERGY INFO. ADMIN., https://bit.ly/42fhhfA (last visited Jan.
14, 2025).
                                                 95
Case 6:24-cv-00437-JDK          Document 50        Filed 01/16/25      Page 100 of 122 PageID #:
                                                 320



“[a] contract, combination, or conspiracy between two or more persons shall not restrain or

monopolize trade or commerce in a relevant market.” IOWA CODE, Ch. 553 § 553.4.

        280.    Defendants have each entered into an agreement to restrain trade or commerce in

the relevant markets of Thermal Coal and South Powder River Basin Coal.

        281.    Defendants’ anticompetitive conduct has and will continue to directly and indirectly

affect the people of Iowa through increased prices for and reduced quantity of South Powder River

Basin Coal and Thermal Coal in Iowa and across the nation.

        282.    Iowans will suffer injury or have suffered and will continue to suffer injury in the

form of reduced quantity and supracompetitive prices for South Powder River Basin Coal and

Thermal Coal because of Defendants’ anticompetitive conduct.

                                        COUNT VIII
                             STATE LAW ANTITRUST CLAIMS
                            (On Behalf Of Plaintiff State Of Kansas)

        283.    Plaintiff State of Kansas repeats and realleges every preceding allegation as if fully

set forth therein.

        284.    The aforementioned practices by Defendants were and are in violation of the

Kansas Restraint of Trade Act, KAN. STAT. ANN. § 50-101 et seq., id. §§ 50-101 & 50-112.

        285.    The Attorney General of the State of Kansas is authorized to bring this action and

seeks relief on behalf of the State and as parens patriae on behalf of its residents, pursuant to KAN.

STAT. ANN. §§ 50-103 & 50-109.


                                          COUNT IX
                             STATE LAW ANTITRUST CLAIMS
                           (On Behalf of Plaintiff State Of Louisiana)

        286.    Plaintiff State of Louisiana repeats and realleges every preceding allegation as if

fully set forth herein

                                                 96
Case 6:24-cv-00437-JDK           Document 50        Filed 01/16/25       Page 101 of 122 PageID #:
                                                  321



          287.   L.A. R.S. § 51:122(A) states “[e]very contract, combination in the form of trust or

otherwise, or conspiracy, in restraint of trade or commerce in this state is illegal.” Defendants have

entered into illegal agreements for the purpose of regulating and restricting the trade of, as well as

limiting the production of, thermal coal, SPRB coal, and metallurgical coal in violation of L.A.

R.S. § 51:122, et seq.

          288.   L.A. R.S. § 51:125 states “[n]o corporation...shall acquire directly or indirectly, the

whole or any part of the shares of another corporation...where the effect of the acquisition...[m]ay

be to restrain commerce in any section or community...”

          289.   Defendants have unlawfully entered agreements in restraint of trade and commerce

by agreeing to use the acquired shares in the Coal Companies to coerce those companies to

implement output reductions of SPRB Coal and Thermal Coal in violation of L.A. R.S. § 51:125.

          290.   Defendants used their acquired shares in the Coal Companies via unlawful voting

and management coercion to reduce their collective output of coal in violation of L.A. R.S. §

51:125.

                                           COUNT X
                              STATE LAW ANTITRUST CLAIMS
                            (On Behalf Of Plaintiff State Of Nebraska)

          291.   Plaintiff State of Nebraska realleges every preceding allegation as if fully set forth

herein.

          292.   At all times described herein, Defendants conducted and continues to conduct

“trade and commerce” within the meaning of the Nebraska Consumer Protection Act. NEB. REV.

STAT. § 59-1602(2).

          293.   In addition to violating federal law, Defendants’ conduct as alleged herein

constitutes unreasonable restraints of trade in violation of NEB. REV. STAT. § 59-1603.


                                                   97
Case 6:24-cv-00437-JDK           Document 50        Filed 01/16/25      Page 102 of 122 PageID #:
                                                  322



          294.   Defendants’ anticompetitive conduct has and will continue to directly and indirectly

affect the people of the State of Nebraska through increased prices for and reduced quantity of

South Powder River Basin Coal and Thermal Coal in Nebraska and across the nation.

          295.   The people of the State of Nebraska have suffered injury and/or will continue to

suffer injury in the form of reduced quantity and supracompetitive prices for South Powder River

Basin Coal and Thermal Coal because of Defendants’ anticompetitive conduct.

                                           COUNT XI
                              STATE LAW ANTITRUST CLAIMS
                            (On Behalf Of Plaintiff State Of Nebraska)

          296.   Plaintiff State of Nebraska realleges every preceding allegation as if fully set forth

herein.

          297.   In addition to violating federal law, Defendants’ conduct as alleged herein constitute

unreasonable restraints of trade in violation of the Junkin Act. NEB. REV. STAT. § 59-801.

          298.   Defendants’ anticompetitive conduct has and will continue to restrain trade or

commerce within Nebraska resulting in increased prices for and reduced quantity of South Powder

River Basin Coal and Thermal Coal.

          299.   The people of Nebraska of the State of Nebraska have suffered injury and/or will

continue to suffer injury in the form of reduced quantity and supracompetitive prices for South

Powder River Basin Coal and Thermal Coal because of Defendants’ anticompetitive conduct.

                                           COUNT XII
                               STATE LAW ANTITRUST CLAIMS
                             (On Behalf of Plaintiff State of Nebraska)

          300.   Plaintiff State of Nebraska realleges every preceding allegation as if fully set forth

herein.



                                                  98
Case 6:24-cv-00437-JDK            Document 50       Filed 01/16/25      Page 103 of 122 PageID #:
                                                  323



        301.    In addition to violating federal law, Defendants’ acquisitions and holding of shares

as described in the preceding paragraphs may have had, have in fact had, continue to have, and

may in the future have, the effect of substantially lessening competition in the relevant product and

geographic markets alleged herein.

        302.    Defendants’ acquisition and holding of these shares has harmed and is likely to

continue to harm the State of Nebraska by:

                a.        Eliminating current and future head-to-head competition between coal

producers;

                b.        Increasing the likelihood of or facilitating coordinated interaction between

Defendants in the relevant markets; and

                c.        Increasing the likelihood that Defendants will exercise unilateral market

power to reduce quantity of South Powder River Basin Coal and Thermal Coal.

                                          COUNT XIII
                              STATE LAW ANTITRUST CLAIMS
                            (On Behalf Of Plaintiff State Of Oklahoma)

        303.    Plaintiff State of Oklahoma repeats and realleges every preceding allegation as if

fully set forth herein.

        304.    Gentner Drummond is the duly elected Attorney General for the State of Oklahoma.

Being the chief law enforcement officer of the state, General Drummond is empowered to “bring

an action in the name of the state, as parens patriae on behalf of natural persons residing in the

state for appropriate injunctive or other equitable relief and to secure monetary damages for injury

sustained by such natural persons to their business or property by reason of any violation of [the

Oklahoma Antitrust Reform Act.]” OKLA. STAT. tit. 79, § 205(A)(1).




                                                   99
Case 6:24-cv-00437-JDK             Document 50      Filed 01/16/25      Page 104 of 122 PageID #:
                                                  324



        305.    The aforementioned practices of the Defendants were in violation of the Oklahoma

Antitrust Reform Act. OKLA. STAT. tit. 79, § 201, et seq.

                                             COUNT XIV
                                 STATE LAW ANTITRUST CLAIMS
                             (On Behalf Of Plaintiff State Of West Virginia)

        306.    Plaintiff State of West Virginia repeats and realleges every preceding allegation as

if fully set forth herein.

        307.    Defendants’ acts violate the West Virginia Antitrust Act, see W. VA. CODE § 47–

18–1 et seq. These violations substantially affected the State of West Virginia and had impacts

within the State of West Virginia.

        308.    Plaintiff State of West Virginia is entitled to all appropriate relief (including, but

not limited to, injunctive relief), as well as civil penalties under W. VA. CODE § 47–18–1 et seq.

        309.    Plaintiff State of West Virginia also is entitled to recover its costs and attorney fees

under W. VA. CODE § 47–18–8.

                                         COUNT XV
                STATE LAW DECEPTIVE TRADE PRACTICES CLAIMS
            (On Behalf Of Plaintiff State Of Texas Against Defendant BlackRock)

        310.    Plaintiff State of Texas repeats and realleges every preceding allegation as if fully

set forth herein.

        311.    At all times described herein, Defendant BlackRock has engaged in conduct which

constitutes “trade” and “commerce” as defined in Section 17.45(6) of the TEX. BUS. & COM. CODE.

        312.    Plaintiff State of Texas has reason to believe that Defendant BlackRock has

engaged in, and will continue to engage in, the unlawful practices set forth herein, has caused and

will cause adverse effects to legitimate business enterprises which lawfully conduct trade and

commerce in this State, and will cause damage to the State of Texas and to persons in the State of



                                                  100
Case 6:24-cv-00437-JDK          Document 50        Filed 01/16/25       Page 105 of 122 PageID #:
                                                 325



Texas. Therefore, the Consumer Protection Division of the Office of the Attorney General of the

State of Texas believes and is of the opinion that this matter is in the public interest.

       313.    Through its false, deceptive, or misleading acts, Defendant BlackRock has violated

Section 17.46(a) of the TEX. BUS. & COM. CODE, including by engaging in conduct specifically

defined to be false, deceptive, or misleading by Section 17.46(b) such as:

               a)       Representing that its financial products and services have sponsorship,

approval, characteristics, ingredients, uses, benefits, or quantities which they do not have in

violation of Section 17.46(b)(5);

               b)       Representing that its financial products and services are of a particular

standard, quality, or grade, if they are of another, in violation of Section 17.46(b)(7);

               c)       Advertising goods or services with the intent not to sell them as advertised,

in violation of Section 17.46(b)(9); and

               d)       Failing to disclose information concerning goods or services which was

known at the time of the transaction with the intent to induce the consumer into a transaction into

which the consumer would not have entered had the information been disclosed, in violation of

Section 17.46(b)(24).

       314.    By means of the foregoing unlawful acts and practices, BlackRock has acquired

money or other property from persons to whom such money or property should be restored.




                                                 101
Case 6:24-cv-00437-JDK            Document 50        Filed 01/16/25      Page 106 of 122 PageID #:
                                                   326



                                          COUNT XVI
                 STATE LAW DECEPTIVE TRADE PRACTICES CLAIMS
            (On Behalf Of Plaintiff State Of Montana Against Defendant BlackRock)

          315.     The Plaintiff State of Montana repeats and realleges each and every preceding

allegation as if fully set forth herein, specifically including, but not limited to, the allegations set

forth paragraphs 192-224, of this Complaint. The foregoing acts and practices by BlackRock were

and are in willful violation of Montana’s Unfair Trade Practices and Consumer Protection Act,

MONT. CODE ANN. § 30 14-101 et seq., id. §§ 30-14-103, 142(2).

          316.     The Attorney General of the State of Montana is authorized to bring this action on

behalf of the people of the State of Montana pursuant to MONT. CODE ANN. § 30-14-111 & 30-14-

142(2).

          317.     BlackRock has engaged in and is engaging in trade and commerce within the

meaning of Mont. Code Ann. § 30-14-102(8) and unfair methods of competition and unfair or

deceptive acts or practices within the meaning of MONT. CODE ANN. § 30-14-103 and Rohrer v.

Knudson, 203 P.3d 759 (Mont. 2009).

          318.      BlackRock’s unlawful conduct was willful, and Plaintiff State of Montana is

entitled to all legal and equitable relief pursuant to, without limitation, MONT. CODE ANN. §§ 30-

14-111(4); 30-14-131; id.30-14-142(2).

                                             COUNT XVII
                           STATE LAW CONSUMER FRAUD CLAIMS
                 (On Behalf Of Plaintiff State Of Iowa Against Defendant BlackRock)

          319.     Plaintiff State of Iowa repeats and realleges every preceding allegation as if fully

set forth herein.

          320.     Defendant BlackRock’s conduct constitutes unlawful practices in violation of the

Iowa Consumer Fraud Act, IOWA CODE § 714.16.



                                                   102
Case 6:24-cv-00437-JDK        Document 50        Filed 01/16/25      Page 107 of 122 PageID #:
                                               327



       321.   IOWA CODE § 714.16(2)(a) prohibits:

               “The act, use or employment by a person of an unfair practice,
              deception, fraud, false pretense, false promise, or misrepresentation,
              or the concealment, suppression, or omission of a material fact with
              intent that others rely upon the concealment, suppression, or
              omission, in connection with the lease, sale, or advertisement of any
              merchandise or the solicitation of contributions for charitable
              purposes, whether or not a person has in fact been misled, deceived,
              or damaged . . .”

       322.   Defendants’ anticompetitive conduct constitutes an unfair practice that is unlawful

under the Iowa Consumer Fraud Act as it causes “substantial, unavoidable injury to consumers

that is not outweighed by any consumer or competitive benefits which the practice produces.”

IOWA CODE § 714.16(i).

       323.   Through its false, deceptive, or misleading acts, Defendant BlackRock has violated

the Iowa Consumer Fraud Act, including by engaging in conduct that is unlawful under Section

714.16(2)(a) such as:

       a)     Representing that its financial products and services have sponsorship,

       approval, characteristics, ingredients, uses, benefits, or quantities which they do not have;

       b)     Representing that its financial products and services are of a particular

       standard, quality, or grade, when they are of another;

       c)     Advertising goods or services with the intent not to sell them as advertised; and

       d)     Failing to disclose material information concerning goods or services which was

known at the time of the transaction with the intent that the consumer rely on the omission to

induce the consumer into a transaction into which the consumer would not have entered had the

information been disclosed.

       324.   By means of the foregoing unlawful acts and practices, BlackRock has acquired

money or other property from persons to whom such money or property should be restored.

                                               103
Case 6:24-cv-00437-JDK          Document 50       Filed 01/16/25       Page 108 of 122 PageID #:
                                                328



                                     COUNT XVIII
                  STATE LAW DECEPTIVE TRADE PRACTICES CLAIMS
                        (On Behalf Of Plaintiff State Of Louisiana)

        325.    The Plaintiff State of Louisiana repeats and realleges every preceding allegation as

if fully set forth herein.

        326.    At all times relevant and described herein, Defendants have engaged in conduct

constituting “trade” and/or “commerce” as defined in L.A. R.S. § 51:1402(10).

        327.    Defendants have engaged in, and will continue to engage in, practices declared

unlawful by the Louisiana Unfair Trade Practices Act, adversely impacting and occasioning

damages to the citizens and economy of the State of Louisiana in violation of L.A. R.S. §§ 51:1403

and 51:1405.

                                        COUNT XIX
                   STATE LAW CONSUMER PROTECTION CLAIM
          (On Behalf Of Plaintiff State Of Nebraska Against Defendant BlackRock)

        328.    Plaintiff State of Nebraska repeats and realleges every preceding allegation as if

fully set forth herein.

        329.    At all times described herein, Defendant BlackRock conducted and continues to

conduct “trade and commerce” within the meaning of the Nebraska Consumer Protection Act.

Neb. Rev. Stat. § 59-1601(2).

        330.    The Nebraska Consumer Protection Act prohibits “unfair . . . acts or practices in

the conduct of any trade or commerce.” Neb. Rev. Stat. § 59-1602.

        331.    An act or practice is unfair if it offends public policy as established within some

common law, statutory, or other established concept of unfairness, or is immoral, unethical

oppressive, unscrupulous, or causes substantial injury to consumers.




                                                104
Case 6:24-cv-00437-JDK           Document 50       Filed 01/16/25          Page 109 of 122 PageID #:
                                                 329



        332.     Defendant BlackRock engaged in unfair acts or practices in violation of the

Consumer Protection Act, Neb. Rev. Stat. § 59-1602, by, without limitation:

        a.       Representing, expressly or by implication, that its financial products and services

have sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities, that they do

not have;

        b.       Representing, expressly or by implication, that its financial products and services

are of a particular standard, quality, or grade, if they are of another;

        c.       Advertising its financial products and services with the intent not to sell them as

advertised.

        333.     Defendant BlackRock’s actions constitute unfair acts or practices in the conduct of

any trade or commerce in violation of Neb. Rev. Stat. § 59-1602. Each and every act constitutes a

separate and independent violation of the Nebraska Consumer Protection Act. Neb. Rev. Stat. § 59-

1602.

                                            COUNT XX
                      STATE LAW CONSUMER PROTECTION CLAIM
             (On Behalf Of Plaintiff State Of Nebraska Against Defendant BlackRock)

        334.     Plaintiff State of Nebraska repeats and realleges every preceding allegation as if

fully set forth herein.

        335.     At all times described herein, Defendant BlackRock, conducted and continues to

conduct “trade and commerce” within the meaning of the Nebraska Consumer Protection Act.

NEB. REV. STAT. § 59-1602(2).

        336.     The Nebraska Consumer Protection Act prohibits “deceptive acts or practices in

the conduct of any trade or commerce.”




                                                  105
Case 6:24-cv-00437-JDK          Document 50        Filed 01/16/25       Page 110 of 122 PageID #:
                                                 330



       337.    An act or practice is deceptive if it possesses the tendency or capacity to mislead

or creates the likelihood of confusion.

       338.    Defendant BlackRock engaged in deceptive acts or practices in violation of the

Consumer Protection Act, NEB. REV. STAT. § 59-1602, by, without limitation:

               a.       Representing, expressly or by implication, that its financial products and

services have sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities, that

they do not have;

               b.       Representing, expressly or by implication, that its financial products and

services are of a particular standard, quality or grade, if they are of another;

               c.       Advertising its financial products and services with the intent not to sell

them as advertised.

       339.    Defendant BlackRock’s actions constitute deceptive acts or practices in the

conduct of any trade or commerce in violation of NEB. REV. STAT. § 59-1602. Each and every act

constitutes a separate and independent violation of the Nebraska Consumer Protection Act. NEB.

REV. STAT. § 59-1602.

                                        COUNT XXI
                STATE LAW DECEPTIVE TRADE PRACTICES CLAIM
          (On Behalf Of Plaintiff State Of Nebraska Against Defendant BlackRock)

       340.    The State of Nebraska repeats and realleges the facts above and incorporates them

herein by reference.

       341.    Section 87-302(a) of the Nebraska Uniform Deceptive Trade Practice Act specifies

multiple practices, which when conducted during business, constitute a deceptive trade practice.

NEB. REV. STAT. § 87-302(a).




                                                 106
Case 6:24-cv-00437-JDK          Document 50        Filed 01/16/25         Page 111 of 122 PageID #:
                                                 331



       342.    Defendant BlackRock engaged in deceptive trade practices in violation of NEB.

REV. STAT. § 87-302 by, without limitation:

           a. Representing, expressly or by implication, that its financial products and services

have sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities;

           b. Representing, expressly or by implication, that its financial products and services

are of a particular standard, quality or grade, if they are of another;

           c. Advertising goods or services with the intent not to sell them as advertised.

                                     PRAYER FOR RELIEF

WHEREFORE, the Plaintiff’s Attorney General requests that the Court:

   a) Adjudge and decree that Defendants’ acquisitions of shares of the Coal Companies have
      violated Section 7 of the Clayton Act, 15 U.S.C. § 18;
   b) Adjudge, decree, and award damages on the ground that the contract, combination, or
      conspiracy, and the acts done in furtherance thereof by Defendants and their co-
      conspirators, be adjudged to have been a violation of Section 1 of the Sherman Act, 15
      U.S.C. § 1;
   c) Order such injunctive relief as is necessary, including but not limited to divestiture, to
      restrain Defendants from using the stock they have acquired in the Coal Companies by the
      voting or granting of proxies or otherwise to restrain output and limit competition in the
      relevant markets identified above, or from engaging in any other practices with the same
      purpose and effect as the challenged practices;
   d) Order any such other equitable relief as may be necessary and appropriate to restore
      competitive conditions in the markets affected by Defendants’ unlawful acquisitions and
      unlawful conduct;
   e) Enjoin and restrain, pursuant to Section 15.20(b) of the TEX. BUS. &COM. CODE,
      Defendants and their officers, directors, partners, agents, and employees, and all persons
      acting or claiming to act on their behalf or in concert with them, from engaging in conduct
      that violates Texas’s antitrust laws;
   f) Enjoin and restrain, pursuant to the Texas DTPA and/or other Texas State laws, Defendant
      BlackRock and its officers, directors, partners, agents, and employees, and all persons
      acting or claiming to act on its behalf or in concert with it, from continuing to engage in
      any false, deceptive, or misleading acts or practices and from adopting in the future any
      acts or practice having a similar purpose or effect to the false, deceptive, or misleading
      actions set forth above;


                                                 107
Case 6:24-cv-00437-JDK        Document 50       Filed 01/16/25       Page 112 of 122 PageID #:
                                              332



   g) Order Defendants to pay civil fines pursuant to § 15.20(a) of the TEX. BUS. &COM. CODE;
   h) Order Defendant BlackRock to pay civil penalties of up to $10,000.00 per violation for
      each and every violation of the DTPA as authorized by TEX. BUS. & COM. CODE §
      17.47(c)(1);
   i) Award Plaintiff State of Texas its costs of suit pursuant to § 15.20(b) of the TEX. BUS.
      &COM. CODE;
   j) Order injunctive and all other available legal and equitable relief pursuant to MONT. CODE
      ANN. § 30-14-201 et seq.;
   k) Order payment of Plaintiff State of Montana’s costs and attorney fees pursuant to MONT.
      CODE ANN. § 30-14-131;
   l) Order injunctive and all other available equitable relief pursuant to IND. CODE §§ 24-1-2-1
      et seq., and 24-5-0.5-4(c)(1);
   m) Order injunctive relief to prevent or restrain conduct prohibited under IOWA CODE § 553.4,
      and to remove the conduct's effect by injunction, divestiture, divorcement, or dissolution
      of domestic enterprises’ right to do business in the state of Iowa, compelling the forfeiture
      or restraint of the issuance of a certificate of incorporation, permit to transact business,
      license, or franchise, or granting other equitable relief, that is available under IOWA CODE
      § 553.12(1);
   n) Order Defendants to pay Iowa the necessary costs of bringing suit, as provided under IOWA
      CODE § 553(4);
   o) Order injunctive relief to prohibit BlackRock from continuing the practices or engaging in
      the practices or doing any acts in furtherance of the practices prohibited by IOWA CODE §
      714.16, and issue any orders or judgments necessary to prevent the use or employment by
      BlackRock of any practices prohibited under IOWA CODE § 714.16;
   p) Order BlackRock to pay civil penalties under IOWA CODE § 714.16(7);
   q) Order BlackRock to pay reasonable attorneys’ fees under IOWA CODE § 714.16(11);
   r) Order injunctive and all other available equitable relief pursuant to KAN. STAT. ANN. § 50-
      103;
   s) Order Defendants to pay damages and civil penalties pursuant to KAN. STAT. ANN. § 50-
      103;
   t) Order injunctive relief to restrain, enjoin and prohibit Defendants from engaging in any
      activity in violation of the Louisiana Monopolies statutes, L.A. R.S. § 51:121, et seq.,
      including, but not limited to, the unfair methods of competition and unfair or deceptive acts
      or practices alleged herein;
   u) Order injunctive relief and other equitable relief, pursuant to L.A. R.S. § 51:1401
      restraining, enjoining and prohibiting Defendants from engaging in any acts that violate
      LUTPA, including, but not limited to, the unfair methods of competition and unfair or
      deceptive acts or practices alleged herein;

                                               108
Case 6:24-cv-00437-JDK       Document 50        Filed 01/16/25     Page 113 of 122 PageID #:
                                              333



   v) Order that Defendants pay restitution under LUTPA (L.A. R.S. § 51.1408) to all consumers
      who have incurred a loss due to the conduct of Defendants through any manner deemed
      practicable by the Court;
   w) Order Defendants to pay all civil penalties allowed pursuant to L.A. R.S. § 51:1407 & L.A.
      R.S. § 51:1722, for each and every willful violation of LUTPA;
   x) Order Defendants to pay attorneys’ fees and costs pursuant to L.A. R.S. § 51:1409 for
      violations of LUTPA;
   y) Adjudge and Decree that Defendants’ conduct violates the Nebraska Consumer Protection
      Act, the Junkin Act, and Nebraska’s Uniform Deceptive Trade Practices Act.
   z) Plaintiff State of Nebraska seeks all remedies available under the Consumer Protection Act,
      the Junkin Act, and Nebraska’s Uniform Deceptive Trade Practices Act, including, without
      limitation, the following:
          a. Enjoining and restraining Defendants from engaging in conduct that violates the
             Nebraska Consumer Protection Act, the Junkin Act, and Nebraska’s Uniform
             Deceptive Trade Practices Act. NEB. REV. STAT. §§ 59-1608 and 87-303.05.
          b. Ordering Defendants to divest themselves of the stock or assets that may
             substantially lessen competition as authorized under NEB. REV. STAT. § 59-1606(3).
          c. Order Defendants to pay civil penalties for each violation of NEB. REV. STAT. § 59-
             1603, as authorized under NEB. REV. STAT. § 59-1614.
          d. Order Defendant BlackRock to pay civil penalties for each violation of Neb. Rev.
             Stat. § 59-1602, as authorized under NEB. REV. STAT. § 59-1614.
          e. Order Defendant BlackRock to pay civil penalties for each violation of Neb. Rev.
             Stat. § 87-302, as authorized under NEB. REV. STAT. § 59-87-803.11
          f. Order Defendants to pay parens patriae damages, including treble damages, for
             injuries personally suffered by Nebraska citizens based on Defendants’ violations
             of the Nebraska antitrust laws. NEB. REV. STAT. § 84-212.
          g. Order Defendant BlackRock to pay restitution to persons harmed by Defendant’s
             violations of the Consumer Protection Act and the Uniform Deceptive Trade
             Practices Act. NEB. REV. STAT. §§ 59-1608 and 87-303.05.
          h. Order Defendants to pay restitution to persons harmed by Defendants’ antitrust
             violations of the Consumer Protection Act. NEB. REV. STAT. § 59-1608
          i. Order Defendants to pay costs and reasonable attorneys’ fees under NEB. REV. STAT.
             §§ 59-1607(1) and 87-303.05
          j. Order any additional relief the Court finds just and proper.
   aa) Order injunctive and all other available equitable and legal relief available pursuant to
       OKLA. STAT., tit. 79, § 205(A)(1);



                                              109
Case 6:24-cv-00437-JDK        Document 50        Filed 01/16/25       Page 114 of 122 PageID #:
                                               334



   bb) Order Defendants to pay Oklahoma the cost of suit, including a reasonable attorney fee,
       pursuant to OKLA. STAT., tit. 79, § 205(A)(1);
   cc) Order injunctive and all other available legal and equitable relief pursuant to W. VA CODE
       § 47-18-1 et seq.;
   dd) Award Plaintiff an amount equal to its costs, including reasonable attorneys’ fees, incurred
       in bringing this action;
   ee) Order any additional relief the Court finds just and proper.




                                               110
Case 6:24-cv-00437-JDK         Document 50     Filed 01/16/25   Page 115 of 122 PageID #:
                                             335



Dated: January 16, 2025                  Respectfully submitted,



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                                             111
Case 6:24-cv-00437-JDK        Document 50     Filed 01/16/25   Page 116 of 122 PageID #:
                                            336



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                                            112
Case 6:24-cv-00437-JDK         Document 50      Filed 01/16/25   Page 117 of 122 PageID #:
                                              337




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                                              113
Case 6:24-cv-00437-JDK         Document 50     Filed 01/16/25   Page 118 of 122 PageID #:
                                             338



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                                             114
Case 6:24-cv-00437-JDK         Document 50     Filed 01/16/25   Page 119 of 122 PageID #:
                                             339



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                                             115
Case 6:24-cv-00437-JDK         Document 50     Filed 01/16/25   Page 120 of 122 PageID #:
                                             340



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                                             116
Case 6:24-cv-00437-JDK         Document 50       Filed 01/16/25   Page 121 of 122 PageID #:
                                               341



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                                               117
Case 6:24-cv-00437-JDK       Document 50     Filed 01/16/25   Page 122 of 122 PageID #:
                                           342



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                                           118
